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                EXHIBIT B4
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                           April Zambelli-Weiner, Ph.D.

                                                                       Page 210
                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


              -----------------------------x
              IN RE JOHNSON & JOHNSON                ) MDL No.
              TALCUM POWDER PRODUCTS                 ) 16-2738 (FLW)(LHG)
              MARKETING SALES PRACTICES,             )
              AND PRODUCTS LIABILITY                 )
              LITIGATION                             )
                                                     )
              THIS DOCUMENT RELATES TO               )
              ALL CASES                              )
              -----------------------------x


                                   V O L U M E     I I

                              VIDEOTAPED DEPOSITION OF

                            APRIL ZAMBELLI-WEINER, Ph.D.

                                   WASHINGTON, D.C.

                             THURSDAY, FEBRUARY 7, 2019

                                       9:54 A.M.




              Pages: 210 - 455
              Reported by: Leslie A. Todd


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                                               April Zambelli-Weiner, Ph.D.
                                                      Page 211                                        Page 213
         1       Deposition of APRIL ZAMBELLI-WEINER, Ph.D.,      1   APPEARANCES (Continued):
         2     held at the offices of:                            2
         3                                                        3     GEOFFREY M. WYATT, ESQUIRE
         4                                                        4     SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
         5            ASHCRAFT & GEREL, LLP                       5     1440 New York Avenue, N.W.
         6            1825 K Street, N.W.                         6     Washington, D.C. 20005
         7            Washington, DC 20005                        7     (202) 371-7008
         8                                                        8
         9                                                        9   ON BEHALF OF THE PCPC:
        10                                                       10     THOMAS LOCKE, ESQUIRE
        11                                                       11     SEYFARTH SHAW LLP
        12       Pursuant to notice, before Leslie Anne Todd,    12     975 F Street, NW
        13     Court Reporter and Notary Public in and for the   13     Washington, D.C. 20004
        14     District of Columbia, who officiated in           14     (202) 463-2400
        15     administering the oath to the witness.            15
        16                                                       16   ON BEHALF OF THE IMERYS DEFENDANTS:
        17                                                       17     MICHAEL R. KLATT, ESQUIRE
        18                                                       18     GORDON & REES SCULLY MANSUKHANI, LLP
        19                                                       19     816 Congress Avenue
        20                                                       20     Suite 1510
        21                                                       21     Austin, Texas 78701
        22                                                       22     (512) 582-6485
        23                                                       23
        24                                                       24
        25                                                       25


                                                      Page 212                                        Page 214
         1           AP P E AR ANC E S                            1     APPEARANCES (Continued):
         2                                                        2
         3   ON BEHALF OF THE PLAINTIFFS:                         3     ON BEHALF OF PTI:
         4     CHRISTOPHER V. TISI, ESQUIRE                       4       MICHAEL ANDERTON, ESQUIRE
         5     LEVIN PAPANTONIO, LLP                              5       TUCKER ELLIS, LLP
         6     316 South Baylen Street                            6       950 Main Avenue
         7     Pensacola, Florida 32502                           7       Suite 1100
         8     (850) 435-7184                                     8       Cleveland, Ohio 44113-7213
         9                                                        9       (216) 696-4835
        10     MICHELLE A. PARFITT, ESQUIRE                      10
        11     ASHCRAFT & GEREL, LLP                             11     ALSO PRESENT:
        12     4900 Seminary Road, Suite 650                     12       DANIEL HOLMSTOCK (Videographer)
        13     Alexandria, Virginia 22311                        13
        14     (703) 997-1774                                    14
        15                                                       15
        16   ON BEHALF OF THE JOHNSON & JOHNSON DEFENDANTS:      16
        17     MARK HEGARTY, ESQUIRE                             17
        18     SHOOK, HARDY & BACON, LLP                         18
        19     2555 Grand Boulevard                              19
        20     Kansas City, Missouri 64108                       20
        21     (816) 474-6550                                    21
        22                                                       22
        23                                                       23
        24                                                       24
        25
                                                                 25


                                                                               2 (Pages 211 to 214)
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         2   EXAMINATION OF APRIL ZAMBELLI-WEINER, Ph.D. PAGE                            2            (Attached to transcript)
         3     By Mr. Hegarty                    218, 441                                3   ZAMBELLI-WEINER DEPOSITION EXHIBITS                  PAGE
         4     By Mr. Klatt                     418, 449                                 4   No. 25    Article entitled "Perineal use of
         5     By Mr. Locke                        426                                   5        talc and risk of ovarian cancer"     443
         6     By Mr. Tisi                   438, 446                                    6
         7                                                                               7
         8             EXHIB ITS                                                         8
         9           (Attached to transcript)                                            9
        10   ZAMBELLI-WEINER DEPOSITION EXHIBITS                          PAGE          10
        11   No. 13 Cancer Prevention Coalition paper:                                  11
        12         Petition Seeking a Cancer Warning                                    12
        13         on Cosmetic Talc Products               221                          13
        14   No. 14 Excerpt from deposition of Linda                                    14
        15         Loretz, Ph.D                   230                                   15
        16   No. 15 Article entitled "Perineal talc use                                 16
        17         and ovarian cancer risk: A case                                      17
        18         study of scientific standards in                                     18
        19         environmental epidemiology"             234                          19
        20   No. 16 Article entitled "Perineal                                          20
        21         Application of Cosmetic Talc and                                     21
        22         Risk of Invasive Epithelial                                          22
        23         Ovarian Cancer: A Meta-analysis of                                   23
        24         11,933 Subjects from Sixteen                                         24
        25         Observational Studies"             237                               25


                                                                         Page 216                                                            Page 218
         1             E X H I B I T S (Continued)                                       1                 PROCEEDINGS
         2             (Attached to transcript)                                          2                 --------------------
         3    ZAMBELLI-WEINER DEPOSITION EXHIBITS                                PAGE    3             THE VIDEOGRAPHER: The time is 9:54
         4    No. 17    Article entitled "Factors Related                                4     a.m., February 7, 2019. We are on the record with
         5           to Inflammation of the Ovarian                                      5     video 1 of Volume II.
         6           Epithelium and Risk of Ovarian                                      6             Unless you want the witness resworn.
         7           Cancer"                            277                              7             MR. HEGARTY: No, we're fine.
         8    No. 18    Article entitled "Use of cosmetic                                8             RESUMED DIRECT EXAMINATION
         9           talc on contraceptive diaphragms                                    9     BY MR. HEGARTY:
        10           and risk of ovarian cancer: a                                      10         Q Good morning, Doctor.
        11           meta-analysis of nine observational                                11         A Good morning.
        12           studies"                         325                               12         Q We're here for the continuation of your
        13    No. 19    Article entitled "Perineal Talc                                 13     January 11th deposition. What did you do to
        14           Use and Ovarian Cancer, A                                          14     prepare for this continued deposition?
        15           Systematic Review and Meta-Analysis" 334                           15         A Sure. I went back over my report. I
        16    No. 20    Power-Point slides                       336                    16     went back over some of the underlying studies that
        17    No. 21    Letter from PCPC to FDA, dated                                  17     I reference in my report. I read my depo
        18           July 21, 2009                         344                          18     transcript from the first session. And I may have
        19    No. 22    Article entitled "Perineal Talc
                                                                                        19     looked at a few other documents. Like I recall
        20           Exposure and Risk of Ovarian
                                                                                        20     looking at the IARC report on -- on talc.
        21           Carcinoma"                            345
                                                                                        21         Q Do you recall any other specific
        22    No. 23    Article entitled "Characteristics of
                                                                                        22     documents besides those you mentioned?
        23           Women Who Use Perineal Powders"                   369
                                                                                        23         A No, not that I recall.
        24    No. 24    Binder (retained by witness)               441
                                                                                        24         Q Did you meet with any attorneys for
        25
                                                                                        25     plaintiffs to prepare for the deposition?


                                                                                                           3 (Pages 215 to 218)
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                                    April Zambelli-Weiner, Ph.D.
                                                  Page 219                                                  Page 221
         1       A I met with Chris yesterday.                     1        Q You -- the first heading you have under
         2       Q How long did you meet with Chris?               2   there is the 2008 Citizens Petition to the FDA.
         3       A Maybe like an hour and a half.                  3           First of all, do you understand that
         4       Q Was that the extent of the meetings you         4   it's "Citizen Petition" and not "Citizens
         5   had with counsel for plaintiffs since your last       5   Petition"?
         6   deposition on the 11th?                               6        A I don't know for certain, but I'll take
         7       A Yes. I believe so.                              7   your -- I'll take your word for it.
         8       Q Have you communicated since your last           8        Q You talk about the Citizen Petitions
         9   deposition with anyone outside of the litigation      9   that were filed and you make reference to Samuel
        10   regarding your report or your opinions in your       10   Epstein. Did you do any research into who Samuel
        11   report?                                              11   Epstein is?
        12       A No, I don't think so.                          12        A I don't recall doing any research other
        13       Q Have you prepared any additional               13   than perhaps looking him up at the time in terms
        14   invoices from those we marked when we were here      14   of his position with the organization that
        15   the last time for -- that -- that recorded your      15   submitted the petition.
        16   work in this case?                                   16        Q Did you do any research about his
        17       A I don't believe so.                            17   organization, the Cancer Prevention Coalition?
        18       Q Do you recall -- or are you able to            18        A No, I didn't. Not that I recall.
        19   estimate how much additional work you have done in   19        Q I'm going to hand you what I'm marking
        20   this matter since January 11th by hours?             20   as Exhibit 13, which is the 2008 Citizen Petition.
        21       A I can estimate for you. Maybe 16 hours,        21           (Exhibit No. 13 was marked for
        22   20 hours. Something in that range.                   22           identification.)
        23       Q Do you have your report in this case           23   BY MR. HEGARTY:
        24   that we had previously marked as Exhibit No. 8?      24        Q And you're familiar with this document,
        25       A Yes, I do.                                     25   correct?

                                                  Page 220                                                  Page 222
         1       Q We're going to be working from that             1       A Yes.
         2   report really for the rest of the deposition.         2       Q You say on page 7 of your report that
         3       A Okay.                                           3   the grounds for this request from that Citizen
         4          MR. TISI: And, Counsel, I just want to         4   Petition included then the paragraphs you have
         5   remind you that I -- that we did prepare that         5   under -- under that part of your report.
         6   binder that you -- a copy of the binder from --       6           Do you see where I'm referring to,
         7   that we marked last time, and then another binder     7   beginning with "Twelve publications"?
         8   with the studies that -- for ease of reference        8       A Yes, I do.
         9   that would correspond with the -- the charts that     9       Q And you say in your report: "Twelve
        10   she developed in her report. So I just wanted to     10   publications since 1995 confirming the causal
        11   make sure you knew that we had a copy of what we     11   relationship between genital application of talc
        12   previously produced and a -- and a new binder --     12   and ovarian cancer and the protective effect of
        13          MR. HEGARTY: Okay.                            13   tubal ligation or hysterectomy preventing the
        14          MR. TISI: -- to make things easy.             14   translocation of talc to the ovary."
        15          MR. HEGARTY: Thank you.                       15           First of all, did you review the 12
        16          MR. TISI: Mm-hmm.                             16   publications that are at the back of Exhibit 13?
        17   BY MR. HEGARTY:                                      17       A I'm not -- I don't believe so, but I was
        18       Q Doctor, if you would turn to page 7 of         18   just summarizing the petition -- basis for their
        19   your report.                                         19   petition.
        20          Are you there?                                20       Q Well, in your report, are you -- when
        21       A Yes.                                           21   you refer to 12 publications, are you referring to
        22       Q If you would look under the section            22   the 12 references that are at the back of
        23   "Background: Underlying Opinions," Part 4, do you    23   Exhibit 13?
        24   see that part?                                       24       A I'm simply summarizing what the petition
        25       A Yes.                                           25   said. So they cited 12 studies, and I was just


                                                                               4 (Pages 219 to 222)
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                                    April Zambelli-Weiner, Ph.D.
                                                  Page 223                                                  Page 225
         1   paraphrasing their basis for their petition.          1           THE WITNESS: Again, I would say that
         2       Q Well, where in the -- can you tell me           2   wasn't my -- my task or my charge, so, no, I did
         3   where in the petition they make reference to 12       3   not do that.
         4   publications since 1995 confirming the causal         4   BY MR. HEGARTY:
         5   relationship between genital application of talc      5       Q The next paragraph says: "An analysis
         6   and ovarian cancer?                                   6   of 16 pooled studies confirming a statistical --
         7       A Sure. I believe that's paraphrased              7   statistically significant 33 percent increased
         8   from -- let's see -- the second full paragraph on     8   risk of ovarian cancer associated with perineal
         9   page 3.                                               9   talc use."
        10       Q The paragraph beginning "The scientific        10           Did you make ref- -- did you review the
        11   basis"? Oh, I'm sorry, page 3.                       11   reference they cited for that proposition?
        12       A Page 3.                                        12       A That's a different question. Let me see
        13       Q The paragraph beginning --                     13   what they cite.
        14       A "Evidence" --                                  14       Q And I -- I can tell you they cite the
        15       Q -- "Evidence for the May 2008 petition."       15   Huncharek 2003 study.
        16       A Yes.                                           16       A I -- yes. I wanted to be sure. Well,
        17       Q So from that paragraph you made                17   then, yes, I did review that.
        18   reference -- you -- you said that those 12           18       Q So the Citizen Petition is using the
        19   publications in your report confirm the causal       19   Huncharek paper to advocate that there should be a
        20   relationship between genital application of talc     20   warning for ovarian cancer with talcum powder use,
        21   and ovarian cancer; is that correct?                 21   correct?
        22           MR. TISI: Objection.                         22       A I would say that's correct, they include
        23           THE WITNESS: Again, that's -- that's         23   that in their -- in their -- in their petition.
        24   not my opinion. I'm simply paraphrasing the          24       Q So do you agree that they are using this
        25   petition's basis.
                                                                  25   paper to influence FDA to agree with their

                                                  Page 224                                                  Page 226
         1   BY MR. HEGARTY:                                       1   position?
         2       Q But going back again to what I asked a          2             MR. TISI: Objection.
         3   moment ago, you did not go and confirm whether the    3             THE WITNESS: I would agree that it is
         4   12 publications they referenced actually do           4   part of their submission to FDA. So to the extent
         5   confirm a causal relationship between talc use and    5   that they're advocating for that position, it
         6   ovarian cancer?                                       6   is -- it's part of that package, yes.
         7       A No, that --                                     7   BY MR. HEGARTY:
         8          MR. TISI: Objection.                           8        Q Was it improper in your opinion for them
         9          THE WITNESS: That wasn't my charge.            9   to use the Huncharek paper to advocate for a
        10          MR. TISI: Objection. Outside the              10   warning of ovarian cancer with talcum powder
        11   scope.                                               11   product use?
        12          Give me a moment to object.                   12             MR. TISI: Objection.
        13          THE WITNESS: Sure. Sorry.                     13             THE WITNESS: I don't think I can really
        14   BY MR. HEGARTY:                                      14   answer. I wasn't tasked with doing what they did,
        15       Q With regard to the next paragraph              15   so I don't think I can really answer that question
        16   concerning the -- or that begins with the            16   as to whether it was proper for them to do it or
        17   statement "Strength of epidemiological evidence,"    17   not to do it.
        18   do you see that?                                     18   BY MR. HEGARTY:
        19       A Yes.                                           19        Q Do you know what influence, if any, the
        20       Q Again, did you review the references           20   2003 Huncharek paper had as part -- in connection
        21   that you make in that paragraph to see if they did   21   with FDA's analysis of the Citizen Petition as
        22   confirm the association between perineal talc use    22   submitted by Samuel Epstein?
        23   and the risk of ovarian cancer?                      23        A I'm sorry. Can you repeat the question?
        24          MR. TISI: Objection. Outside the              24        Q Sure.
        25   scope.                                               25        A Thank you.


                                                                                5 (Pages 223 to 226)
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                                     April Zambelli-Weiner, Ph.D.
                                                   Page 227                                                  Page 229
         1       Q Do you know -- do you happen to know            1   answer that because I wasn't really tasked with
         2   what influence, if any, the 2003 Huncharek paper      2   reviewing the IARC report in detail and sort of
         3   had in connection with FDA's analysis of the          3   the basis for their conclusion. So I wouldn't
         4   Citizen Petition as submitted by Mr. Epstein?         4   feel comfortable really answering that.
         5       A I couldn't say specifically how much            5   BY MR. HEGARTY:
         6   weight they might have given it -- given to it,       6        Q In fact, as to IARC, you're aware that
         7   other than that I would presume they reviewed it.     7   it concluded that there was limited evidence of
         8       Q You next cite a report by 19 scientists         8   carcinogenicity, but chance bias or confounding
         9   in eight nations worldwide under IARC confirming a    9   could not be ruled out with reasonable confidence.
        10   30 to 60 percent increased risk of ovarian cancer    10           MR. TISI: Objection.
        11   following the perineal application of talc.          11   BY MR. HEGARTY:
        12            Is that a reference to the 2010 IARC        12        Q Do you recall reading that?
        13   monograph, to your knowledge?                        13           MR. TISI: Objection.
        14       A Again, I was just trying to paraphrase         14           THE WITNESS: I don't recall reading
        15   their basis. So I'm not sure what -- it looks        15   that specifically.
        16   like it is IARC, but they also cite a Lancet         16   BY MR. HEGARTY:
        17   paper.                                               17        Q At the top of page 8 of your report, you
        18       Q You did as part of your review, as you         18   make reference to the testimony of Ms. Loretz in
        19   mentioned, go back and review the 2010 IARC          19   the first paragraph.
        20   monograph; is that correct?                          20           Do you see that?
        21       A I reviewed parts of it. I didn't --            21        A I'm looking.
        22   didn't read the whole thing.                         22        Q The middle of the paragraph.
        23       Q Now, IARC did not conclude that talc is        23        A Thank you.
        24   a carcinogen, correct?                               24           Yes, I see that.
        25            MR. TISI: Objection.                        25        Q You say that, according to Ms. Loretz

                                                   Page 228                                                  Page 230
         1           THE WITNESS: I believe -- I mean, I'm         1   that --
         2   relying on recall here, but I believe they            2          MR. TISI: I think it's Dr. Loretz.
         3   concluded it was a 2B, possible human carcinogen.     3          MR. HEGARTY: Dr. Loretz. Okay.
         4   BY MR. HEGARTY:                                       4   BY MR. HEGARTY:
         5       Q You're aware that they have categories          5        Q You say, according to Dr. Loretz, she
         6   above that of probably carcinogenic and               6   said that the PCP response was edited in meetings
         7   carcinogenic?                                         7   with J&J and Imerys, and then you cite her
         8       A Yes, I do.                                      8   deposition at page 425.
         9       Q They did not characterize talc as               9          Do you see that?
        10   carcinogenic, correct?                               10        A Yeah, I'm just reading that sentence
        11           MR. TISI: Objection. Outside the             11   again, please. (Peruses document.)
        12   scope.                                               12          Yes, I see that.
        13           THE WITNESS: Well, again, I would just       13          MR. HEGARTY: I'm going to mark as
        14   reiterate the 2B, possibly carcinogenic,             14   Exhibit 14 that page of Ms. Loretz's deposition.
        15   categorization.                                      15          MR. TISI: Do you have the whole
        16   BY MR. HEGARTY:                                      16   deposition?
        17       Q Which again, as you mentioned, is              17          MR. HEGARTY: I do, if you want to look
        18   possibly carcinogenic, correct?                      18   at it.
        19       A That's their rubric, correct.                  19          MR. TISI: Would you mind, yeah.
        20       Q IARC did not confirm that there was an         20          (Exhibit No. 14 was marked for
        21   increased risk of ovarian cancer with application    21          identification.)
        22   of talc, correct?                                    22   BY MR. HEGARTY:
        23           MR. TISI: Objection. Outside the             23        Q You cited pages 4 -- 425/21, to 426/1.
        24   scope.                                               24   Do you see where you made that reference, Doctor?
        25           THE WITNESS: I don't think I can really      25        A 425/21. Yes, I'm looking.


                                                                                 6 (Pages 227 to 230)
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                                    April Zambelli-Weiner, Ph.D.
                                                  Page 231                                                   Page 233
         1       Q Where does -- and my question is, where         1   sentence, you say: "According to Dr. Linda
         2   does Ms. Loretz say in that portion of her -- her     2   Loretz, director of Safety and Regulatory
         3   deposition that you cited that the PCP response       3   Toxicology at PCPC, this document would have been
         4   was edited by J&J and Imerys?                         4   sent to the PCPC members for approval before
         5       A So it doesn't say that, and I'm not sure        5   submission."
         6   that's what I was conveying in that -- in that        6           Again, citing this same part of
         7   sentence.                                             7   Ms. Loretz's -- Ms. Loretz's testimony -- or
         8            It says, question: "This report was          8   Dr. Loretz's testimony, where in the portion of
         9   written with Johnson & Johnson and Imerys's input,    9   testimony that you cite does she say that it's
        10   correct?"                                            10   going to be sent to PCPC members for approval
        11            And she says: "We probably had all of       11   before submission?
        12   our members who were interested, you know, review    12        A Again, I would say the same answer.
        13   it. That doesn't mean we changed the conclusions     13   It's possible that it's a mistake in how the --
        14   at all."                                             14   how the deposition transcript is -- is cited, but
        15       Q Right.                                         15   without seeing the rest of it, it's hard for me to
        16       A So I think I was simply referencing            16   know.
        17   that -- that it -- it was reviewed in consultation   17        Q You say next on page 8 that: "The 2011
        18   with them.                                           18   paper disclosed that the authors were consultants
        19       Q What is your support for saying that the       19   for Johnson & Johnson and Imerys."
        20   PCP response was prepared after edits and meetings   20           Do you see in the second paragraph of
        21   with J&J and Imerys?                                 21   page 8 where you say that the 2011 article right
        22            The only reference you make to support      22   in the middle, that you -- you refer to the title,
        23   that is this page from her deposition, and you       23   and then you say, "... and discloses that the
        24   agree that there's no -- that this portion of the    24   authors were consultants to Johnson & Johnson and
        25   deposition does not say that J&J and Imerys were     25   Imerys at the time the initial drafts of this


                                                  Page 232                                                   Page 234
         1   involved in editing the PCP response, does it?        1   manuscript was produced."
         2           MR. TISI: Objection. You -- it                2           Do you see where I'm reading?
         3   misstates her testimony. You know that -- you         3       A I do.
         4   know what her testimony was.                          4       Q I'm going to mark as Exhibit 15 the 2011
         5   BY MR. HEGARTY:                                       5   paper.
         6       Q You can go ahead and respond.                   6           (Exhibit No. 15 was marked for
         7       A Again, I -- this is just one section,           7           identification.)
         8   and I know I cite other sections, so I'm a little     8           MR. TISI: Thank you.
         9   uncomfortable responding fully in the absence of      9   BY MR. HEGARTY:
        10   the full document. But I can simply say that I       10       Q If you turn to the very last page -- I'm
        11   think my intention was to cite that -- that there    11   sorry, if you turn to page 506, do you see the
        12   was collaboration with J&J or Imerys or at least     12   "Acknowledgments," "Conflicts of Interest"
        13   the opportunity to review.                           13   section?
        14       Q Well, then, where did you get the              14       A I do, yes.
        15   information from on which you base the statement     15       Q The authors don't cite that they were
        16   "after edits and meetings with J&J and Imerys"?      16   consultants of Johnson & Johnson and Imerys at the
        17       A Do you have the rest of the -- the other       17   time the initial drafts of the manuscript were
        18   cites for the Loretz dep?                            18   produced, do they?
        19       Q Well, you think that it might be in            19       A That's correct. It just says "Johnson &
        20   those other cites?                                   20   Johnson Consumer Product Worldwide."
        21       A It just would give me a fuller picture         21       Q So your reference to Imerys is a
        22   of -- of what I was trying to convey in this         22   mistake, correct?
        23   paragraph.                                           23       A It may be. With regard to this specific
        24       Q Well, we'll come back to that.                 24   COI and the exact wording, yes, I would say that's
        25           If you look at the next section -- next      25   correct.


                                                                                7 (Pages 231 to 234)
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                                     April Zambelli-Weiner, Ph.D.
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         1       Q Thank you.                                      1           (Exhibit No. 16 was marked for
         2           Now, throughout your paper -- I'm sorry,      2           identification.)
         3   throughout your report, you do not distinguish        3   BY MR. HEGARTY:
         4   between citations to footnotes and citations to       4       Q This is obviously one of the papers that
         5   the references to the work cited. For example, if     5   was a focus of your report, correct?
         6   you go to page 11 of your report, at the very top     6       A Correct.
         7   you make reference to a footnote 5 that refers to     7       Q If you look on page 14, of your report
         8   the PRISMA statement, but then in the following       8   under the section "Analysis" beginning at "6.1
         9   paragraph, in the same format as a footnote, you      9   Huncharek, et al., 2003." Do you see where I'm
        10   make reference to 16.                                10   referring you to?
        11           Do you see that?                             11       A Yes.
        12           MR. TISI: I'm sorry, where are you,          12       Q In the first line you say: "In 2003, a
        13   Counsel? I --                                        13   meta-analysis study by Huncharek, Geschwind and
        14   BY MR. HEGARTY:                                      14   Kupelnick -- Kupelnick." Do you see where I'm
        15       Q The top of page 11, there's a footnote 5       15   reading?
        16   that appears to refer to a PRISMA statement. Then    16       A Yes, I do.
        17   the -- the next line after that footnote beginning   17       Q If you look at the first page of the --
        18   "The 2009 paper" ends with a reference to 16.        18   of the Exhibit 16, you misspelled Geschwind, did
        19           Is 16 a footnote as well?                    19   you not?
        20       A No. If it was a footnote, it would be          20       A Yes, it appears I did.
        21   on that page.                                        21       Q If you look over on page 18 of your
        22       Q So what is the reference to -- to 16?          22   report under the section "Lack of replication,
        23       A It should be in the back. Let's take a         23   2003 Huncharek Meta-analysis," do you see where
        24   look. (Peruses document.)                            24   I'm referring you to?
        25           So it is a reference 16 in the work          25       A Yes, I do.

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         1   cited.                                                1       Q You begin that section by saying: "In
         2       Q So is it proper format to make reference        2   their 2003 paper, Drs. Huncharek and Muscat
         3   to footnotes and make references to the work cited    3   claim." Do you see where I'm reading?
         4   using the same format?                                4       A Yes.
         5           MS. PARFITT: Objection to form.               5       Q Dr. Muscat was not an author on the 2003
         6           MR. TISI: Objection.                          6   paper, was he?
         7           THE WITNESS: I think it is. I mean, I         7           MR. TISI: Objection.
         8   think, could it have been clearer, sure, but I        8           THE WITNESS: He was not an author, but
         9   don't think there's -- there's anything wrong with    9   I believe I'm referencing my understanding that he
        10   doing that.                                          10   worked on the paper in some capacity.
        11   BY MR. HEGARTY:                                      11   BY MR. HEGARTY:
        12       Q Have you ever done -- used that kind of        12       Q Well, from -- what is your basis for
        13   format in any published work of yours?               13   saying that he in some way worked on this paper?
        14           MR. TISI: Objection.                         14       A If I'm recalling correctly, I'm thinking
        15           THE WITNESS: I don't recall.                 15   about his deposition.
        16   BY MR. HEGARTY:                                      16       Q But if you read his deposition, you know
        17       Q You do agree that it can be confusing.         17   that he said that he had no involvement in this
        18       A Sure. I mean, generally footnotes are          18   paper, correct?
        19   on the same page, and, you know, I think you can     19           MR. TISI: Objection.
        20   follow the pattern there, but you certainly could    20           THE WITNESS: I don't -- I don't recall
        21   use another format to make it a little bit           21   his deposition word for word.
        22   clearer.                                             22   BY MR. HEGARTY:
        23       Q I'm going to mark as Exhibit 16 the 2003       23       Q Well, throughout your report when you
        24   Huncharek paper, which I'm sure you have a copy of   24   refer to the 2003 study, you continually refer to
        25   as well.                                             25   this study as by Huncharek and Muscat, don't you?


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       1        A I do. And, you know, I'm also                  1   before.
       2   recalling, hopefully correctly, that they were        2   BY MR. HEGARTY:
       3   both named on the proposal. Again, I don't have       3       Q So you don't consider that to be a
       4   the documents in front of me, but my recollection     4   mistake in your report?
       5   is that they may have both been named on the          5       A I don't, no.
       6   proposal and the preliminary report from which        6       Q If you would turn over to Table 1 on
       7   some of the data in the 2003 paper derived from.      7   page 15 of your report. Tell me when you're
       8        Q But, Doctor, in the section I'm pointing       8   there.
       9   to and throughout your report, you are referring      9       A Okay.
      10   to and critiquing the 2003 article we marked as      10       Q First, in footnote 8, you note that
      11   Exhibit No. 16, correct?                             11   typographical and grammatical errors can and do
      12        A That's correct.                               12   occur in research, correct?
      13        Q So it would be a mistake to -- when           13       A Correct.
      14   you're talking about this article, to say that       14       Q These can include transcription errors
      15   Dr. Muscat was an author of this article, correct?   15   where data is inadvertently transferred
      16           MR. TISI: Objection. She already             16   incorrectly, correct?
      17   answered that question. Asked and answered.          17       A I don't believe that's what I said.
      18           You can go ahead and answer.                 18       Q But do you agree that typographical and
      19   BY MR. HEGARTY:                                      19   grammatical errors in a publication can include
      20        Q You can answer.                               20   transcription errors where data is inadvertently
      21        A Again --                                      21   transferred incorrectly?
      22           MR. TISI: You can answer again.              22          MR. TISI: Objection to the term
      23           THE WITNESS: Okay. Yeah, I believe I'm       23   "transcription errors."
      24   referencing his involvement in -- in the data in     24          THE WITNESS: Well, again, I don't know
      25   the paper.                                           25   how -- I don't know exactly how you're using

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       1   BY MR. HEGARTY:                                       1   "transcription." Perhaps you can clarify.
       2       Q So you don't think it's a mistake when          2   BY MR. HEGARTY:
       3   you're talking about the 2003 paper with lead         3       Q Well, can errors in -- do errors in the
       4   author Huncharek to continually talk about            4   transfer of data sometimes occur in publications?
       5   Dr. Muscat as an author of that paper.                5       A Sure. Yes.
       6           MR. TISI: Objection.                          6       Q Do citation errors sometimes occur in
       7           THE WITNESS: Again, I think my                7   publications?
       8   characterization of it is -- you know, as you can     8       A Yes.
       9   see in the title above it, "2003 Huncharek            9       Q Is it your methodology for purposes of
      10   Meta-analysis," and then below citing his            10   your report that any article or study with
      11   involvement in the paper --                          11   typographical, grammatical or citation errors
      12   BY MR. HEGARTY:                                      12   renders that study invalid?
      13       Q But you --                                     13       A No, I don't think --
      14       A -- and the data.                               14          MR. TISI: Let me just place an
      15       Q But you are saying that in the first           15   objection.
      16   sentence: Drs. Huncharek and Muscat claim that       16          THE WITNESS: Sorry.
      17   their calculations suggest an inverse                17          MR. TISI: Thank you.
      18   dose-response relationship."                         18          THE WITNESS: I'm sorry.
      19           There you're referring to what they're       19   BY MR. HEGARTY:
      20   claiming in the 2003 paper, correct?                 20       Q You can answer.
      21           MR. TISI: Objection. Asked and               21       A Could you repeat the question. Thank
      22   answered.                                            22   you.
      23           THE WITNESS: Again, the dose-response        23       Q Is it your methodology for purposes of
      24   data actually appears prior in a 2000 report. So,    24   your report that any article or study with
      25   again, I would stay by my statement, sir, from       25   typographical and grammatical or citation errors


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       1   renders that study invalid?                           1   textbook. And I -- I'm sure there are many others
       2       A No, I don't think that's what I'm saying        2   related to specifically substantive errors which
       3   at all. I think that I'm talking about an             3   are really critical in a meta-analysis. Because a
       4   analysis of internal validity of a study for which    4   meta-analysis, by definition, is an analysis of
       5   there are, you know, numerous components to that.     5   other people's studies and other people's data.
       6       Q But you state in that footnote that:            6   And so when you're assessing a question of
       7   "The number of errors identified in this paper        7   validity, the question is, are you measuring what
       8   raise concerns about the rigor of the authors'        8   you say you're measuring, and you're either
       9   quality control procedures and the editorial          9   measuring the data from the prior studies
      10   review process for this journal."                    10   accurately or you're not. So that drives directly
      11           Do you see where I'm reading?                11   at validity.
      12       A I do.                                          12       Q Have you ever published in any article
      13       Q Can you identify for me any written            13   or journal the number of errors in a paper that
      14   standard for the number and type of errors that      14   raise concerns that -- the number of errors that
      15   are recognized to raise concern about the rigor of   15   are necessary to raise concerns about the rigor of
      16   the authors' quality control procedures? Is there    16   the authors' quality control procedures and
      17   any objective standard published?                    17   editorial review process?
      18           MR. TISI: Objection.                         18       A Can you repeat that question, please?
      19           THE WITNESS: That was a long question.       19       Q Sure.
      20   I'm going to do my best to answer it. It was         20           Have you ever published in a journal or
      21   compound.                                            21   any -- or in any format the number of errors it
      22           So there are certainly standards about       22   takes before you have concerns about the rigors of
      23   the types of errors, and I believe that was one of   23   the authors' quality control or the editorial
      24   the components of what you said. And I would         24   review process? Is there an objective number?
      25   refer you to IARC actually for a good example of     25   Five errors? Ten errors?

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       1   that in terms of when there is lack of clarity or     1       A I have not published on that. I don't
       2   lack of transparency or these types of issues,        2   know that anyone has. And I'm not even sure that
       3   that it does call into question the quality of the    3   would be appropriate because it's really, again,
       4   paper, and therefore could impact the weight that     4   about a wholistic analysis of the internal
       5   such a paper is given in a weight-of-evidence         5   validity of a study, and -- and that you can't
       6   analysis or a causation analysis.                     6   take really individual errors out of that -- out
       7            So I think that, you know, when we're        7   of that larger context, or just not all errors are
       8   talking about something like this that is a           8   also created equally.
       9   meta-analysis, you know, there absolutely are --      9       Q What does it take for an error in a
      10   are guidances and standards around the kinds of      10   publication to be a substantive error in your
      11   errors and the importance of precise abstraction     11   opinion?
      12   of data from the original studies.                   12       A Well, in my opinion, it would depend
      13   BY MR. HEGARTY:                                      13   on --
      14       Q Can you point to me to any such                14           MR. TISI: Let me just object to the
      15   published guidance and standards?                    15   vagueness of the question.
      16       A I think I just mentioned one. I think          16           Go ahead.
      17   when we met last time --                             17           THE WITNESS: Sure.
      18       Q I'm sorry, when you say IARC, are you          18           In my opinion, it would depend on the
      19   talking about the monograph?                         19   nature of the study or the nature of the
      20       A Sure. Because they -- they discuss             20   publication. I think in meta-analysis, I would
      21   methodology --                                       21   definitely consider misabstraction or
      22       Q Okay.                                          22   misrepresentation of the data from the original
      23       A -- in part of the IARC monograph.              23   studies, particularly under the premise of a -- of
      24            I think I mentioned before the Cochran      24   a protocol that involves double abstraction, a --
      25   collaboration. I think I mentioned the Bornstein     25   a concerning and substantive error.


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       1   BY MR. HEGARTY:                                         1   substantiate it. It can't be replicated. That's
       2       Q Can you identify for me any other types           2   what you say, correct?
       3   of errors in a publication that you consider            3       A Correct.
       4   substantive errors besides what you just provided?      4       Q That's not true, is it?
       5       A Well, I -- I think I detail a lot of              5       A Well, that is my analysis of -- of that
       6   them, you know, in -- in my report.                     6   particular statement.
       7       Q Well, let us talk about those then.               7       Q Well, do you have the paper in front of
       8          MR. TISI: I'm sorry, she wasn't                  8   you, Exhibit 16?
       9   finished with her answer, Counsel. You asked her        9       A Yes, I do.
      10   a question, unless you are withdrawing the             10       Q If you turn to the references, do you
      11   question.                                              11   see there's a reference there to 3, Cooper &
      12          MR. HEGARTY: No, I'm not withdrawing.           12   Hedges, L.V., The Handbook of Research Synthesis,
      13   BY MR. HEGARTY:                                        13   New York, Russell Sage Foundation, 1994?
      14       Q Did you finish?                                  14          Do you see that reference?
      15       A Can you repeat the question, please?             15       A I see that reference, but I just --
      16       Q Well, yeah, I had asked you about,               16       Q Do you --
      17   can you identify for me any other types of errors in   17       A Excuse me, I want to --
      18   a publication that you consider substantive errors     18          MR. TISI: Give her a moment.
      19   besides what you provided, and I was going to then     19          THE WITNESS: I want to find the section
      20   allow you to make reference to what you include in     20   of the paper where that particular statement comes
      21   your report, but if you want to go ahead and give a    21   from. (Peruses document.)
      22   separate response, that's fine.                        22   BY MR. HEGARTY:
      23       A I lost my train of thought. I -- I               23       Q You list it as page 1956, paragraph 2.
      24   think I was -- I was going to say that obviously I     24       A Thank you.
      25   detailed, you know, some of these in my report,        25          MR. TISI: And if you have -- on your


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       1   and I think that -- again, I would just reiterate,      1   note, if you have your report with --
       2   it really depends upon the nature of the error and      2            THE WITNESS: Yes. Thank you for that
       3   the paper and the study.                                3   reminder, yeah.
       4        Q So if we look at the sentence just               4            MR. TISI: Sure.
       5   before Table 1, you say: "A list of substantive         5            THE WITNESS: I'll have to keep -- maybe
       6   errors is provided in Table 1 of this report            6   I'll -- maybe I'll switch to that report, that
       7   (below)."                                               7   version of the report.
       8           Do you see where I'm reading?                   8   BY MR. HEGARTY:
       9        A I do.                                            9         Q We're on page 15.
      10        Q So in your opinion, the errors -- the           10            MR. TISI: I think you said you had the
      11   references that you cite in Table 1 are those you      11   references pulled out of the report with the --
      12   consider to be substantive errors, correct?            12            THE WITNESS: Right. Yeah.
      13        A I would say, correct, within the context        13            MR. TISI: Okay.
      14   of my footnote, which is, you know, trying to          14            THE WITNESS: Right. So in the paper
      15   distinguish between, you know, more typographical      15   they cite to that statement with -- with -- let me
      16   and grammatical errors versus errors that drive at     16   see, I'm trying to find it -- with -- with
      17   the -- the methods or the results of the study.        17   reference 8. So you're referring to reference 3?
      18        Q Well, let's go through them one by one.         18   BY MR. HEGARTY:
      19   Let's look at the first one. You quote the 2003        19         Q Correct. Did you read reference 3?
      20   article as saying, "Literature retrieval was           20         A Which -- which, by the way, my
      21   performed by previously described methods,"            21   understanding is an entire textbook. Just let me
      22   quoting 8. Correct?                                    22   confirm.
      23        A Correct.                                        23            Right. So in my opinion, it -- it's
      24        Q You say, though, that Citation 8 is not         24   really not appropriate to cite an entire
      25   correct, so there was no method provided to            25   textbook -- or let's just say it's -- it's not


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       1    informative to cite an entire textbook for            1   be -- the way they described the databases that
       2    literature retrieval methods.                         2   they've searched definitely left me with questions
       3            Typically the way that's handled in           3   as -- excuse me -- as well as the search terms.
       4    research is, if you've published a prior study        4   That's not really a very detailed way of -- of
       5    where you've provided a lot of detail on your         5   laying out your search terms. So I disagree with
       6    protocol, because papers are like -- word count is    6   your assessment.
       7    prime real estate in a -- in a peer-reviewed          7        Q Well, it would be -- it would be
       8    paper, you take advantage of that and you go ahead    8   incorrect to say that they made no description at
       9    and reference the prior paper so you don't have to    9   all of how they did their literature retrieval,
      10    go through that again. So that's really standard.    10   correct?
      11            I find this to be not informative about      11        A I'm sorry. Repeat, please.
      12    the literature retrieval method to cite an entire    12        Q Sure. It would be incorrect to say that
      13    textbook.                                            13   the authors made -- provided no description of how
      14         Q So do -- would you find it to be a            14   they went about doing their literature retrieval,
      15    substantive error if they meant to make reference    15   correct?
      16    to -- to number 3 instead of number 8, if that --    16        A I think I would agree. Obviously, they
      17            THE REPORTER: I couldn't hear you. You       17   provide some description, but whether that's
      18    have got -- I need you to finish your question. I    18   adequate and informative, I think that's a
      19    didn't hear it with the cough. Sorry.                19   different question.
      20            MR. HEGARTY: Okay.                           20        Q Was it your contention that their -- the
      21    BY MR. HEGARTY:                                      21   way they provided the information as to the
      22         Q All right. Would you consider a -- a          22   literature retrieval method was a substantive
      23    typographical error where they meant to refer to 3   23   error in their report?
      24    but they said 8 as a substantive error?              24        A Well, again, I think -- yes, I think
      25            MR. TISI: Objection.                         25   I -- I think I've said that in Table 1, just that

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       1           THE WITNESS: Well, I think I'm going to        1   it's -- it drives directly at the methods of the
       2   stand by what I put in my table, which is              2   meta-analysis. So in that way, I consider it a
       3   methods -- references are important, and if            3   substantive error.
       4   they're relying on another reference for their         4         Q Well, what would have changed in the
       5   method, then it should be informative as to the        5   report if they had provided a different
       6   method in a way that someone could replicate their     6   description of the -- their literature retrieval
       7   meta-analysis if they -- if they so desired.           7   methods?
       8   BY MR. HEGARTY:                                        8         A I -- I can't answer that. I would've
       9       Q But -- in that very same section that            9   had to see what they changed.
      10   you reference, in 1956, the authors go on and         10         Q Is there a written authority that --
      11   describe in quite -- in a quite detailed way the      11   that tells authors on how they're to describe
      12   way they did their literature search, didn't they?    12   in -- in their articles how they do their
      13       A Well, I'm going to take a quick look            13   literature search and how to cite it?
      14   just to refresh my memory. (Peruses document.)        14         A I -- there very well may be. I think
      15           I -- I don't think I would agree with         15   there's certainly convention for anyone who is
      16   your characterization of that.                        16   well versed in -- in the field.
      17       Q Well, they -- they reference the                17         Q Can you cite for me any published
      18   databases that they searched, correct?                18   authority that tells authors how they're to
      19       A They do, but it's very -- it's a very           19   describe their literature searches?
      20   odd and very strange reference that leaves me with
                                                                 20             MR. TISI: Objection.
      21   a lot of questions. Because the MEDLARS
                                                                 21             THE WITNESS: Not off the top of my head
      22   reference -- MEDLARS is a several iterations ago
                                                                 22   as I sit here, but that doesn't mean it doesn't
      23   version of PubMed. So MEDLARS hasn't been MEDLARS
                                                                 23   exist.
      24   since, I don't know, a long time ago.
                                                                 24   BY MR. HEGARTY:
                                                                 25         Q Your second point in that table --
      25           So I found it very strange for them to


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                                  April Zambelli-Weiner, Ph.D.
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       1           MR. TISI: Table 1 from --                     1           THE WITNESS: Not necessarily, and I'll
       2           MR. HEGARTY: Table 1. We're going to          2   tell you why. Because usually there is a graph --
       3   stick with Table 1 for the next 30 or 40 minutes      3   a graphical depiction of, you know, a forest plot
       4   at least.                                             4   of the results of the meta-analysis. That's a
       5           MR. TISI: Okay.                               5   very standard reporting out of your results.
       6   BY MR. HEGARTY:                                       6           And in that graph, you get really
       7        Q -- refers to text, noting that the             7   important information about the meta-analysis.
       8   Hankinson data was subsequently used in Gertig so     8   You know which studies were actually used, you get
       9   that Gertig would only be included, but then you      9   the point estimates, the confidence intervals, you
      10   note that they went on to cite 12, or Hankinson,     10   often gets the weights that were applied to those
      11   instead, correct?                                    11   studies. And so that would have been confirmatory
      12        A Right. So I believe -- just to make           12   of which study was in fact actually used. So
      13   sure I'm understanding your characterization         13   since that doesn't appear here, it's an open
      14   correctly, in the text they say Hankinson was        14   question.
      15   included and Gertig was removed, but in Table 1      15   BY MR. HEGARTY:
      16   where they list the studies that were included,      16        Q Well, if they had said only reference 10
      17   Hankinson is not there and Gertig is there.          17   was included in the meta-analysis, would you have
      18        Q Correct. So the table is correct,             18   said that that's a -- a problem or an issue?
      19   right?                                               19           MR. TISI: Objection.
      20        A Well, I think it -- it leaves -- it           20           THE WITNESS: I'm sorry. Can you repeat
      21   leaves an open question. I mean we -- we can take    21   that, please?
      22   that at face value and assume that that's --         22   BY MR. HEGARTY:
      23   that's what happened, but, you know, certainly       23        Q Sure. If they had said therefore only
      24   that's a question.                                   24   reference 10 was included in the meta-analysis,
      25        Q Well, they say that the Hankinson data        25   instead of saying reference 12, would you have


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       1   was included in Gertig, so they would use Gertig.     1   also called that a substantive error?
       2   And the mistake you're pointing out is that in the    2           MR. TISI: Objection.
       3   text they actually say we're taking -- we're going    3           THE WITNESS: Well, I think -- I think
       4   to refer to Hankinson, correct?                       4   certainly that would have improved the situation.
       5       A I'm having a hard time reading it. Let          5   I mean it doesn't -- you know, it wouldn't have
       6   me look here. One second. (Peruses document.)         6   drawn this direct contradiction that leaves an
       7       Q In other words, they say that --                7   open question that's not answered by the lack
       8       A Right.                                          8   of -- of reporting out on the meta-analysis
       9       Q -- they're going to go with Gertig, but         9   results. So -- but obviously having the graphical
      10   then they say they're go -- then they make           10   report out of the meta-analysis results would have
      11   reference to 12, which is Hankinson, instead of      11   resolved that question.
      12   10, correct?                                         12   BY MR. HEGARTY:
      13       A Correct. So they say 12 was included,          13       Q Anyone looking at Table 2 would see that
      14   and therefore only 12, which is Hankinson was        14   Gertig was included and not Hankinson, correct?
      15   included in the meta-analysis. But in Table 2, it    15       A Again, you know, there are other errors
      16   looks like it was Gertig and -- and not Hankinson,   16   in Table 1. So, you know, again, it's an open
      17   although --                                          17   question. I'm not going to agree that you can
      18       Q So any -- I'm sorry.                           18   assume that that's what happened because, you
      19       A -- we can't be sure what actually              19   know, there's other errors.
      20   happened.                                            20       Q And I said Table 1, I meant -- Table 2,
      21       Q But anyone reading this paper when they        21   I said. I meant to say Table 1. Well --
      22   looked at Table 1 would know that that's a           22           MR. TISI: Table 1 -- I guess where I'm
      23   typographical error, that they meant to say          23   confused here, are you talking about Table 1 from
      24   citation 10, Gertig, correct?                        24   the report or the table from the -- from the
      25           MR. TISI: Objection.                         25   article?


                                                                            13 (Pages 255 to 258)
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       1           MR. HEGARTY: Well, please, Chris, I           1   contradictions in the context of other errors
       2   understand --                                         2   within this paper, including in Table 1, coupled
       3           MR. TISI: Well --                             3   with the lack of reporting out on the results of
       4           MR. HEGARTY: If I make an error -- an         4   the meta-analysis, which would resolve the
       5   issue with the clarity of the -- of the               5   contradiction, leave it as an open question.
       6   transcript, I'd just rather you not take my time      6       Q Your third point in Table 1 of your
       7   with asking questions.                                7   report on page 15 refers to the authors reporting
       8           MR. TISI: I -- I'll give you an extra         8   on the lowest dose and how Booth had a lowest dose
       9   20 seconds.                                           9   of rarely or less-than-one-time dose that's not
      10           Can you tell me which chart -- which         10   reported, correct?
      11   chart you're referring to?                           11       A Correct. That's correct.
      12           MR. HEGARTY: My question was, as it          12       Q And you know that this was not included
      13   relates to Table 1, anyone in the article, the       13   because a rarely or less-than-one-month --
      14   2003 article would know that they included Gertig    14   one-per-month-dose could not be combined with the
      15   and not Hankinson.                                   15   other study data. You know that's why the authors
      16   BY MR. HEGARTY:                                      16   didn't list that, correct?
      17       Q Correct, Doctor?                               17            MR. TISI: Objection. Calls for
      18       A Oh, I'm sorry. I didn't realize you            18   speculation.
      19   were asking me --                                    19            THE WITNESS: I -- I don't know that,
      20       Q Sure.                                          20   and I think that that -- that's exactly the point.
      21       A -- a question again. Go ahead.                 21            If you look at the study, and I'm just
      22       Q In Table 1 of the -- of the 2003               22   trying to flip to the section in the study, I
      23   article, they don't reference Hankinson, correct?    23   believe there was like a one-line description of
      24       A That is correct.                               24   the dose-response analysis.
      25       Q And in fact, it was proper to include --       25            But I think it's important to find it.


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       1   include Gertig and not Hankinson because Gertig       1   Because the authors basically state that the
       2   had used the same data, correct?                      2   lowest recorded exposure category -- a comparison
       3         A Well, I -- I didn't do that analysis. I       3   was made across these studies comparing the lowest
       4   mean, I assume that's -- that's their judgment or     4   recorded exposure category with the highest
       5   what they're trying to convey, but, you know, I       5   exposure level. That is the extent of their
       6   sort of stand by the position that that's an open     6   methods description related to their dose-response
       7   question as to what was actually done.                7   analysis.
       8         Q Well, how did this excerpt with errors,       8           So, if you take them at face value that
       9   as you say it, in Table 1 of your report have any     9   what they're saying is true, you go back to the
      10   substantive impact on the article?                   10   original studies and you look for the lowest
      11         A Oh, I mean I think what studies were         11   recorded exposure category, and that is not what
      12   included in the meta-analysis absolutely is -- you   12   they did.
      13   know, drives at the core of this -- of the paper     13   BY MR. HEGARTY:
      14   and the -- the substance of this paper.              14        Q Would you have any problem if this
      15         Q Well, Doctor, at the top of Table 1 in       15   article -- the 2003 article had recorded that
      16   the 2003 paper, they say "Overview of included       16   we're not including the rarely or
      17   studies." That means these are the studies they      17   less-than-one-month from Booth because we couldn't
      18   included in the meta-analysis, correct?              18   combine it with the other studies data?
      19         A That is what it says, correct.               19        A Well, I think certainly what I can agree
      20         Q So how did a misreference to Hankinson       20   to is that a more -- a more detailed transparent
      21   in that paragraph when Hankinson is not included     21   methods description of what actually was done
      22   here have any substantive effect on the paper?       22   would have been very appreciated and welcomed, and
      23         A I think I answered your question, but        23   I think at that point, you know, I would evaluate
      24   I'll go ahead -- I'll go ahead and say it again.     24   that on -- on its merits. But that's not what
      25            Those types of contradictory errors or      25   happened, so it leaves us with a lot of questions.


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       1           And I also -- I also think, excuse me,        1   we shouldn't be in that position of having to
       2   just to add, that it's misleading. Because if         2   guess and wonder what they did or make
       3   someone comes in -- comes in to this paper and is     3   assumptions, and I think that that's the point,
       4   not familiar with this body of literature and with    4   and that's really the -- the most I can say about
       5   these studies, then it looks like these are the --    5   that.
       6   the exposure categories that are reported out for     6       Q So did you actually go back and read the
       7   each of these studies, when in fact that's not        7   Booth paper?
       8   accurate. That's not a full and accurate              8       A I did, yes.
       9   characterization of the data in these underlying      9       Q And from reading the Booth paper, you
      10   studies.                                             10   did not conclude that they excluded that rarely or
      11        Q You figured it out. You -- you aren't         11   less-than-one-time per dose because it -- no -- no
      12   contending that others couldn't pull the Booth       12   such similar data was collected across the other
      13   paper and figure it out, are you?                    13   studies? Did you not make note of that?
      14        A Again, it's about standards of                14           MR. TISI: Objection.
      15   methods -- no one should have to, right? It          15           THE WITNESS: I simply made note of what
      16   should be very clearly spelled out exactly what      16   they did. What I can say is, first of all, I
      17   they are doing. Methods have to be spelled out;      17   don't prescribe to the premise that -- that this
      18   decisions have to be justified.                      18   dose-response analysis is valid at face value.
      19           That's -- you know, what you're alleging     19   Just the methodologic choices made by the author.
      20   is -- presuming that is what happened, is -- is a    20   So let's just establish that, put that aside.
      21   methodologic choice that the authors are making      21           There are lots of different ways to do
      22   that they're obligated to describe and justify to    22   this, to do -- to do a dose-response analysis, to
      23   a certain extent, and that did not happen.           23   do a meta-analysis, and so I can't really
      24        Q As a general proposition, though, it's        24   speculate on what they thought they were doing or
      25   not improper in a meta-analysis if you have some
                                                                25   what they actually did. I think all I can say is


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       1   parts of data you can't combine with other -- with    1   they had an obligation to lay that out and allow
       2   data from other studies to just include the data      2   people to evaluate it and were -- were unable to
       3   across the studies that you can combine, correct?     3   do that.
       4        A I'm sorry. Can you read that back or           4   BY MR. HEGARTY:
       5   rephrase?                                             5       Q How did this present or how did this --
       6        Q Sure. As a general proposition, it's           6   strike that.
       7   not improper in a meta-analysis if you have some      7           How was this a substantive error that
       8   parts of data you can't combine with other studies    8   affected the results or conclusions of the 2003
       9   to then just include the data across the studies      9   paper?
      10   that you can combine, correct?                       10       A Again, it drives directly to the methods
      11           MR. TISI: Object.                            11   and the results of the study. If you say you are
      12   BY MR. HEGARTY:                                      12   taking the lowest recorded exposure category from
      13        Q That you're matching like with like or        13   each study, then that should be an accurate
      14   combining like with like.                            14   statement, and it's not an accurate statement. If
      15        A Again, that's a very sort of amorphous,       15   you did something else, then you should describe
      16   abstract question, but I'll -- I'll do my best to    16   that something else, and you should justify that
      17   answer it.                                           17   something else so that people can evaluate the
      18           I mean, I think, you know, that when         18   validity of that, the risk of bias of that and so
      19   you're doing a meta-analysis, you should set out     19   on. That did not happen. That drives directly to
      20   the research questions, set out the objective, set   20   the substance of the paper, methods and results.
      21   out the inclusion/exclusion criteria, make that      21       Q Well, did you run the meta-analysis,
      22   very clear, and describe the methods, describe       22   leaving Booth out, to check whether it had any
      23   your justification for your choices, and then        23   effect on the results?
      24   allow the reader to evaluate those.                  24       A No. I wasn't -- I wasn't tasked with
      25           Again, I don't know what they did, and       25   trying to figure out how to do this the right way.


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       1   That wasn't my job.                                   1   this, you know, figure out how -- what the right
       2         Q Well, did you run the analysis with           2   way to do it was.
       3   including the -- the lowest dose from Booth to see    3       Q Well, if the authors had used the
       4   if it had any effect on the results?                  4   numbers you said they should have used, would it
       5         A Again, not my charge. Simply defending        5   have made -- had any effect on the risk numbers
       6   the facts, as you asked me originally, that this      6   that they reported or the conclusions from the
       7   is a -- a substantive error.                          7   study?
       8         Q If you look at the next point you make        8       A Can you repeat the question?
       9   over at the top of page 16, that's looking at the     9       Q Sure.
      10   Cook data. Do you see that?                          10           If the authors had used the numbers from
      11         A Yes.                                         11   Cook that you say they should have used, would it
      12         Q And what they -- the authors did there       12   have had any effect on the risk numbers they
      13   was to convert the --                                13   reported or the conclusions from the study?
      14            THE REPORTER: Was to what?                  14       A Well, I think -- I think in this
      15            THE WITNESS: I'm sorry.                     15   particular case I'm -- I'm simply calling out the
      16   BY MR. HEGARTY:                                      16   misrepresentation of the -- of the exposure
      17         Q And what the authors did there was to        17   categories. There may be other Cook-related
      18   convert the days reported to years, correct,         18   errors. But, again, standing -- standing by my --
      19   from -- from the Cook study?                         19   my position that it's paramount that the data be
      20         A That -- that's what they attempted to        20   accurately represented from the underlying
      21   do, correct.                                         21   studies.
      22         Q And your issue is with the fact that the     22       Q Well, what would the risk number have
      23   intervals overlap, correct?                          23   been if they had used what you say is the accurate
      24         A Correct. And also that the -- the            24   data from Cook?
      25   categories are rounded incorrectly if you -- if
                                                                25       A I -- I can't answer that.

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       1   you extrapolate that.                                 1       Q Well, what would the conclusions have
       2       Q Well, did you tell the reader of your           2   been if they had used the accurate numbers from
       3   report what the numbers should have been listed       3   Cook as you say they should have?
       4   as?                                                   4       A Again, you know, this -- this is just
       5       A I don't know. I don't believe so.               5   about the, you know, inaccurate, incorrect
       6       Q Well, what was the substantive effect on        6   representation of the data from the original
       7   the results from the way they characterized the       7   studies, and another example of this in the
       8   data from Cook in terms of lifetime days?             8   context of a lot of other issues.
       9       A Again, anything that drives at the              9           So I'm also -- also not entirely
      10   methods and the results of the meta-analysis is a    10   comfortable -- I know -- I know you want to walk
      11   substantive error. And I'm just going to bring it    11   through these one at a time, but they do each
      12   right back to the foundation of a valid              12   exist within -- within a broader context of -- of
      13   meta-analysis, which is an analysis of someone       13   a lot of other issues.
      14   else's data, of someone else's study, and proper     14       Q The next point you make refers to the
      15   representation of that data is paramount to the      15   data that they used from the Gertig study, in
      16   foundation of a valid meta-analysis.                 16   particular leaving out the "never and less than
      17           So, you know, inaccurately representing      17   one week." Do you see where I'm referencing?
      18   the data from another study to me is a substantive   18       A Yes, I do.
      19   error. It drives directly at the analysis, the       19       Q Again, as with Booth, a never and
      20   methods and the results.                             20   less-than-one-week level of exposure could not be
      21       Q Well, did you run the meta-analysis            21   combined with the other data that they were
      22   using what you believed were the proper numbers      22   looking at for purposes of the meta-analysis,
      23   from Cook?                                           23   correct?
      24       A Again, I -- I was not charged with that.       24       A Well, again, that's your assertion and
      25   It wasn't my -- wasn't my task or my job to rerun    25   your supposition about what the authors did. I --


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                                   April Zambelli-Weiner, Ph.D.
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       1   they don't tell us what they did. And -- well,        1           MR. TISI: Objection.
       2   they do tell us what they did, and they didn't do     2           THE WITNESS: Well, I wouldn't agree
       3   that, so they did something different than that,      3   with that. Again, I'm going to come back to the
       4   which we don't know exactly what they did.            4   foundation of what a meta-analysis is. And I do
       5           So, again, same answer as before: This        5   believe, again, the authors state somewhere in
       6   is just another example of, you know,                 6   their paper -- hopefully I'm again recalling
       7   misrepresenting the data from the original            7   correctly -- yes, two researchers performed the
       8   studies, leaving out exposure categories, without     8   data abstraction.
       9   proper explanation of exactly what they did and       9           So this raises a lot of questions for me
      10   exactly why they did it.                             10   as a researcher when I see these kinds of errors,
      11        Q Well, do you intend to testify that the       11   because you have to understand in a meta-analysis,
      12   authors intentionally misrepresented the data from   12   you're really talking about, like, copy and paste.
      13   the original studies?                                13   I mean this is just -- you're not running
      14           MR. TISI: Objection.                         14   calculations with regard to the abstraction of the
      15           THE WITNESS: I can't speak to what           15   data. You're literally copying and pasting from
      16   their intent was. But you can mislead -- it's        16   another person's study to, you know, your data
      17   misleading, period. I don't know what their          17   abstraction form.
      18   intent was, but it's misleading.                     18           So, to have these kinds of errors under
      19   BY MR. HEGARTY:                                      19   the assertion that there was a double abstraction
      20        Q Well, is it your -- is it your testimony      20   process raises a lot of questions for me, and I
      21   that they tried to be misleading or they tried to    21   would think for any researcher, because how is it
      22   misrepresent the data?                               22   that two people independently abstract the same
      23        A Again, I -- I can't say what their            23   error incorrectly?
      24   intent was. I can simply say that there is           24   BY MR. HEGARTY:
      25   misleading data, there's misleading statements       25       Q Well, what would have been the effect on

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       1   throughout their works. That's just a fact.           1   the risk numbers reported if they had used the
       2         Q Well, what would have been the numbers        2   proper odds ratio and confidence interval, as you
       3   reported from the study if they had included the      3   say they should have?
       4   lowest dosage category from Gertig?                   4       A Again, that -- that wasn't my charge.
       5         A I can't answer that, because a whole          5   That wasn't my task. I'm simply laying out that
       6   dose-response methodology should be laid out.         6   they did not abstract the data from the underlying
       7   It -- there's many different ways to come at this.    7   studies correctly.
       8   They didn't do that, so I can't evaluate that.        8           And in some cases -- you know, you have
       9   It's really a hypothetical.                           9   to understand how meta-analysis works. These
      10         Q If you look at the next point you make,      10   errors are substantive to the results of the
      11   it's the third cell in the carryover table on        11   meta-analysis. I can't speak to what the direct
      12   page 16, it concerns the odds ratio and confidence   12   specific impact of that would be because I wasn't
      13   interval reported from the Chang study, correct?     13   tasked with designing this meta-analysis, and --
      14         A I'm sorry, are you third from the            14   and making those methodologic judgments myself and
      15   bottom?                                              15   going through that process.
      16         Q No, the third cell down from the top.        16           But I can tell you that a valid
      17         A Okay. Same.                                  17   meta-analysis is based on the foundation of
      18         Q Same.                                        18   accurate and meticulous abstraction of the data
      19         A Okay.                                        19   from the original studies. And so if that is not
      20         Q You're talking there about the odds          20   done, that is in fact a substantive error.
      21   ratio in one instance and the confidence interval    21       Q Well, what was the substantive impact of
      22   in another instance from the Chang study, correct?   22   having a confidence interval of 1.09 to 2.68
      23         A Correct.                                     23   versus 1.09 to 2.64?
      24         Q Those are likely typographical errors,       24       A Again, I can't tell you specifically.
      25   correct?                                             25   All I can tell you is that even small errors can


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                                   April Zambelli-Weiner, Ph.D.
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       1   become amplified in a meta-analysis. So I can         1   if they had used in the -- the next part 2.4
       2   just talk qualitatively about what can happen.        2   instead of 3.4?
       3   Rounding errors, these kinds of errors, they can      3        A I would say it's -- it's again the same
       4   have impact on the results because you are            4   answer. It just shouldn't happen.
       5   weighting these studies, and so depending upon how    5        Q The next point you make is that the Ness
       6   the studies get weighted, errors get -- can become    6   reference included use on feet, correct?
       7   amplified. It is absolutely core to the substance     7        A Correct.
       8   of a meta-analysis.                                   8        Q The number listed, though, was from the
       9        Q Is it your testimony that a 2.68 versus        9   Ness paper, and those -- that number are for
      10   a 2.64 higher confidence interval in that one cite   10   genital and rectal use and feet, correct?
      11   would have caused substantive error in the risk      11        A Can we pull up the paper?
      12   numbers that were calculated?                        12        Q Sure. You have it in front of you,
      13        A Again, I'm going to stand by my prior         13   right?
      14   testimony that I'm not -- I'm not -- first of all,   14        A Yeah.
      15   I wasn't charged with doing that.                    15        Q And for the record, I will mark that
      16            Second of all, do I think that that one     16   paper as Exhibit 17.
      17   little like 0.04 is going to have by itself a        17           (Exhibit No. 17 was marked for
      18   major impact on the results? Probably not. Is it     18           identification.)
      19   still a substantive error? Yes, it is. And does
                                                                19   BY MR. HEGARTY:
      20   it exist within the context of a lot of other
                                                                20        Q In particular, if you turn over to
      21   errors that compounded and together can have a
                                                                21   Table 2 of Exhibit 17, on page 114 -- are you
      22   substantive impact on the results? Yes, it
                                                                22   there with me, Doctor?
                                                                23        A I am. I'm sorry. Yes, I'm there.
      23   absolutely does.
                                                                24        Q And you see that the numbers that the
      24        Q In the next cell, you again cite a
                                                                25   2003 article reported were for talc use,
      25   confidence interval that was cited as 0.6 to 3.4


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       1   when it should have been 0.6 to 2.4. Do you see       1   genital/rectal and feet, correct?
       2   where I'm reading?                                    2        A That is correct.
       3         A I do, yes.                                    3        Q So it wasn't just limited to feet, as
       4         Q What was the substantive impact to the        4   you say in your report, correct?
       5   results of this paper by having a confidence          5        A Well, it does include feet, and if you
       6   interval of -- of 0.6 to 3.4 instead of 0.6 to        6   look at the section above on talc use, you can see
       7   2.4?                                                  7   that a large proportion of the talc exposure was
       8         A I would say, again, it's -- it's the          8   feet. And I think that this is really important
       9   same answer. And, you know, we didn't really talk     9   as it relates to the author's stated objectives of
      10   about the one above it either, which is -- which     10   this paper, which if I'm recalling correctly, are
      11   is pretty substantive to misrepresent the point      11   perineal cosmetic talc use.
      12   estimate in Chang, so just bringing that to -- to    12            And so I think that that is an important
      13   the forefront as well.                               13   limitation or aspect of this data that is
      14            So, I mean, you know, again, it's --        14   questionable in terms of whether this should
      15   it's -- one, it's a substantive error; and, two,     15   have -- would have even met the inclusion/
      16   they exist within the context of -- of a lot of      16   exclusion criteria if that had been clearly
      17   errors. And so I can't answer what the specific      17   specified. Whether that drives at the -- at the
      18   impact would be of the accumulation of these -- of   18   research question, which is -- which really gets
      19   these substantive errors.                            19   to validity.
      20         Q Well, going back to the -- to the Chang      20            I mean validity is, are you measuring
      21   reference, what would have been the numbers          21   what you say you're measuring. So if you're
      22   reported if they had used 0.865 instead of 0.96?     22   measuring perineal talc -- if you're saying you're
      23         A I can't answer that, and quite frankly,      23   measuring perineal talc, but you're actually
      24   we shouldn't have to wonder.                         24   measuring feet also, that's an issue.
      25         Q Well, what would have been the numbers       25        Q Doctor, the category they used are for


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       1   genital/rectal use, and feet. So every person in      1   that can include people with feet exposure, not
       2   the list -- every person from the dataset that        2   genital/rectal.
       3   they used used talc on the genitals and rectal        3   BY MR. HEGARTY:
       4   area, correct?                                        4        Q Okay. Your next point as we were
       5       A It says "genital/rectal and feet."              5   walking through Table 1 on pages 15, 16, 17 of
       6   That's what it says, correct.                         6   your report, we're looking at the top of page 17,
       7       Q So it did not include just users on             7   you make reference to misstating the year of a
       8   their feet, correct?                                  8   publication.
       9            MR. TISI: Objection.                         9            How is that a substantive error?
      10            THE WITNESS: I don't -- I don't know        10        A Again, this -- this I cite here because
      11   that I necessarily agree with that. I mean if you    11   it's an important methods reference. So, again,
      12   look above, you know, the genital/rectal use is      12   my definition of "substantive," anything that
      13   161 cases. There's clearly more than 161 cases       13   drives at the methods or the -- you know, the
      14   represented in -- in that section.                   14   results of the -- of the study.
      15            So, you know, regardless, it's very         15        Q Misciting the year would not have had
      16   possible that it includes people who only had foot   16   any substantive effect on the numbers that the
      17   exposure, and at a minimum, I think this is an       17   authors ran, would -- would it?
      18   important substantive issue.                         18            MR. TISI: Objection.
      19   BY MR. HEGARTY:                                      19            THE WITNESS: No, I think -- sorry.
      20       Q You say it's very possible that the            20            MR. TISI: I'm sorry.
      21   category that Dr. Ness reported on in Table 2        21            Objection. Misstates, asked and
      22   included cases and controls who only used it on --   22   answered.
      23   on feet? Is that what you're saying?                 23   BY MR. HEGARTY:
      24       A Well, I need to look a little more             24        Q You -- you can answer.
      25   closely.                                             25        A Okay, sure. Yeah, I think this -- this


                                                Page 280                                                  Page 282
       1            MR. TISI: Excuse me. Could we go off         1   would drive more at the methods of the study.
       2   the record? I'm so sorry.                             2       Q Also, the next point you make about the
       3            MR. HEGARTY: Okay. Let's go off the          3   text referring to seven studies but the -- the
       4   record.                                               4   table including only six studies, how would that
       5            THE VIDEOGRAPHER: The time is                5   have had an effect on the numbers that the study
       6   11:01 a.m., and we're going off the record.           6   reported?
       7            (Recess.)                                    7       A I think this goes back to what we were
       8            THE VIDEOGRAPHER: The time is                8   talking about before in that the dose-response
       9   11:11 a.m., and we're back on the record.             9   analysis leaves a lot of -- of questions as to
      10   BY MR. HEGARTY:                                      10   what was actually done. And so I think with all
      11        Q Doctor, when we broke we were talking         11   of that in mind, again, the contradiction is open,
      12   about the reference to the Ness paper and            12   but -- because we don't have an adequate
      13   including the category of genital/rectal and feet,   13   description of the methods, we have
      14   and I asked you to let me know whether you thought   14   contradictions, and we don't have the reporting
      15   that that category did -- did or would have          15   out of the meta-analysis showing us, you know,
      16   included individuals who did not also use talc on    16   exactly what went into the meta-analysis.
      17   the genital/rectal area.                             17       Q Your last point refers to the rounding
      18        A Correct.                                      18   of numbers. Rounding of numbers in doing a
      19        Q Is that still your testimony?                 19   meta-analysis is not, per se, improper, correct?
      20        A Yes. After reviewing the paper -- well,       20       A I would say I don't necessarily agree
      21   let's just say after reviewing Table 2 but not       21   with you, with a caveat. You know, meta-analysis
      22   rereviewing the entire paper --                      22   really is about representing the data from the
      23            MR. TISI: Table 2 of the Ness paper.        23   original studies. If there's a reason to round
      24            THE WITNESS: I'm sorry. Table 2 of the      24   numbers, if that's a methodologic choice that was
      25   Ness paper, it is my interpretation of that, that    25   made by the investigators, then I would hope that,


                                                                           19 (Pages 279 to 282)
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       1   one, they would describe that choice; and, two,       1   BY MR. HEGARTY:
       2   justify that choice; and, three, apply it             2         Q If you look at the section on page 18
       3   uniformly.                                            3   entitled "Lack of replication, 2003 Huncharek
       4           So this -- and this does speak to the         4   meta-analysis." Do you see where I am?
       5   point that I made before, which is, you know,         5         A Yes.
       6   those types of rounding errors can have a             6         Q Your first sentence says: "In their
       7   substantive impact on the results, particularly as    7   2003 paper, Drs. Huncharek and Muscat claim that
       8   it relates to the weights and how much weight a       8   their calculations suggest an inverse dose
       9   particular study gets. So I think that is             9   repose."
      10   absolutely a substantive error.                      10            That's wrong, isn't it?
      11        Q Did you do an analysis comparing what         11         A There's a missing S, correct.
      12   the results would have been if they had not          12         Q That's a mistake in your report, right?
      13   rounded versus the results because they did round?   13         A That's a -- that's a typo, yes, correct.
      14        A Again, same answer as -- as before, no,       14         Q Does that make your report
      15   that wasn't my -- my charge.                         15   substantively -- should be questioned
      16        Q The results from this meta-analysis,          16   substantively?
      17   that is, the 2003, the relative risk -- or I         17         A Well, I think I did, one, further make
      18   should say the odds number reported of 1.23 is       18   that distinction, but, two, also reiterate that
      19   comparable to the other meta-analysis that had       19   it's the totality of the errors in any particular
      20   been done, correct?                                  20   piece of work.
      21        A I'm sorry. Are we -- are we -- so we're       21         Q But your quality control did not pick up
      22   back on the main meta-analysis?                      22   that error, correct?
      23        Q We're on the 2003 meta-analysis.              23         A That is correct, yes.
      24           MR. TISI: He shifted from the -- the         24         Q Is it your contention that as of 2003,
      25   dose-response.                                       25   it was wrong to say that the dose-response numbers

                                                Page 284                                                  Page 286
       1           THE WITNESS: Okay.                            1   available suggested an inverse dose-response
       2   BY MR. HEGARTY:                                       2   relationship?
       3       Q The numbers they report for the relative        3        A I'm not sure I understand your question.
       4   risks of their meta-analysis of 1.23 are              4   Can you rephrase or be specific?
       5   comparable to all of the other meta-analysis that     5        Q Was it your contention that as of 2003,
       6   had been conducted at that point in time and that     6   it was wrong to say that the dose-response data
       7   have been conducted since, correct?                   7   from the talc ovarian cancer studies argued
       8       A I can't really answer that. I wasn't            8   against a causal relationship?
       9   charged with doing that analysis, so I -- it          9            MR. TISI: Can you see -- you don't have
      10   wouldn't be fair for me to speculate.                10   a -- let me give this to you because that may be
      11       Q But you had not -- you did not go back         11   easier if you want to --
      12   and look at the other meta-analysis to see if the    12            THE WITNESS: So if I'm understanding
      13   numbers that the 2003 paper reported are             13   you correctly, you're asking me to make an
      14   consistent with what other meta-analyses have        14   assessment about the body of evidence as a whole
      15   reported?                                            15   related to dose-response?
      16       A Again, no, I didn't do an exhaustive           16   BY MR. HEGARTY:
      17   review of all the meta-analyses. No.                 17        Q Well, let me ask it differently.
      18       Q So can you testify that the -- the             18            Are you contending that it was wrong for
      19   numbers they reported from this study are            19   the 2003 paper to -- to say that the dose-response
      20   different than all the other meta-analysis that      20   data available suggested an inverse dose-response?
      21   have been done in a substantive way?                 21        A I think that what I'm saying is that
      22           MR. TISI: Objection.                         22   there are validity issues with the dose-response
      23           THE WITNESS: Again, not -- not my            23   analysis as presented in that paper that, yes,
      24   charge. Didn't do that analysis, so wouldn't want    24   bring me to the conclusion that that is not a
      25   to comment on it.                                    25   valid analysis, and that therefore is not a valid


                                                                           20 (Pages 283 to 286)
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       1   conclusion from that analysis.                        1   mixed exposure category. Correct?
       2       Q Well, the authors actually note in their        2       A Correct.
       3   paper that they had limitations on what they could    3       Q You note that the studies included nine
       4   do in terms of calculating dose-response, over on     4   studies, correct?
       5   page 1958, correct?                                   5       A Correct.
       6       A Do you want to point me to --                   6       Q But nowhere in your report do you list
       7       Q Yeah, in the third -- the paragraph in          7   what those nine studies were, correct?
       8   the middle, they say -- after saying, "These data     8       A I don't know if that's true, but I do
       9   suggest an inverse relationship between talc          9   believe I reference Table 2, which is where the
      10   exposure and ovarian cancer risk. Unfortunately,     10   nine studies are. Table 2 in the 2003 Huncharek
      11   only limited data were available." Do you see        11   paper.
      12   that section?                                        12       Q So the nine studies you're making
      13       A Yes.                                           13   reference to in that part of your report refers to
      14       Q So they describe the limitations that          14   Table 2 in the 2003 study.
      15   they had in terms of analyzing dose-response,        15       A Yes, I believe so, and that's what's in
      16   correct?                                             16   the methods summary below.
      17           MR. TISI: Objection.                         17       Q As to your calculations, again, you're
      18           THE WITNESS: They do discuss some            18   reporting here what was done in the 2003 paper
      19   limitations of -- of the analysis. That doesn't      19   we've been looking at, correct?
      20   necessarily mean they address all of the issues      20       A Well, what I'm reporting here is my
      21   that I brought up.                                   21   attempt to replicate the two summary risk
      22   BY MR. HEGARTY:                                      22   estimates that are reported for the,
      23       Q Well, it's not improper to include             23   quote/unquote, lowest exposure cat- -- reported
      24   limitations in terms of what's available for an      24   exposure category and the highest exposure
      25   analysis in an article, correct?                     25   category in the 2003 paper.


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       1            MR. TISI: Objection.                         1          Again, because we don't -- we have lots
       2            THE WITNESS: No, I -- it's not               2   of questions about what actually was done, we have
       3   improper. I mean, I think it's -- it's something      3   a lack of description of the methods, and we don't
       4   that's expected to discuss limitations, but I         4   have the reporting out of the results, as we
       5   think now we're shifting from one thing, which is     5   discussed previously. So there's a question as to
       6   the validity of the analysis, to what the authors     6   what was actually done and how they actually
       7   discuss in their Discussion section.                  7   arrived at those particular sum- -- summary risk
       8   BY MR. HEGARTY:                                       8   estimates.
       9        Q Well, did you do an independent analysis       9          So what I'm doing here is trying to
      10   of the dose-response data available as of 2003 to    10   figure that out, given all of those gaps, and
      11   determine whether it did suggest an inverse          11   trying to take what they said they did, the
      12   dose-response?                                       12   references they cited, and a standard generally
      13        A Well, what I did, which is in my report,      13   accepted approach to meta-analysis to see if we
      14   is try to replicate their dose-response analysis.    14   can arrive at the same answers.
      15   I did not do necessarily a broader evaluation of     15       Q Well, the first column, you report on
      16   the entire evidence base with regard to              16   the Huncharek and Muscat method, correct?
      17   dose-response. That was not -- that was not my       17       A Correct.
      18   charge.                                              18       Q Again, Dr. Muscat was not an author on
      19        Q Well, if we turn over to page 20 of your      19   the 2003 paper, correct?
      20   report, where you do what you say you just did of    20          MR. TISI: Objection. Asked and
      21   trying to replicate what the authors did, you        21   answered.
      22   report that -- the data that you generated in        22          THE WITNESS: I think we -- I think we
      23   Table 2, correct?                                    23   talked about that, you know, my -- excuse me, my
      24        A Correct.                                      24   reference to him in terms of his involvement and
      25        Q One of the categories that you use is a       25   the fact that this dose-response data actually


                                                                           21 (Pages 287 to 290)
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       1   derives from a much earlier report.                   1        Q Correct.
       2   BY MR. HEGARTY:                                       2        A Okay. And I'm looking.
       3       Q Well, can you cite for me any authority         3           I would say that appears to be correct
       4   to say that Dr. Muscat was in any way involved in     4   with -- you know, with the context of, first of
       5   the publication of the 2003 meta-analysis?            5   all, none of these match exactly to what's
       6       A Again, I think -- I think I answered            6   reported in the paper. And, two, it should be
       7   that. I'm -- I'm referring back to the original       7   noted that there's significant overlap of the
       8   proposal, preliminary data reports, and possibly      8   confidence intervals across this table, which is
       9   his -- his deposition, with the caveat that I         9   an important methodologic -- or result, I should
      10   obviously don't remember every word of his           10   say, in terms of how you interpret these findings.
      11   deposition.                                          11        Q But the adjusted numbers you're
      12       Q Okay. The authors in the 2003 paper did        12   reporting show an inverted dose-response, correct?
      13   identify the methods they used to do the             13           MR. TISI: Objection.
      14   meta-analysis, correct, in the methods -- in the     14           THE WITNESS: I would not characterize
      15   materials and methods section, correct?              15   it that way. I would not characterize it -- I
      16           MR. TISI: Dose-response or the overall,      16   certainly would not put this data forward as
      17   Counsel?                                             17   strong evidence of an inverse dose-response. That
      18           MR. HEGARTY: I'm referring to this           18   is not something I would do.
      19   table.                                               19   BY MR. HEGARTY:
      20           MR. TISI: Okay.                              20        Q You do agree, though, that the higher --
      21   BY MR. HEGARTY:                                      21   the lowest exposures in all cases had a higher
      22       Q In the materials section, they described       22   point estimate than the higher exposures for the
      23   the methods they used as a general, variance-based   23   adjusted numbers, correct?
      24   method employing confidence intervals, correct?      24           MR. TISI: Objection.
      25       A Correct. So they -- they do two things.        25           THE WITNESS: Again, and -- so that --

                                                 Page 292                                                 Page 294
       1   They say the data analysis was performed according    1   that is correct, you are reading the table
       2   to Greenland, and they cite Greenland, and then       2   correctly.
       3   they also list a series of equations there. And       3           But again, to go back, I think we need
       4   so there is some discrepancy between the equations    4   to just revisit the premise of there's incorrect
       5   listed here and what is in Greenland.                 5   data here. I don't agree with the premise of the
       6           And so, again, not knowing what exactly       6   -- the methodologic choice of the authors related
       7   was done, we ran it -- you know, I ran it both        7   to the dose-response analysis. So taking the
       8   with the formulas as reported and then with the       8   authors' data in Table 2 at face value, we are
       9   formulas from Greenland.                              9   unable to replicate the numbers in their study.
      10        Q As for -- excuse me -- as for your            10           But, you know, to bring it back to
      11   calculations, which are the Greenland method and     11   answer your question, yes, you are -- you are
      12   the fixed -- actually, you did all three, correct?   12   reading that correctly.
      13        A Correct.                                      13   BY MR. HEGARTY:
      14        Q As to all three calculations that you         14        Q But you're replicating their commentary
      15   did by every method, the odds ratio for the          15   that the data suggests an inverse dose-response,
      16   adjusted lowest category of dose is higher than      16   correct?
      17   the odds ratio for the highest category of dose,     17           MR. TISI: Objection.
      18   correct?                                             18           THE WITNESS: Again, I would not
      19        A I'm sorry. Let me read that back.             19   interpret this data in that way. There's
      20   (Reading monitor.)                                   20   significant overlap of the confidence intervals.
      21           Okay. So if I'm understanding you            21   This in no way -- and again, this is based on
      22   correctly, you're asking if the reported point       22   incorrect data and in a -- in a flawed analysis.
      23   estimates are higher for -- across the board for     23   So just stopping at those first two points, I
      24   the adjusted lowest exposure category compared to    24   would never do this analysis. This is not an
      25   the highest exposure category.                       25   analysis I would do. And so I can't validate it.


                                                                           22 (Pages 291 to 294)
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       1   I wouldn't put it forward in that way.                1        A Well, that's a very -- that's a
       2           But just taking the fact that they did        2   different question. That's a very broad question.
       3   do that and there are errors in the data, that        3   I mean, it depends on -- you know, I wasn't
       4   even with these results, I would not put this         4   designing this analysis. That's very different.
       5   forward as strong evidence of -- of an inverse        5   If I'm going to design an analysis, I'm going to
       6   dose-response. I would not use this to support        6   go through the process of evaluating confounding
       7   that point.                                           7   and deciding whether unadjusted or adjusted
       8   BY MR. HEGARTY:                                       8   numbers are the right way to go.
       9        Q Doctor, if you look over on page 19 of         9           This was done in response to
      10   your report, in the last paragraph marked 3, you     10   Dr. Muscat's deposition in which he alluded to the
      11   actually say that the data you ran suggests a        11   fact that unadjusted numbers may have been used in
      12   positive dose-response. So you're taking your        12   the meta-analysis. So just to cover all possible
      13   data and saying it suggests a positive               13   permutations, that's why unadjusted values are
      14   dose-response, correct?                              14   included here.
      15        A I'm not -- no. I -- I make a                  15        Q Well, you say in that paragraph that
      16   distinction here. I'm simply reporting on the        16   with the adjusted data for the number of talc
      17   finding, just as I just conceded to you that in      17   applications per month actually showing a data --
      18   fact that's what the data says.                      18   showing data suggesting a positive dose-response.
      19           What I'm saying is in fact when you run      19           What adjusted data from the number of
      20   it with -- with standard generally accepted          20   application -- talc applications per month --
      21   statistical packages, you actually see a different   21           MR. TISI: Show her where she says --
      22   trend. That's very different than putting this       22   BY MR. HEGARTY:
      23   data forward and advocating it in -- in support of   23        Q -- suggest a positive dose-response?
      24   a very important, you know, aspect regarding a       24           MR. TISI: Where is -- where are you
      25   causal -- a causal question.
                                                                25   referring to, Counsel?


                                                 Page 296                                                  Page 298
       1           So I will agree with you that I'm making      1           MR. HEGARTY: If you follow along, I was
       2   that observation that in certain cases it does        2   at the page -- bottom of page 9.
       3   flip, the trend flips, and that's an interesting      3           MR. TISI: Well, she is looking for it
       4   finding. But I'm not putting -- I'm not now           4   too. Bottom of page -- you're not going to tell
       5   taking this result and disseminating it to FDA or     5   me?
       6   to the -- to the medical and scientific community     6           MR. HEGARTY: 19.
       7   and saying, Look, this is proof of a positive         7           MR. TISI: Thank you.
       8   dose-response. That's an important distinction.       8           THE WITNESS: Oh, I see what you're
       9        Q Well, what data points suggest a               9   saying. I see what you're saying. I think that
      10   positive dose-response?                              10   should say unadjusted.
      11        A Again, there are certain instances where      11   BY MR. HEGARTY:
      12   the point estimates increase. Just as you            12       Q So that's another mistake in your
      13   indicated there are situations where they            13   report?
      14   decrease, there are scenarios in this table where    14       A I'm just checking. (Peruses document.)
      15   the point estimate increases from the lowest to      15           I think that's correct, I think it
      16   the highest exposure at that point.                  16   should say "unadjusted."
      17        Q Just tell me which point estimates            17       Q Okay. Over on page 21 of your report,
      18   suggest a positive dose-response.                    18   in the third paragraph beginning "In his
      19        A The unadjusted applications per month.        19   deposition" -- do you see where I'm reading?
      20   Again, with the caveat of the description that       20       A Yes.
      21   I've just provided.                                  21       Q You again note that: "The results for
      22        Q So it's your testimony that it's proper       22   frequency per month" -- this is at the end of the
      23   to look at unadjusted numbers rather than adjusted   23   paragraph -- "measure change appreciably,
      24   numbers to say that there's a suggestion of a        24   including demonstrating increasing risk with
      25   dose-response?                                       25   increasing exposure for the analysis using talc


                                                                            23 (Pages 295 to 298)
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       1   applications per month."                              1   Is there a risk of bias due to residual
       2           So is it your testimony that the numbers      2   confounding? So that has to be -- that's a
       3   you generated demonstrate increasing risk with        3   methodologic decision that involves, you know,
       4   increasing exposure for talc applications per         4   expert analysis, expert judgment, and in some
       5   month?                                                5   cases confounding is not a concern, and therefore
       6        A I think I just -- I think I just               6   the unadjusted may in fact be the appropriate
       7   answered that before. Again, juxtaposing to           7   number to use.
       8   the -- the data -- first of all, the data that        8        Q Is that the appropriate number to use
       9   they report in their -- in their study, which, by     9   here?
      10   the way, is again not resemble indicated here.       10           MR. TISI: Objection.
      11   I'm simply making the observation that there is a    11           THE WITNESS: Again, that wasn't my
      12   reversing of that trend. And, you know, it's an      12   charge or my process. So I'm -- I -- I can't
      13   interesting finding that using standard accepted     13   answer that. I told you why I was including that,
      14   statistical packages for meta-analysis, which one    14   and that's all I can say about it.
      15   must wonder why they weren't used in the first       15   BY MR. HEGARTY:
      16   place, that that does result in a different trend    16        Q Did you do a trend analysis to try to
      17   in terms of dose-response. So if someone was         17   show dose-response?
      18   going to take these data and use them in that way,   18        A No. Again, I was simply trying to
      19   that that trend is in fact reversed.                 19   replicate. I was not doing an independent
      20        Q The adjusted numbers don't show that, do      20   dose-response analysis.
      21   they?                                                21        Q When you're doing a fixed effects
      22        A I think we just -- I think we just            22   analysis, is it proper to combine relative risk
      23   covered that. I believe it's the unadjusted, yes.    23   with odd ratio -- odds ratios?
      24        Q So are you saying it's proper in a paper      24        A Sure. I mean, there are certain times
      25   to choose an unadjusted number to say it             25   where that would -- that would be appropriate. I


                                                 Page 300                                                 Page 302
       1   demonstrates increasing risk with dose versus the     1   mean, when the outcome is rare, the odds ratio
       2   adjusted number which doesn't?                        2   approximates the relative risk.
       3       A Again, I think you're asking me an              3        Q How about if the outcome is not rare.
       4   abstract question. I explained why I included         4   Is it proper to combine relative risk numbers with
       5   unadjusted here in this analysis. If I was going      5   odds ratio numbers in doing a fixed effect
       6   to go about doing an analysis that I was going to     6   analysis?
       7   put forward and -- and advocate for or publish, I     7        A I think I'd have to review the question
       8   would go through that process of deciding.            8   and review the studies, and -- and make that
       9          That was not my charge here. That was          9   judgment.
      10   not the process, and I've only -- you know, I've     10        Q Over on page 21 under -- before Part 3,
      11   included unadjusted, as I said, because Dr. Muscat   11   do you see the paragraph before -- before Part 3?
      12   offered that perhaps that -- that describes or       12        A Yes.
      13   explains some of the discrepancies that we were      13        Q You make reference again to this data
      14   seeing.                                              14   was asserted to the FDA in 2009. Do you see where
      15       Q Well, in an article of yours, have             15   I'm reading?
      16   you -- when you've had both an adjusted and an       16        A Yes.
      17   unadjusted number, have you ever gone with the       17        Q The FDA did not report in their 2014
      18   unadjusted number versus the adjusted number?        18   denial letter that there was an inverse
      19       A Sure. Yes.                                     19   dose-response, did they?
      20       Q So you -- it's proper methodology when         20        A I don't recall exactly what they -- what
      21   you have an adjusted number and an unadjusted        21   they say.
      22   number to go with the unadjusted number?             22           MR. TISI: Here you go. Don't worry
      23       A Well, it's a contextual question that          23   about that.
      24   involves that research question and that data. I     24           THE WITNESS: Okay.
      25   mean, it's a question of is confounding an issue.    25   BY MR. HEGARTY:


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       1       Q Do you have Exhibit 12 there?                   1   the plausible role of uncontrolled confounding in
       2          MR. TISI: Oh, this is --                       2   their analysis or the larger evidence base."
       3          MR. HEGARTY: Did you find it?                  3   Correct?
       4          MR. TISI: I'm looking for it.                  4       A Correct. You read that correctly.
       5          MR. HEGARTY: It wouldn't be the last           5       Q But if you look at pages 956 -- I'm
       6   exhibit.                                              6   sorry, 958 and 959 of the study, the 2003 study --
       7          MR. TISI: Yeah, it wasn't. That's why          7       A 958 -- 1958.
       8   I'm looking for it.                                   8       Q At the very bottom of 958, carrying over
       9          THE WITNESS: Can I just take a quick           9   to 959, there they are analyzing whether weight,
      10   break after -- after this question?                  10   body mass index is a potential confounding factor,
      11          MR. HEGARTY: Well, let's take a quick         11   correct?
      12   break now so you can -- let's go off the record.     12       A So, I'm sorry, just let me take a moment
      13          THE WITNESS: Okay. Thanks.                    13   to look at this. (Peruses document.)
      14          THE VIDEOGRAPHER: The time is 11:36           14            So I think -- I think that this
      15   a.m. We're going off the record.                     15   definitely is a very general discussion of some of
      16          (Recess.)                                     16   the -- you know, they say a number of factors are
      17          THE VIDEOGRAPHER: The time is 11:40           17   known to influence ovarian cancer risk either
      18   a.m., and we're back on the record.                  18   positively or negatively.
      19   BY MR. HEGARTY:                                      19            I'm just looking to see if this is part
      20       Q Doctor, when we left off, I was going to       20   of the discussion section, but -- no, it looks
      21   ask you about the -- the 2014 letter, but I want     21   like it's part of -- part of the results.
      22   to move on, so I'm not going to ask you questions    22            But that is not to me a substantive
      23   about that.                                          23   discussion of -- or a substantive dealing of
      24       A Okay.                                          24   confounding as it relates to, you know, this
      25       Q I want to next move to page 22 of your         25   particular research question.

                                                Page 304                                                   Page 306
       1   report, the section entitled "Unsupported Claims      1         Q But they do -- and they are assessing
       2   of Bias from Uncontrolled Confounding."               2   there whether there's an effect of confounding on
       3           Do you see that page?                         3   their result -- correct? -- in particular, on --
       4        A Page 22. Yes.                                  4   with regard to weight and body mass index,
       5        Q The first italicized paragraph says:           5   correct?
       6   "Uncontrolled confounding may result in a spurious    6         A If you want me to read this section,
       7   positive association between talc and ovarian         7   I'll read it.
       8   cancer."                                              8         Q Well, I guess the -- you make the next
       9           That's a true statement, correct?             9   statement in your report that says: "Based upon
      10        A It depends if you're asking me like           10   their description of their methods, it appears
      11   hypothetically or if you're asking me                11   they do not evaluate and/or discuss what the
      12   specifically.                                        12   important confounders are to the talc ovarian
      13        Q Just as a general proposition.                13   cancer research question."
      14        A I would say, as a general proposition,        14            But in the part of the study I'm
      15   uncontrolled confounding is a risk of bias to any    15   referring to, they do talk about weight, body mass
      16   epidemiologic study.                                 16   index as a confounder, correct?
      17           With regard to the talc and ovarian          17         A Well, again, I'm going to make a
      18   literature, I wasn't tasked with doing that          18   distinction between -- you know, with the caveat
      19   analysis, so I really can't offer an opinion as to   19   that I haven't read this -- this section and all
      20   whether I think uncontrolled confounding is an       20   the context around it, yeah.
      21   issue.                                               21            But what I can say is when you're doing
      22        Q Fair enough.                                  22   a meta-analysis or when you're doing an epi study,
      23           At the bottom of page 22, you make           23   the consideration of confounding really happens up
      24   reference to the study and say: "The authors         24   front. And the point that I'm making here is
      25   provided no substantive evidence or discussion of    25   there's no consideration of -- in a detailed way


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                                  April Zambelli-Weiner, Ph.D.
                                                Page 311                                                  Page 313
       1       Q When you say "empirical evidence," what         1   without providing data?
       2   do you mean?                                          2       A Well, what I can say to you as -- as a
       3       A Oh, I'm sorry, I just coughed over your         3   peer reviewer, as someone who's been on both sides
       4   question.                                             4   of the peer review process, it is -- it's
       5       Q When you say "empirical evidence," what         5   certainly not improper to hypothesize. Again, it
       6   do you mean?                                          6   depends on how it's couched.
       7       A So empirical data, data from other              7           But what I will say is, as a general
       8   studies, data from their own sensitivity analyses,    8   rule, the conclusions must be supported with data.
       9   demonstrating that, you know, there either is or      9   So it's one thing to say something may cause
      10   is not concern for a residual confounding.           10   something or something may explain something or
      11       Q So as a general proposition, is it your        11   this is a limitation that we weren't able to
      12   testimony that if a meta-analysis fails to include   12   explore fully. You know, it depends on how that's
      13   empirical data with regard to uncontrolled           13   being presented.
      14   confounding, the paper is invalid and unreliable?    14           But I think that I can say, again having
      15           MR. TISI: Objection.                         15   been on both sides of that process, that if you're
      16           THE WITNESS: No. I'm not going to            16   going to come out strong on a position about
      17   agree to that in the abstract. I think again you     17   confounding, if you're going to say, This is
      18   can't take this analysis out of context, and the     18   explained by uncontrolled confounding, or we are
      19   fact that the authors repeatedly assert to the       19   confident that uncontrolled confounding is not a
      20   FDA, to the medical and scientific community, that   20   strong risk of bias, you're going to be asked to
      21   uncontrolled confounding may explain this positive   21   back that up with real data.
      22   association. I mean, it literally becomes a          22       Q And what kind of real data would you
      23   mantra that almost takes on the feeling of -- of     23   need to back that up?
      24   fact, so this is repeatedly asserted.                24       A I think, as I said, data from other
      25           And the point that I'm making is -- and      25   studies, or the authors could do their own

                                                Page 312                                                  Page 314
       1   we're still talking about the 2003 paper, as far      1   sensitivity analyses around -- around that
       2   as from my understanding, is this mantra is           2   particular issue.
       3   repeated throughout the paper without any actual      3       Q If you look at the next section at the
       4   data to support that notion.                          4   bottom of page 23, "Unsubstantiated Claims of
       5   BY MR. HEGARTY:                                       5   Selection Bias." Do you see that section?
       6        Q So with regard to authors presenting           6       A Yes.
       7   hypothesis, you would fault any author of a report    7       Q You make reference there to Section
       8   if they set forth a hypothesis that didn't -- that    8   860.7. Correct?
       9   wasn't supported by data, correct?                    9       A Yes, that's correct.
      10            MR. TISI: Objection.                        10       Q That section applies only to approval of
      11            THE WITNESS: Not necessarily. It            11   Class III medical devices, correct?
      12   depends how it's couched. It depends how it's        12       A Yes. That -- that is a section out of
      13   presented. Again, that's why I said you can't        13   the Medical Device Code, and I think I was simply
      14   really take this out of the context of -- of this    14   using that as an example of -- of guidance that's
      15   analysis of why this is so important.                15   out there for the scientific and regulatory
      16            And, you know, I can't recall their         16   community. And I think that above that, I also
      17   specific comments off the top of my head. I'm        17   cite some other -- other examples for the point
      18   sure we could find them in their various --          18   I'm trying to make, which is the conclusions need
      19   various papers, but they're very definitive, very    19   to be substantiated with data -- by the data or
      20   assertive about this as an explanation for the --    20   with data. And I think that's the point I just
      21   the positive association that's observed.            21   made --
      22   BY MR. HEGARTY:                                      22       Q Well, can you cite --
      23        Q Can you cite for me any authority that        23       A -- previously.
      24   says it's improper for authors in an article like    24       Q I'm sorry.
      25   this to hypothesize the reasons of the results       25           Can you cite for me any text or


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                                   April Zambelli-Weiner, Ph.D.
                                                 Page 315                                                Page 317
       1   authority by any author that says the section you     1        A I'm just -- I'm rereading your question.
       2   quoted there applies to epidemiologic studies like    2            I think this is the section -- let me
       3   the 2003 study by Huncharek?                          3   just look at it quickly.
       4        A Again, I don't know that -- that's kind        4            Right. Right. So this is -- this is I
       5   of a strange question to me, but I think I just       5   think the section where I'm talking about the
       6   explained why I -- why I cited that there.            6   imbalanced discussion around -- around this
       7        Q Well, that section doesn't apply to            7   particular issue.
       8   cosmetics, correct?                                   8        Q Well, are you aware of the possibility
       9        A Well, again, it's a general principle,         9   of vaginal irritation and discharge post-ovarian
      10   which I've supported with other cites. So it was     10   cancer surgery and treatment?
      11   just another example.                                11        A I would say generally, yes.
      12        Q Can you cite for me any epidemiologic         12        Q And both of those conditions could
      13   text or other authority that says anything similar   13   prompt talc use, correct?
      14   to this as related to epidemiologic studies?         14        A Both of what conditions?
      15        A It's entirely possible. I can't quote,        15        Q Vaginal irritation and vaginal
      16   you know, textbooks as I sit here right -- right     16   discharge.
      17   at this moment.                                      17        A I'm sorry. What was your question
      18        Q If you stay on page 24, at the very top,      18   again?
      19   you criticize the 2003 paper for proposing an        19        Q Both of those conditions, vaginal
      20   explanation for the spurious association between     20   irritation and vaginal discharge, could prompt
      21   talc use and ovarian cancer, saying that the         21   talc use, correct?
      22   authors provided no substantive evidence or          22            MR. TISI: Objection.
      23   discussion to support this supposition.              23            THE WITNESS: Sure. I mean, so could a
      24           Do you see where I'm reading?                24   lot of other conditions as well.
      25        A I do. One second, please.                     25   BY MR. HEGARTY:


                                                 Page 316                                                Page 318
       1           One second.                                   1        Q Well, you're aware that Dr. Huncharek is
       2       Q Do you see where I'm reading?                   2   a radiation oncologist, correct?
       3       A So you're at the top of page 24?                3        A I think you -- I think you mentioned
       4       Q Yes.                                            4   that before. I'm not aware of his -- you know,
       5       A Yes.                                            5   his specific background.
       6       Q You later say that Huncharek went on to         6        Q So is there anything wrong with someone
       7   admit in the 2009 response that there was no basis    7   with direct personal knowledge of a condition
       8   for such an effect in the literature, correct?        8   post-treatment with making references to that
       9       A Yes, I believe that's -- that's correct.        9   knowledge in an article like this?
      10       Q So were they correct -- was Huncharek          10        A I don't think that's the issue that I'm
      11   correct in the 2009 response to FDA?                 11   making at all. I think the issue that I'm making
      12       A I -- I didn't evaluate the -- you know,        12   is, you know, they raise this as a -- as a
      13   his -- his statement later. So I think the point     13   possibility. Nothing wrong with raising that as a
      14   that I'm making is -- again, we're in the 2003       14   possibility as a hypothesis. The point is they
      15   paper, so within that context, they're offering up   15   don't substantiate it with any data.
      16   this bias as an explanation for the positive         16           They further then don't go on to discuss
      17   association, and within the context of that paper,   17   the flip side of this issue, which is that the
      18   they don't provide any data to really support        18   hospital-based case-control studies, which, by the
      19   that.                                                19   way, are historically known to be at higher risk
      20       Q In the paragraph beginning "The authors        20   of bias than population-based case-control
      21   also single out" -- do you see that paragraph?       21   studies, may also be at risk of treatment bias
      22       A Yes.                                           22   because of the nature of the controls in those
      23       Q You refer to the authors omitting              23   studies.
      24   discussion about the treatment effect in the         24           And when we're talking about
      25   hospital-based case-control studies, correct?        25   misrepresentations, you know, in the studies, in


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                                  April Zambelli-Weiner, Ph.D.
                                                Page 319                                                   Page 321
       1   the two -- in the 2003 paper, the authors, if I'm     1   publication, then their analysis is invalid and
       2   recalling correctly, make an assertion that the       2   unreliable?
       3   rate of exposure in the control groups is actually    3            MR. TISI: Objection.
       4   comparable between the population and                 4            THE WITNESS: No, that's -- that's not
       5   hospital-based case-control studies. And my           5   what I'm saying. I wouldn't characterize it that
       6   inspection of those -- of some of those studies is    6   way.
       7   that that is not in fact true. So in fact, there      7            I think, you know, what I'm saying again
       8   is a possibility that the hospital-based              8   is that if you are going to put forward this --
       9   case-control studies may be at higher risk of bias    9   this concept or this idea that this type of bias
      10   due to this issue than the population-based          10   is at play and can explain the observed positive
      11   case-control studies.                                11   associations, that that requires support and that
      12           So what I'm detailing in this paragraph      12   requires a fulsome discussion. I mean, it's well
      13   is their imbalanced discussion of this issue,        13   known in the field of epidemiology that
      14   which really drives at the results and the           14   hospital-based case-control studies are at a
      15   interpretation of the population- versus             15   higher risk of bias.
      16   hospital-based case-control studies.                 16            And by the way, going back to my
      17        Q Well, you say in this paragraph that the      17   previous question whether that can be
      18   controls with gastrointestinal cancers and skin      18   substantiated or not, what I wrote there, the data
      19   cancer, as well as other diseases -- you cite        19   are the data, and the data in some of the studies
      20   hemorrhoids, urinary disease, skin disease --        20   actually show that the control groups do have a
      21   could prompt short-term talc use.                    21   higher prevalence of talc exposure, the
      22           You cite no substantiation for those         22   hospital-based case-control studies, than some of
      23   statements, do you?                                  23   the population-based case-control studies. So the
      24        A Correct. Here, I believe that's               24   data actually bear out regardless of whether that
      25   correct. But, again, I'm not proffering this out     25   particular statement can be substantiated.


                                                Page 320                                                   Page 322
       1   as an example of this -- this explains the            1   BY MR. HEGARTY:
       2   positive association. I'm not putting this            2       Q Cite for me any -- cite for me the
       3   forward to the FDA and to the medical and             3   authority that says that hospital-based
       4   scientific community and saying, You know, this is    4   case-control studies are at higher risk of bias.
       5   proof that this positive association is noncausal.    5       A Epi -- any epi textbook.
       6           I'm simply raising here the issue, the        6       Q Cite for me an epi textbook.
       7   methodologic issue that the authors have failed to    7       A Rothman.
       8   have an imbalance -- or a balanced, excuse me,        8       Q Okay. You said a moment ago that if you
       9   discussion of this particular issue.                  9   are going to put forward this concept or this idea
      10        Q Well, can you substantiate in any way by      10   that this type of bias is at play, it can explain
      11   citing to any authority that any of the conditions   11   the observed positive associations that that
      12   you cite would prompt talc use?                      12   requires support.
      13        A I -- I don't know. It might -- might be       13           The same would be true in any
      14   possible.                                            14   publications or report where you're putting forth
      15        Q You say in the last paragraph before the      15   any kind of concept, whether it's bias or anything
      16   Conclusion section that -- again, the section        16   else from the epidemiologic studies, you have to
      17   we're talking about that you're -- and you just      17   in that situation require support for what you're
      18   mentioned it before, that the authors failed to      18   saying, correct?
      19   present a balance -- or I think you said the         19           MR. TISI: Objection.
      20   authors present an imbalanced discussion of the      20           THE WITNESS: Again, I'm going to go
      21   potential impact with regard to hospital- versus     21   back to what I -- what I said previously and try
      22   population-based studies, correct?                   22   to repeat it accurately. It really depends on the
      23        A Correct.                                      23   context of which -- of what you're saying and how
      24        Q And what you're saying is that if an          24   you're saying it.
      25   author doesn't give equal time to both sides in a    25           So, I mean, certainly in a peer-reviewed


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                                  April Zambelli-Weiner, Ph.D.
                                                Page 323                                                  Page 325
       1   publication, as I said before, it's kind of prime     1           (Exhibit No. 18 was marked for
       2   real estate. You can't address every possible         2           identification.)
       3   thing under the sun. And so it depends on how         3   BY MR. HEGARTY:
       4   it's being proffered. It's one thing to say, You      4      Q If you turn over to page 26 in your
       5   know what, this is a limitation of our study. We      5   report, Table 3, please.
       6   were unable to address this, or, you know, this is    6      A Yes.
       7   a strength of our study. Certainly those kinds of     7           MR. TISI: You're -- the copy you're
       8   qualitative discussions exist, and you can't          8   marking has handwritten notes on it. Is this --
       9   possibly provide data to support all of those.        9           MR. HEGARTY: Let me see it. Did I give
      10            But this is a very different situation.     10   you one that -- it might have been one of mine.
      11   These are two concepts that are being repeatedly     11   Oh, it's on the -- I'll take it back.
      12   offered up over the period of a decade to a          12           MR. TISI: It's on this one too.
      13   regulatory agency, to the medical and scientific     13           MR. HEGARTY: Oh, it's handwritten
      14   community, as the reason -- some of the prime        14   notes?
      15   reasons why this is not a causal association.        15           MR. TISI: It just says -- I mean, I
      16   That's a very different situation.                   16   haven't gone through the paper, but right here
      17   BY MR. HEGARTY:                                      17   where the --
      18        Q What -- strike that.                          18           MR. HEGARTY: Oh, okay. Fine.
      19            Is it your contention that -- strike        19           MR. TISI: No, I just don't know if that
      20   that.                                                20   was intentional or not.
      21            Is it improper in any analysis, whether     21   BY MR. HEGARTY:
      22   it's published or in a report, to include an         22      Q So we're focusing on your Table III on
      23   imbalanced discussion of a particular issue?         23   page 26.
      24            MR. TISI: Objection. Beyond the scope.      24      A Okay.
      25            THE WITNESS: Can you repeat that,
                                                                25      Q You claim that the -- strike that.

                                                Page 324                                                  Page 326
       1   please?                                               1           How did the misreference to Richardson
       2   BY MR. HEGARTY:                                       2   affect the substantive results of this paper?
       3       Q Sure. Is it improper in any analysis,           3        A I'm just rereviewing for a moment.
       4   whether it's published or in a report, to include     4   (Peruses document.)
       5   an imbalanced discussion of a particular issue,       5           I think this is the -- you know, again,
       6   only focusing on literature going a certain way       6   the same answer for -- for this table as it was
       7   and not talking about literature going the other      7   for Table I in my report. Which would be, you
       8   way?                                                  8   know, anything that drives at the -- you know, a
       9           MR. TISI: Objection.                          9   clear articulation of the methods and a clear
      10           THE WITNESS: Well, I -- again, that's a      10   understanding of what was done and the results, to
      11   very broad question. So I think it would depend      11   me is a substantive error. Again, with the caveat
      12   upon the nature of -- of the report, of the paper,   12   that these all exist on a backdrop of -- of other
      13   of the question, of the particular issue. You        13   errors. You know, you can't really take a single
      14   just can't kind of answer that in a vacuum.          14   error in isolation. It's -- it's a review of the
      15   That -- that's very difficult.                       15   totality of the paper.
      16   BY MR. HEGARTY:                                      16        Q Your next point in the table refers to
      17       Q If you turn over to Section 6.2 of your        17   the difference between the text -- what the text
      18   report, this section starts discussing the 2007      18   is reporting and what the table shows, correct?
      19   diaphragm paper, correct?                            19        A Right. Correct. So -- I just want to
      20       A Correct.                                       20   pull up the paper -- or the table real fast just
      21       Q Do you have a copy of that in front of         21   to make -- make the comment clear.
      22   you?                                                 22           So this is a little bit of a compound
      23       A Yes, I do.                                     23   issue. So, I mean, in the text they cite an odds
      24       Q And for purposes of the record, I'm            24   ratio of 0.6 for Booth. The first issue is that
      25   going to mark that paper as Exhibit 18.              25   0.6 is associated with a different study, Ness.


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                                   April Zambelli-Weiner, Ph.D.
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       1           But the second issue, which may be in         1   definition of -- of a "substantive error."
       2   another row, but I -- I don't recall, is that then    2       Q The next reference includes reporting --
       3   in Table I, the adjusted odds ratio for Booth that    3   or strike that.
       4   is reported, which is 0.75, actually does not         4           The next reference refers to the
       5   exist in Booth. So that --                            5   inclusion of Booth in the paper. Do you see where
       6        Q Well -- okay. Are you finished?                6   I'm reading?
       7        A Sure.                                          7       A Are you in the third one down?
       8        Q Well, your -- you say in your report           8       Q The third one down.
       9   that in Table I, the lowest adjusted OR is 0.6,       9       A Yes.
      10   correct? That's what you say in your report.         10       Q Is it your -- your statement in your
      11        A Correct. Right.                               11   report is that Booth should have never been
      12        Q That's not right, is it? The lowest           12   included in the analysis, correct?
      13   adjusted risk is from Harlow and Weiss, and that's   13           MR. TISI: Objection.
      14   0.5, correct?                                        14           THE WITNESS: I think that's one of the
      15        A That's correct. So I guess -- I guess I       15   comments that I'm making, and I think that we
      16   was referencing their statement, but their           16   could talk about that, because that's obviously
      17   statement is also incorrect in that aspect as        17   something that the authors bring up as well and
      18   well. So, yes.                                       18   do -- do an analysis dropping -- dropping Booth.
      19        Q Well, actually, in your report, you're        19           But I think the other point which is
      20   saying -- you drew out the number and said the       20   perhaps, you know, equally important is that this
      21   lowest number was 0.6, didn't you?                   21   particular adjusted odds ratio is not, you know,
      22        A Again, referencing their range, so, you       22   what is in the original study. This is not
      23   know, in theory, they're both -- they're both        23   reported in the original study.
      24   incorrect, yes.                                      24   BY MR. HEGARTY:
      25        Q But your report is not correct, right?        25       Q Did you do the analysis excluding Booth?

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       1         MR. TISI: Objection.                            1       A No, I don't believe I did.
       2         THE WITNESS: I think I just answered            2       Q Well, what would have been the effect of
       3   that.                                                 3   the results if Booth had not been included?
       4   BY MR. HEGARTY:                                       4       A Again, you know, same answer as -- as
       5        Q Well, is the -- is the lowest adjusted         5   we've been doing all morning. I didn't do that,
       6   OR, as you report in your report, 0.6?                6   it wasn't my charge, and really we shouldn't be in
       7          MR. TISI: Objection.                           7   a position to have to -- to wonder and ask that
       8          THE WITNESS: No, I agree with you that         8   question.
       9   the lowest adjusted OR is 0.5, and just explained     9       Q Well, you're the one, Doctor, who
      10   that, you know, I was referencing their comment on   10   claim -- has been claiming that this had an
      11   the range of -- of odds ratios, which is also        11   improper -- or that this influenced regulators and
      12   incorrect.                                           12   other authorities in an improper way.
      13   BY MR. HEGARTY:                                      13           What would the numbers have been if they
      14        Q If you turn over to the next page,            14   had done the proper way?
      15   page 27, the second cell down, how is the -- the     15       A It's -- it's not my job. I mean, that's
      16   reversing of the descriptions of the Hartge and      16   not -- that's a whole project unto itself. I
      17   Ness studies a substantive error in this paper?      17   mean, you would have to strip it back and go all
      18        A Again, I'm sort of standing by my -- my       18   the way back to the beginning, and that just
      19   statements I've been giving you all morning, which   19   wasn't what I was tasked with doing. I mean, I
      20   is, you know, an accurate description of the         20   think the issue is -- is exactly what these papers
      21   methods is -- is paramount to a meta-analysis.       21   are and how they were -- how they were put
      22   And I think for someone who's, you know, not         22   forward, as you just said.
      23   familiar with the literature, someone may apprise    23       Q The next reference again to Harlow and
      24   these types of studies differently. And I -- it      24   Weiss, did you run the analysis excluding Harlow
      25   is a substantive error as it relates to my           25   and Weiss?


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       1           MR. TISI: Well, the next reference is         1   to that.
       2   Harlow and the next --                                2   BY MR. HEGARTY:
       3           MR. HEGARTY: I'm sorry.                       3       Q Well, your odds ratios are actually
       4           MR. TISI: Are you skipping two cells          4   lower than the 2007 article reported, correct?
       5   down?                                                 5       A Again, the point -- the point of this
       6           MR. HEGARTY: Yeah. Let me go back.            6   table, I'm not endorsing this analysis. I'm not
       7   BY MR. HEGARTY:                                       7   endorsing this study. So I wouldn't interpret it
       8       Q The next reference is to Harlow. Did            8   that way. The only conclusion that I would draw
       9   you run the analysis without including Harlow?        9   from this table is that their main pooled analysis
      10       A The same answer.                               10   cannot be replicated.
      11       Q No?                                            11       Q Going back to my question, though, your
      12       A No, for the reasons I just -- I just           12   odds ratios were actually lower than what the 2007
      13   described.                                           13   article reported, correct?
      14       Q Well, what effect did it have on the           14       A That's correct.
      15   numbers reported in the study by including Harlow?   15       Q And your odds ratios support the
      16       A Same answer. Same answer as before.            16   conclusions reached in the 2007 article, correct?
      17       Q Which is?                                      17           MR. TISI: Objection. Misstates.
      18       A Which is, again, not my charge, didn't         18           THE WITNESS: No, I -- I wouldn't -- I
      19   do it, and same answer as before.                    19   wouldn't agree with that. Again, I -- I'm not
      20       Q The next point as to Harlow and Weiss,         20   endorsing this analysis. I think there's a lot of
      21   did you run the analysis without including Harlow    21   issues with this paper. You're sort of picking
      22   and Weiss?                                           22   out one, and I -- I wouldn't agree to that, no.
      23       A No. Same answer as before.                     23   BY MR. HEGARTY:
      24       Q What would have been the effect on the         24       Q Well, an odds ratio of 0.74 would
      25   numbers reported or the conclusions drawn if         25   suggest no association between talc-dusted

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       1   Harlow and Weiss had not been included?               1   diaphragms and ovarian cancer, correct?
       2        A I can't answer that because I didn't do        2        A Well, in a vacuum, if you're just -- if
       3   that.                                                 3   you're just taking an odds ratio and a confidence
       4        Q Over on page 29, Table IV, you report on       4   interval and saying how do you interpret this,
       5   your attempted -- attempt at replication of the       5   that is true. But I think it's important to
       6   numbers from the 2007 paper, correct?                 6   remember that there are errors in this data, and
       7        A Correct.                                       7   in fact, you know, if I'm recalling correctly, one
       8        Q In all your efforts, all the analyses          8   really important error where, you know, the
       9   you did, you calculated an odds ratio each time       9   confidence interval and the point estimate didn't
      10   less than 1, correct?                                10   even make sense. So you're -- you're -- this is
      11        A That is correct.                              11   based on a flat analysis. This was just an
      12        Q Using the fixed effect model, you showed      12   attempt to replicate.
      13   a statistically significant odds ratio of 0.74,      13        Q Did you review the Penninkilampi study?
      14   which would be a protective effect against ovarian   14        A I -- I don't recall if I reviewed that
      15   cancer, correct?                                     15   study at some point.
      16           MR. TISI: Objection.                         16           MR. HEGARTY: I'm going to mark as
      17           THE WITNESS: Well, you're -- so I'm          17   Exhibit 19 the Penninkilampi study.
      18   going to answer that to the best of my ability, by   18           (Exhibit No. 19 was marked for
      19   saying we haven't established the validity of this   19           identification.)
      20   analysis at face value. So I'm not agreeing with     20           MR. TISI: Just object. Outside --
      21   that finding that I would draw that conclusion       21           THE WITNESS: Would this --
      22   from it.                                             22           MR. TISI: Object. Outside the scope.
      23           But I can simply tell you that based on      23           THE WITNESS: Would this be another good
      24   my attempted replication of their analysis, that     24   time to -- if we're taking a shift, just to take a
      25   is the result. So I can -- I can definitely agree    25   quick bathroom break?


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       1          MR. HEGARTY: Sure.                           1       A That's correct, yes.
       2          THE WITNESS: Okay. Thanks.                   2       Q And you presented this with --
       3          MR. HEGARTY: Go off the record.              3       A This was a presentation to --
       4          THE VIDEOGRAPHER: The time is 12:16          4       Q -- John Clark?
       5   p.m. We're going off the record.                    5       A -- to defense firms with a panel. Yes,
       6          (Lunch recess.)                              6   correct.
       7          THE VIDEOGRAPHER: The time is 1:07 p.m.      7       Q You presented this with John Clark,
       8   and we're back on the record.                       8   correct?
       9   BY MR. HEGARTY:                                     9       A He was one of the presenters, yes.
      10        Q Doctor, when I left off, we were going      10       Q And over on several pages into it, if
      11   to look at the Penninkilampi study, but before I   11   you find the page that says "Strengths and
      12   get there, I wanted to take a step back real       12   Limitations of Observational Studies."
      13   quick.                                             13       A I'm sorry. Where are you?
      14          With regard to the 2003 and 2007 studies    14       Q Let me see your copy.
      15   you talk about in your report, those studies are   15          Do you see where I'm pointing now that
      16   meta-analyses of case-control studies, correct?    16   says, "Strengths and Limitations of Observational
      17        A I don't believe they're limited to          17   Studies"?
      18   case-control studies. I --                         18       A Yes.
      19        Q Well, the --                                19          MR. TISI: I'm sorry, what page number
      20        A I'd have to go back and look.               20   are you on here?
      21        Q Well, the 2007 diaphragm study looked at    21          MR. HEGARTY: There's not a page number.
      22   case-control studies, correct?                     22   BY MR. HEGARTY:
      23        A Could we look at it?                        23       Q One of the limitations is, is subject to
      24        Q Well, what other kind of study could        24   many biases. Do you agree with that statement?
      25   they look at?                                      25       A I would say generally again that


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       1       A Cohort study.                                 1   observational studies juxtaposed to RCTs are at
       2       Q Okay. Well, they -- they didn't -- you        2   risk of bias, and that's what an analysis of
       3   do agree they did look at case-control studies,     3   internal validity is.
       4   correct?                                            4       Q But did you prepare this slide?
       5       A Correct.                                      5       A I don't recall who prepared the slide.
       6       Q And case-control studies are subject to       6       Q You prepared -- you were part of this
       7   many biases, correct?                               7   presentation, though, correct?
       8       A I don't think I'd agree with your             8       A I was, correct.
       9   characterization of that just in the abstract. I    9       Q And you participated in the preparation
      10   think I would agree that all study designs have    10   of this slide deck, correct?
      11   strengths and limitations.                         11       A I don't recall.
      12           MR. HEGARTY: I'll mark this as Exhibit     12       Q So is it your testimony that you can't
      13   20.                                                13   say that observational studies are subject to many
      14           (Exhibit No. 20 was marked for             14   biases?
      15           identification.)                           15       A I think I just answered your question
      16           MR. HEGARTY: I'm sorry. You need the       16   about that.
      17   copy.                                              17       Q It's a true statement, though, correct?
      18           MR. TISI: Thanks.                          18       A I think I just answered it.
      19   BY MR. HEGARTY:                                    19       Q What is the answer?
      20       Q This is a copy of a PowerPoint that you      20       A I think I said observational studies
      21   prepared; isn't that correct, Doctor?              21   juxtaposed to RCTs are at risk of bias.
      22       A I participated in this. I don't recall       22       Q You don't make that limitation, though,
      23   who prepared the PowerPoint.                       23   in this slide, do you?
      24       Q Well, if you look over several pages in,     24       A I don't remember --
      25   you see your picture, correct?                     25       Q There's no reference to RTC studies, is


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       1   there?                                                1   point?
       2           MR. TISI: You're going to have to let         2        A Again, I think without -- without
       3   her finish, Mark.                                     3   refreshing on this, I'm going to agree that you
       4           MR. HEGARTY: I wasn't finished with my        4   read that correctly, and I'm going to agree that
       5   question.                                             5   it appears that what we're doing is juxtaposing
       6           MR. TISI: Okay. Well, then --                 6   clinical trials with observational studies. But I
       7           THE WITNESS: My apologies. Go ahead.          7   haven't looked at this in a very long time.
       8           MR. TISI: -- go ahead.                        8        Q And observational studies, as you say,
       9   BY MR. HEGARTY:                                       9   data more likely -- is more likely to be
      10       Q There is no reference to RCT studies in        10   incomplete and poorer quality, correct?
      11   this slide, correct?                                 11        A That's -- that's what's on the slide.
      12       A Again, I'm just going to say I haven't         12        Q That's a true statement, though,
      13   seen this in a long time. I don't remember the       13   correct?
      14   context of these slides. On this particular          14        A I would say again generally, not looking
      15   slide, you're correct, there's no -- there's no      15   at the whole context of this, juxtaposed to RCTs,
      16   mention of RCTs.                                     16   that is -- that is probably an accurate statement.
      17       Q Case-control studies or observational          17        Q If you'd turn to the Penninkilampi study
      18   studies, correct?
                                                                18   that we had marked as Exhibit 19.
      19       A They are one type of observational
                                                                19           First of all, have you ever read this
      20   study.
                                                                20   study?
      21       Q And you also say: "Observational
                                                                21        A I don't recall.
                                                                22        Q Are you able to say one way or the
      22   studies are -- have limited control over
                                                                23   other?
      23   composition of the control groups."
                                                                24        A No.
      24           That's correct, isn't it?
                                                                25        Q If you look over on page -- on page 44
      25       A I would say, again, having not looked at

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       1   this in a long time -- well, actually, now looking    1   of this study.
       2   up above two slides and seeing clinical trials, I     2           MR. TISI: Well, if you need to review
       3   can say for certain that this is really being         3   it, and this is -- you've never read it before or
       4   juxtaposed to RCTs, so discussing the differences     4   you have -- feel free to do it. I'm going to
       5   between RCTs and observational studies.               5   object to any questions about Penninkilampi as
       6       Q Doctor, is it a true statement that             6   being beyond the scope.
       7   observational studies have limited control over       7           THE WITNESS: (Perusing document.)
       8   composition of the control groups?                    8   BY MR. HEGARTY:
       9       A I would say that I would agree with that        9        Q Do you see in Table 1 --
      10   as a limitation juxtaposed to RCTs.                  10           MR. TISI: Well, no. She's reading it.
      11       Q Is it true that observational studies          11   She's looking at it.
      12   have a limitation of standardization of exposures    12           MR. HEGARTY: Well, I haven't asked a
      13   and outcome varies?                                  13   question. I just --
      14           Let me restate it that the -- for            14           MR. TISI: Well, but you're about to ask
      15   observational studies, standardization of exposure   15   a question about the study --
      16   and outcomes vary, correct?                          16           MR. HEGARTY: Then we're going to go off
      17           MR. TISI: Let me place an objection.         17   the record.
      18           And if you need to kind of refresh           18           MR. TISI: No, we're not going to go off
      19   yourself, you haven't seen this for a while, to      19   the record. It's not within the scope of her
      20   realize the context, feel free to look at the        20   report. It's not cited, nothing. So if you're
      21   document.                                            21   going to ask her questions about something --
      22           THE WITNESS: Sure. I'm sorry, can you        22   questions that are outside the scope of her
      23   repeat --                                            23   report, and you give her a study and she's never
      24   BY MR. HEGARTY:                                      24   read it before, she's going to read it.
      25       Q Do you agree with that third bullet            25           MR. HEGARTY: Well, we're not going to


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       1   sit here while she reads it.                          1            (Exhibit No. 22 was marked for
       2           MR. TISI: Well, then, don't ask her --        2            identification.)
       3           MR. HEGARTY: Let's go off the record.         3   BY MR. HEGARTY:
       4           MR. TISI: No, we're not going to go off       4       Q Is that the Chang study that's
       5   the record. We will not go off the record, and        5   referenced in your table?
       6   we'll call the judge -- Judge Walsh if you want       6       A Yes, I believe so. Let me just check.
       7   to.                                                   7   (Peruses document.)
       8           MR. HEGARTY: Okay. Well, let's call           8            Yes.
       9   him.                                                  9       Q If you look over on Table 2 of the Chang
      10           MR. TISI: Let's go.                          10   study, Exhibit 22, that is the dose-response data
      11           MR. HEGARTY: Off the record.                 11   reported in the study, correct?
      12           MR. LOCKE: Yeah, let's go off the            12       A Can I just have a minute to look at
      13   record while we get that set up.                     13   this? (Peruses document.)
      14           THE VIDEOGRAPHER: The time is 1:13 p.m.      14            So I would say there is dose-response
      15   We're going off the record.                          15   data reported in Table 2 of the Chang study, but
      16           (A discussion was held off the record.)      16   I'm not certain that's the only dose-response data
      17           THE VIDEOGRAPHER: The time is                17   that's in the paper.
      18   1:22 p.m., and we're back on the record.
                                                                18       Q Well, I -- I'm focusing on the dose-
      19   BY MR. HEGARTY:
                                                                19   response data in Table number 2.
      20        Q Doctor, we -- we were going to talk
                                                                20       A Okay.
      21   about Penninkilampi. I'm going to table that
                                                                21       Q The data for after-bath use shows
      22   exhibit for right now, and I'm going to move on to
                                                                22   decreasing odds ratios as dose increases, correct?
                                                                23       A I'm sorry, after bath talc use, is that
      23   another part of your report.
                                                                24   what you said?
      24           If you would turn to page 36 of your
                                                                25       Q Yes.
      25   report, the section "PCPC 2009 Response." Do you


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       1   see that section?                                     1        A That -- that's correct, yes.
       2       A Yes, I do.                                      2        Q The authors then say in the response as
       3       Q This is your analysis of the 2009               3   you note that that data suggests an inverse
       4   response to the Citizen Petition, correct?            4   dose-response.
       5       A Yes, that's correct.                            5           How is that statement wrong based on the
       6       Q I'm going to mark as Exhibit 21 a copy          6   data from Table 2 in the Chang study?
       7   of that response.                                     7        A Well, again, you know, I think this is
       8           MR. TISI: Thank you.                          8   a -- a broader issue of the discussion of
       9           (Exhibit No. 21 was marked for                9   dose-response. As I indicated, this is not the
      10           identification.)                             10   only dose-response data in -- in the Chang study.
      11   BY MR. HEGARTY:                                      11   And I think that this really drives at the lack of
      12       Q Do you see the -- see what I marked as         12   a fulsome discussion of the reasons why one might
      13   Exhibit 21?                                          13   not observe a dose-response. I think that's an
      14       A Yes.                                           14   incomplete representation of the authors' study
      15       Q And is that the document you reviewed          15   and the authors' data, and really drives at one of
      16   for purposes of this part of your report?            16   the very important issues in dose-response
      17       A Yes, I believe so.                             17   analyses, which is taking a quantitative variable
      18       Q Over on page 37 of your report, in the         18   and reducing it into arbitrary categories.
      19   table included there, Table VI, you make reference   19           And so a very important piece of data
      20   to statements that the authors of the response       20   from the Chang study was ignored, which is the
      21   made about the Chang 1997 study, correct?            21   fact that when they looked at these variables
      22       A Correct.                                       22   quantitatively, they did see a dose-response
      23           MR. HEGARTY: I'm going to mark as            23   increasing risk with increasing years of -- now
      24   Exhibit 22 the Chang study that is referenced in     24   that's years of talc exposure. So just to be --
      25   your table.                                          25   just to be accurate, I want to be sure that I'm


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       1   being accurate with -- with what I have in my         1   risk of ovarian carcinoma. Questionable trends in
       2   report.                                               2   duration and frequency of exposure suggest that
       3        Q So how is it wrong to say as the               3   further studies may be needed to clarify the role
       4   response does that the data suggests an inverse       4   of talc and the etiology of this disease."
       5   dose-response? What's inaccurate about that           5           So how is it wrong to say they
       6   statement?                                            6   acknowledge that a lack of a dose-response needs
       7        A It's misleading. It's a mis- -- it's a         7   clarification?
       8   -- misleading and non-wholistic, and in my -- and     8        A I think I just explained my -- my issue
       9   in my opinion, not a responsible, fulsome             9   with their treatment of this paper.
      10   discussion of dose-response, both of dose-response   10        Q But how is it wrong?
      11   at large.                                            11        A What's wrong is the incomplete and
      12           And if you're going to advocate in the       12   unacknowledged -- the title of the -- of the table
      13   way that these authors and PCPC advocated for lack   13   is "Unacknowledged Positive Dose-Response Data."
      14   of dose-response as a key reason there's not a       14   That's the title of the table. So that's the
      15   causal relationship, then I feel there's a           15   point that I'm illustrating and calling out here
      16   scientific obligation to provide a fulsome           16   is that they did not address the positive
      17   discussion of that, which the authors do not do.     17   dose-response data that was observed in the study.
      18   They ignore the data that does not line up with      18        Q Was it your testimony that scientists
      19   their -- with their opinion, and they don't talk     19   are not allowed in studies to look at other papers
      20   about the reasons why one might not observe a        20   and state any disagreements that they have with
      21   dose-response, and the reasons why one might         21   the authors?
      22   observe an inverse dose-response. Because there      22        A Can you repeat that, please?
      23   are actually scientifically defensible reasons why   23        Q Is it your testimony that in reviewing
      24   you might observe an inverse dose-response in a      24   another author's paper that it's improper to draw
      25   causal relationship.                                 25   your own conclusions and report those own


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       1        Q Did you do that analysis for the Chang         1   conclusions in your paper?
       2   study?                                                2       A I'm certainly not saying that it's wrong
       3        A I was not charged with doing that              3   for people to disagree, but I -- as -- as someone
       4   analysis. So, again, I am critically reviewing        4   who is in the business of designing and
       5   the Huncharek and Muscat papers, you know, as they    5   implementing studies that get submitted to FDA, I
       6   were presented and evolved over time, and             6   can say that that warrants a fulsome and complete
       7   advocated to FDA and to the medical and scientific    7   and accurate discussion of the issue if you are
       8   community.                                            8   going to put forward this lack of dose-response as
       9        Q They say in that -- you say in that            9   a primary reason why you believe there's not a
      10   table that Huncharek and Muscat say they             10   causal association. I feel very strongly about
      11   acknowledge that the lack of dose-response needs     11   that.
      12   clarification.                                       12       Q And if somebody takes the opposite view
      13            That's a true statement from the Chang      13   that there is a dose-response, you would also take
      14   study, correct?                                      14   issue if they failed to support that contention
      15        A Well, I -- I'd have to read --                15   with a fulsome and complete and accurate
      16        Q Well, look at the conclusion in the very      16   discussion, correct?
      17   first -- on the very first page of the Chang         17           MR. TISI: Objection.
      18   study. And I'll read it for purposes of the          18           THE WITNESS: Again, you're taking --
      19   record.                                              19   you're sort of taking my statement a little bit
      20            The conclusion says --                      20   out of context, because what happens in a
      21        A Can you tell me where you are? I'm            21   particular manuscript depends on the context, what
      22   sorry, excuse me.                                    22   happens in a particular manuscript or whatever the
      23        Q The very first page. The conclusion           23   forum is for that discussion.
      24   says: "This investigation supports previous          24           The point here is, and I think we're in
      25   contentions that exposure to talc may increase       25   the section -- yeah, we are -- we're in the


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       1   section on the PCPC report -- this was not a          1        A I do.
       2   manuscript that was restricted in word count.         2        Q Okay.
       3   This is a report in which they had the opportunity    3        A Would you like to point me to a
       4   to provide as much detail, as much of a fulsome       4   particular area?
       5   discussion as was necessary to shed light on          5        Q Then if you turn over to page -- first
       6   these very important issues, and they did not do      6   of all, Harlow wasn't included in those 12 studies
       7   that.                                                 7   that the Citizen Petition included in its
       8   BY MR. HEGARTY:                                       8   submission to FDA, was it?
       9       Q So in any report where you're not               9        A I -- I don't recall specifically.
      10   limited by space or word count, if you fail to       10        Q Well, you had -- do you have the exhibit
      11   provide that fulsome discussion in order to          11   for the Citizen Petition in front of you?
      12   support a proposition that you're making, then you   12        A Let me find it.
      13   would take issue with that, correct?                 13        Q That's Exhibit 13.
      14           MR. TISI: Objection.                         14        A Yes.
      15           THE WITNESS: Again, I'm going to             15        Q Is Harlow listed as one of the
      16   disagree with your blanket characterization, and     16   authorities?
      17   say, you know, I can comment on this particular --   17        A Does not appear to be, no.
      18   these particular studies, this particular context,   18        Q So it would not be proper to include a
      19   and the submission of this data and the posturing    19   discussion about Harlow in the first part where
      20   of the data to the FDA. That's what I'm              20   they say they're only going to address the 12
      21   commenting on.                                       21   studies cited in the Citizen Petition, correct?
      22           There's all kinds of contexts and            22           MR. TISI: Objection.
      23   reasons and reports that get written for various     23           THE WITNESS: I don't necessarily agree
      24   purposes. So that's just an overly broad question    24   with that, no.
      25   that I really can't answer. I -- I provided you      25   BY MR. HEGARTY:


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       1   with my opinion and basis for this table.             1       Q So you think it's -- where they're
       2   BY MR. HEGARTY:                                       2   saying their defining their analysis to the 12
       3       Q The next comment you make in that table         3   authorities cited in the Citizen Petition, that
       4   is as to Harlow 1992, correct?                        4   they should ignore that and then just start adding
       5       A Yes.                                            5   other studies. Is that what you're saying?
       6       Q And you say that Huncharek and Muscat           6       A Well, if they're specifically stating,
       7   provided no discussion of Harlow 1992, correct?       7   In this section we're only going to do those 12
       8       A As far as I can recall, that's -- that's        8   studies, okay, fine. I'm not necessarily
       9   correct.                                              9   commenting on that. I'm commenting on the -- on
      10       Q Did you read their response?                   10   the submission as a whole, and particularly how
      11       A I'm sorry?                                     11   dose-response is dealt with in their response.
      12       Q The two thousand -- did you read the           12       Q Well, turn the -- turn to page 21 of
      13   2009 response?                                       13   your -- of the response. In the section Part 4,
      14       A Yes, I did.                                    14   "Talc and Ovarian Cancer Risk," do you see that
      15       Q Did you see that in the first part of          15   section?
      16   the 2009 response, that they addressed each of the   16       A Yes, I do.
      17   12 references that were included in the PCPC         17       Q The next section, "Introduction," it
      18   response? Do you understand that?                    18   says: "Above we reviewed the literature citations
      19           I'm sorry, that were in the --               19   including the" --
      20       A Would you like to point to where --            20           THE REPORTER: Excuse me. Can you
      21       Q -- that were in the Citizen Petition.          21   please start over.
      22           Do you understand that the first part of     22   BY MR. HEGARTY:
      23   the response was to address the 12 studies that      23       Q "Above we reviewed the literature
      24   were included in the Citizen Petition? Do you        24   citations, including the petition of the FDA by
      25   understand that?                                     25   I. Epstein, et al."


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                                  April Zambelli-Weiner, Ph.D.
                                                Page 355                                                  Page 357
       1            Do you see where I'm reading?                1       Q Didn't the --
       2         A Yes.                                          2       A It did.
       3         Q That did not include Harlow, did it?          3       Q -- 2003 meta-analysis include the Harlow
       4         A Well, I'm taking your word for it. I          4   study?
       5   haven't gone back and looked at this, so I'll --      5       A Yes, it did.
       6   I'll assume your -- your premise.                     6       Q So what is wrong with the way they laid
       7         Q Well, you just looked at the Citizen          7   this out in not including the Harlow study from
       8   Petition. It didn't include Harlow, did it?           8   what they said they did?
       9         A Right, but now we're looking at the PCPC      9       A Again, this is my expert opinion. I
      10   report.                                              10   am -- I am standing by it, that if you are
      11         Q The next sentence says: "The petition        11   representing a review of a body of evidence to
      12   cites similar relevant literature published since    12   FDA, you should be fulsome in that -- in that
      13   1995."                                               13   representation. And I think that Harlow should
      14            Do you see that?                            14   have been included.
      15         A Yes.                                         15       Q You say: "Huncharek and Muscat provided
      16         Q So they're limiting their database           16   no discussion of Harlow 1992."
      17   search to post-1995 studies thereafter, right?       17           Here they're incorporating what they
      18            MR. TISI: Well, why don't you read the      18   included in their Huncharek paper. How is that no
      19   paragraph.                                           19   discussion?
      20            THE WITNESS: Let me just take a moment      20           MR. TISI: Objection.
      21   (Peruses document.)                                  21           THE WITNESS: Again, I'm just going to
      22            Okay. So --                                 22   refer you back and -- you know, I'm trying to
      23   BY MR. HEGARTY:                                      23   answer your questions, but refer you back to the
      24         Q So if they did limit their search            24   table that, to my knowledge, whether in the PCPC
      25   thereafter to post-1995 literature, that would not   25   report or otherwise, there is no discussion of the

                                                Page 356                                                  Page 358
       1   include the 1992 Harlow study, correct?               1   positive dose-response data that exists within
       2        A Well, I'm not certain. I mean they say:        2   this evidence base, and there are two examples of
       3   "We searched electronic databases in order to         3   that.
       4   determine if other citations exist that were not      4   BY MR. HEGARTY:
       5   cited by Epstein or Huncharek." So they don't         5       Q Well, that's not true either because
       6   really time limit that.                               6   they incorporated into their paper the 2003
       7        Q Well, but Huncharek did cite to the 1992       7   meta-analysis, correct?
       8   Harlow study, didn't it?                              8       A They incorporate the Harlow paper, but
       9        A I believe so. You're bouncing around a         9   that's different than what I'm saying.
      10   lot, so I'm just trying to keep up here.             10       Q Well, they do make reference to papers
      11        Q Well, Doctor, you wrote the report and        11   that you contend show a positive dose-response by
      12   you should be an expert on your report.              12   referring to the 2003 meta-analysis, correct?
      13           MR. TISI: Oh, come on, Counsel, that's       13           MR. TISI: Objection.
      14   unfair. You're peppering her with questions, and     14           THE WITNESS: We're talking apples and
      15   she needs to go back and see what she's got.         15   oranges. That's not what I'm referring to.
      16           MR. HEGARTY: Well, the objection --          16   BY MR. HEGARTY:
      17           MR. TISI: I mean, well, that was a           17       Q Now, in page -- again, on page 37 under
      18   snarky comment, so just ask her questions.           18   your table, you make statements about what they
      19           MR. HEGARTY: Well, I think what's being      19   should have included about dose-response,
      20   done here is running out my time.                    20   including positive dose-response data described in
      21           MR. TISI: She's not running out the          21   individual studies. You say that, correct?
      22   time. You're asking her silly questions.             22       A I'm sorry, where are you?
      23           MR. HEGARTY: Yes, she is.                    23       Q In the paragraph below the table,
      24           MR. TISI: Go ahead.                          24   Table VI.
      25   BY MR. HEGARTY:                                      25       A Okay.


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                                  April Zambelli-Weiner, Ph.D.
                                                Page 359                                                  Page 361
       1        Q You say: "The authors do not report the        1   BY MR. HEGARTY:
       2   positive dose-response data described in the          2        Q So you would fault an author of a report
       3   individual epidemiologic studies." Correct?           3   if they reported on positive dose-response data
       4        A Correct.                                       4   but did not give equal time to those studies that
       5        Q And you take issue with that?                  5   didn't find a dose-response, correct?
       6        A That's correct.                                6           MR. TISI: Objection.
       7        Q You say that it's wrong for them not to        7           THE WITNESS: Again, it's -- I would say
       8   do that, correct?                                     8   it's contextually dependent.
       9           MR. TISI: Objection.                          9   BY MR. HEGARTY:
      10           THE WITNESS: Well, I think I'll repeat       10        Q Well --
      11   again what -- what I said in prior answers, which    11        A You're asking a very just general
      12   is in advocating such a strong position to FDA on    12   broad question.
      13   dose-response, dose-response as a key tenet of a     13        Q You're -- you're supposedly the expert.
      14   causal assessment, there's not a fulsome             14   If somebody in a report is advocating that, based
      15   discussion of dose-response.                         15   on the data in the ovarian cancer case-control
      16   BY MR. HEGARTY:                                      16   studies, there is a dose-response, you would fault
      17        Q Where is it defined in the medical            17   that author if they didn't give equal time to the
      18   literature what constitutes a strong position in a   18   data that didn't show a dose-response, correct?
      19   paper? That's your subjective take, correct?         19           MR. TISI: Objection.
      20           MR. TISI: Objection.                         20           THE WITNESS: No. Not -- I'm sorry.
      21           THE WITNESS: Again, as an                    21           MR. TISI: Objection.
      22   epidemiologist doing this kind of work in the        22           THE WITNESS: No, not necessarily, and I
      23   business of submitting -- you know, helping          23   think you're -- you're mischaracterizing or
      24   clients submit things to FDA, I would not do this.   24   misunderstanding my -- my position.
      25   I would not consider this an appropriate and
                                                                25   BY MR. HEGARTY:

                                                Page 360                                                  Page 362
       1   fulsome discussion of an important issue in a         1        Q So you would think in some instances if
       2   causation analysis. That's my opinion.                2   an author advocates that there is a dose-response,
       3   BY MR. HEGARTY:                                       3   and they ignored data that didn't show a
       4        Q Cite me a published authority that --          4   dose-response, that's okay?
       5   that supports that opinion.                           5           MR. TISI: Objection.
       6           MR. TISI: Objection.                          6           THE WITNESS: Again, I think I said it's
       7           THE WITNESS: I'm not even sure what           7   contextually dependent. It's dependent upon the
       8   you're asking me.                                     8   body of literature. It's dependent upon what --
       9   BY MR. HEGARTY:                                       9   you know, there's a tenet in epidemiology that you
      10        Q Cite me a published authority that            10   can't prove the null hypothesis. So even the
      11   defines what it -- what it takes in a paper to be    11   concept of data against a dose-response is sort of
      12   a strong position. That's your subjective view,      12   erroneous.
      13   correct?                                             13           So, again, I'm just going to say
      14        A Well, I --                                    14   generally that it would be contextually dependent
      15           MR. TISI: Objection.                         15   on what that data was and how it was treated, and
      16           THE WITNESS: I think the repeated            16   I would have to make that evaluation on a case-by-
      17   statements, and we could -- we could certainly,      17   case basis.
      18   you know, if you wanted to spend the time, go        18   BY MR. HEGARTY:
      19   through all of them and pull them out where they     19        Q Is there data in the ovarian cancer
      20   complete -- sorry, repeatedly rely upon the          20   literature against a dose-response?
      21   assertion that there's no evidence of a              21        A That's a very vague question, and, you
      22   dose-response, that an inverse dose-response is      22   know, I probably should have started with this way
      23   evidence against a causal assessment. They're        23   back when we started talking about dose-response
      24   clearly arguing for that position. That's clearly    24   that I'm just taking the assumption that you're
      25   the position that they're taking and advocating.     25   talking about a linear dose-response because there


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       1   are a lot of different types of dose-response --      1   reflect as to the propriety of that response.
       2   dose responses. So it's a very complex question.      2   BY MR. HEGARTY:
       3   I'm not really sure exactly.                          3       Q My question is, in that paragraph, do
       4        Q Well, did -- did you analyze all the           4   you cite any studies that report a positive
       5   dose-response data from the case-control studies      5   dose-response from the data?
       6   and the cohort studies in the ovarian cancer          6       A I don't know what paragraph you're
       7   literature?                                           7   referring to.
       8        A No. That wasn't -- that wasn't my              8       Q It's the paragraph we've been talking
       9   charge.                                               9   about, the paragraph under the table.
      10        Q Well, then, how can you say that the          10       A Well, I think the table cites to two
      11   authors did not report on positive dose-response     11   studies. So I'm not really sure what you're
      12   data if you didn't analyze all the studies?          12   asking me.
      13        A Because I became aware of that data. So       13       Q Doctor, please listen to my question.
      14   certainly I'm aware that that data exists in my      14           My question is, in the paragraph I'm
      15   review of the --                                     15   looking at under the table --
      16           THE REPORTER: Aware that that data?          16       A Mm-hmm.
      17   BY MR. HEGARTY:                                      17       Q -- do you cite to any study reporting a
      18        Q Okay. You don't --                            18   positive dose-response from the data?
      19           THE REPORTER: I couldn't hear -- excuse      19       A There's no citations in that paragraph,
      20   me. I need -- I could not hear. There was a
                                                                20   but that doesn't mean I'm not citing studies that
      21   cough and I couldn't hear.
                                                                21   have positive dose-response data.
      22           MR. TISI: I think she said --
                                                                22       Q Okay.
                                                                23       A So I'm not really sure why you're asking
      23           THE REPORTER: "So certainly I'm aware
                                                                24   me that.
      24   that that data" --
                                                                25       Q What study on that -- on that page has a
      25           MR. TISI: I think she said "exists,"

                                               Page 364                                                   Page 366
       1   and then I -- went off the record.                    1   positive -- has positive dose-response data?
       2   BY MR. HEGARTY:                                       2       A Chang and Harlow.
       3        Q You made no reference in that section to       3       Q Okay. And you've analyzed that data,
       4   what data -- to the data to which you're referring    4   and it's your opinion that that data shows a dose-
       5   to, correct? In other words, you make no              5   response; is that correct?
       6   response -- no citation to any literature that        6       A It's my opinion that the authors report
       7   shows a positive dose-response data in that           7   positive dose-response data, yes.
       8   paragraph, correct?                                   8       Q Now, that's not my question. My
       9           MR. TISI: Objection. She cites Harlow.        9   question is, in your opinion, does the data show a
      10           MR. HEGARTY: Chris, do you want to take      10   positive dose-response from your own independent
      11   the microphone and answer for her?                   11   analysis?
      12           MR. TISI: I -- I'd love -- I'd love to,      12       A I do not -- I did not do an, excuse me,
      13   but you've got to ask the question. She just         13   independent analysis of dose-response. That
      14   testified to Harlow.                                 14   wasn't my charge. It was a critical review of
      15           MR. HEGARTY: Chris, please stick to the      15   these works, and that's what my review is focused
      16   obligations that you committed to under the          16   on.
      17   court's order --                                     17       Q Over on page 37 under the section
      18           MR. TISI: I got it, but, you know,           18   "Contradictory unsupported claims of uncontrolled
      19   you --                                               19   confounding," you make the statement that -- over
      20           MR. HEGARTY: -- and stick to the form        20   on -- turning to page 38 of that section. The
      21   objections.                                          21   paragraph which begins "On page 4." Do you see
      22           MR. TISI: You're peppering questions         22   that paragraph?
      23   and not allowing her to answer, and then running     23       A Yes, I do.
      24   over -- running over things.                         24       Q "They further discuss this on
      25           MR. HEGARTY: Well, we'll let the record      25   page 23" -- this is the second line -- "where they


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                                   April Zambelli-Weiner, Ph.D.
                                                Page 367                                                  Page 369
       1   cite an article by Rosenblatt and colleagues as       1        A I don't know what your question is.
       2   empirical data supporting their assertion that        2        Q Well, the statement that they make there
       3   smoking is an important confounder."                  3   that says that "Rosenblatt reported that smokers
       4            Do you see where I'm reading?                4   are more likely to engage in perineal talc dusting
       5        A Yes, I do.                                     5   compared with nonsmokers" is a true statement,
       6        Q Nowhere in this response do they ever          6   isn't it?
       7   say that smoking is an important confounder, do       7        A I don't know. We can go back and look
       8   they?                                                 8   at Rosenblatt.
       9        A Well, I would have to go back and look         9            (Exhibit No. 23 was marked for
      10   at the specific language they use.                   10            identification.)
      11        Q Well, go over to page 23 of the               11   BY MR. HEGARTY:
      12   response. Second paragraph. This is where they       12        Q Here is Exhibit 23, which is the
      13   talk about Rosenblatt. Nowhere in that               13   Rosenblatt studies. If you look in the Abstract
      14   paragraph -- and you read the response -- or         14   section on the first page, the Results section in
      15   anywhere in this report do they ever say that        15   the middle, they say that smokers -- they say
      16   smoking is an important confounder, do they?         16   that: "Women who smoke cigarettes or were in
      17        A Well, again, without rereading this           17   highest BMI were more likely to engage in perineal
      18   entire report, which I know we -- none of us want    18   use of powder." Correct?
      19   to do, I'll say in that paragraph they -- they       19        A I'm sorry, I'm just looking (reading to
      20   say: "An example of a factor that could confound     20   herself) -- yes.
      21   the weak effect shown for perineal talc is           21        Q So what is wrong -- what is wrong with
      22   smoking." So they're -- they're calling out          22   their statement in the second paragraph on page 23
      23   smoking as a confounder. "It's now recognized,"      23   about what they say concerning the Rosenblatt
      24   and they go on to talk about -- about that.          24   study?
      25        Q The word "important" is your word,
                                                                25        A You're back on the PCPC report?

                                                Page 368                                                  Page 370
       1   correct?                                              1       Q Yes.
       2       A I'm sorry. We're back on --                     2       A Okay. I'm going to go back to my report
       3       Q The word in the report that I read to           3   for a minute. (Peruses document.)
       4   you, the word "important" is your word. It's not      4           So I -- I think the point that I'm
       5   the word in their response, is it?                    5   making is I'm not necessarily disagreeing with the
       6       A I'm just trying to find it.                     6   characterization of -- of the odds ratio. I think
       7           I don't know. The answer is I'm not           7   that I'm making a different point here.
       8   sure if they've ever used the word "important" to     8       Q And you're making a point that they
       9   describe smoking as a confounder.                     9   don't make in their response, do you -- or do
      10       Q Okay. You also cite in that part of the        10   they?
      11   report, this is the paragraph on page 38 beginning   11       A I'm losing your -- your train of -- the
      12   on page 4, that they -- they referred to a finding   12   line of questioning.
      13   of in Rosenblatt of 1.2. Do you see where I'm        13       Q Well, you're making a point about how
      14   reading?                                             14   they're making reference to Rosenblatt that they
      15       A Yes.                                           15   don't do in their response. Do they?
      16       Q Nowhere in this paper do they ever make        16       A Can we -- could we just slow it down for
      17   reference to the 1.2 odds ratio that Rosenblatt      17   a minute? Because you have me bouncing between
      18   reports, do they?                                    18   things and I'm getting confused. So if it's okay,
      19       A Well, they -- they don't cite the 1.2,         19   I would just like to take a minute and reorient
      20   but they -- they do refer to Rosenblatt, that        20   myself to my report.
      21   smokers are more likely to engage in talc dusting.   21       Q How much time do you need?
      22   So, I mean, obviously you can go back to the paper   22       A I don't know. A minute. I mean --
      23   and -- and pull that data.                           23       Q Well, I'm not -- we'll take --
      24       Q Well, that -- that's a true statement          24           MR. TISI: We can do that for the
      25   from Rosenblatt, isn't it?                           25   record.


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                                  April Zambelli-Weiner, Ph.D.
                                                Page 371                                                      Page 373
       1           MR. HEGARTY: Go off the record, please.       1         Q That's -- that's a misstatement, isn't
       2           MR. TISI: Just for a minute is fine.          2   it?
       3           THE VIDEOGRAPHER: The time is                 3       A We could look at -- look it up.
       4   1:49 p.m., and we're going off the record.            4       Q Well, is it your testimony that the --
       5           (Pause in the proceedings.)                   5   that the meta-analysis of hospital-based controls
       6           THE VIDEOGRAPHER: The time is 1:51            6   showed a 19 percent increased risk of ovarian
       7   p.m., and we're back on the record.                   7   cancer for talc-exposed patients?
       8   BY MR. HEGARTY:                                       8       A I would have to go back and review that.
       9        Q Doctor, we went off the record for a           9       Q Well, where did that 19 percent number
      10   moment to allow you to look at the Rosenblatt        10   come from?
      11   study and compare it to your study, and let me go    11       A Again, I'd have to go back and look just
      12   back to -- I think the point I was trying to make    12   to make sure that that's -- that that's accurate.
      13   is that you make the assertion in your report that   13   But...
      14   Huncharek and Muscat claim a positive significant    14       Q You've got to go back to where?
      15   association from the Rosenblatt data for a           15       A The subgroup analysis.
      16   relative risk of 1.2 that is not statistically       16       Q Well, if you look at Exhibit 16, that's
      17   significant.                                         17   the 2003 paper, the Huncharek meta-analysis. Do
      18           Nowhere in the response do they make         18   you have that document?
      19   that point, do they?                                 19       A Yes.
      20        A They don't specifically call out that         20       Q If you look over at page 1959, the
      21   point, but I'm citing the data in Rosenblatt that    21   paragraph beginning "Table 1 on the left-hand
      22   supports the point. So I think, you know, I'm        22   column" -- do you see that paragraph?
      23   trying to make two points. I'm making the point      23       A Yes. "As seen in Table 1" or "Table 1"?
      24   that they're relying on data that is not             24       Q The paragraph beginning "Table 1 shows."
      25   statistically significant here in this regard, and   25       A Mm-hmm, yes.

                                                Page 372                                                      Page 374
       1   relying on what they would call modest risk           1       Q Do you see where I'm reading?
       2   estimates that, you know, or weak -- weak effects     2       A Yes.
       3   to support the notion that smoking may be             3       Q About two-thirds of the way down it
       4   confounding the association between talc and          4   says: "Interestingly, pooling all hospital-based
       5   ovarian cancer, wherein other parts of their          5   studies" -- do you see where I'm reading?
       6   report and of their papers they dismiss similar --    6       A I do.
       7   similar odds ratios, both in magnitude but also       7       Q -- "yielded a relative risk of 1.19,
       8   with regard to statistical significance.              8   0.99 to 1.4." Do you see where I'm reading?
       9       Q If you turn over to page 39 of your             9       A Yes, I do.
      10   report. In the second paragraph on that page         10       Q Is that where you got the 19 percent
      11   beginning "A similar position" -- do you see where   11   number from?
      12   I'm reading?                                         12       A Yes, I believe so.
      13       A Yes.                                           13       Q That number is not statistically
      14       Q About two-thirds of the way down, you          14   significant, is it?
      15   state that: "As example on page 20" -- do you see    15       A It is not statistically significant,
      16   where I'm reading?                                   16   that's correct.
      17       A Yes.                                           17       Q And includes -- it includes the null
      18       Q "As example on page 20 of the 2009 H&M         18   value, correct?
      19   report, the authors claim the findings of their      19       A Correct, but that is not interpret --
      20   subgroup meta-analysis of hospital-based controls    20   that is not appropriate to interpret that as no
      21   showed no increased risk, when it actually showed    21   association or no increased risk.
      22   a 19 percent increase risk of ovarian cancer for     22       Q Doctor, listen to my question. Does the
      23   talc exposed patients."                              23   confidence interval I read to you include the null
      24           Do you see where I'm reading?                24   value?
      25       A Yes, I do.                                     25       A Yes, it does.


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                                   April Zambelli-Weiner, Ph.D.
                                                 Page 375                                                 Page 377
       1       Q Including the null value means you              1         A 0.99 to 1.41.
       2   cannot rules that that number is not due to           2         Q And you think that it's okay if you
       3   chance, correct?                                      3   report the confidence intervals to -- to say that
       4          ^ Ck MS. PARFITT: Objection.                   4   if it's not statistically significant, that study
       5          THE WITNESS: It's a loose -- a loose           5   does show an increased risk of 19 percent.
       6   interpretation of it. But, again, I'm making the      6            MR. TISI: Objection.
       7   distinction -- this entire section is actually --     7            THE WITNESS: Absolutely. The
       8   and there's another section in my report -- making    8   definition of a positive association is a risk
       9   the distinction between statistical significance      9   estimate greater than 1.0. Moise Desvarieux,
      10   and the magnitude of the risk estimate.              10   Epidemiology 101. Look it up.
      11   BY MR. HEGARTY:                                      11   BY MR. HEGARTY:
      12       Q Please listen --                               12         Q What is the reference?
      13       A They're not the same thing.                    13         A Desvarieux.
      14       Q Please listen to my question. I just           14         Q If a confidence interval includes 1.0,
      15   want an answer to this question: Including the       15   that is compatible with no difference being a
      16   null value in a confidence interval means that you   16   likely explanation, correct?
      17   cannot conclude that that number is not due to       17         A It's within the range of likely values.
      18   chance, correct?
                                                                18         Q Doctor, you have actually testified in
      19          MR. TISI: Objection.
                                                                19   the past that if a confidence interval includes
      20          THE WITNESS: I -- I don't agree with
                                                                20   1.0, that is compatible with no difference being a
      21   your -- with your characterization.
                                                                21   likely explanation. Correct?
                                                                22         A I think I just -- I think I just said
      22   BY MR. HEGARTY:
                                                                23   that. I said it's within the range of likely
      23       Q Okay. Including the null value in a
                                                                24   values. But what -- but important caveat, they're
      24   confidence interval means that the study shows no
                                                                25   not all as likely. They're not equally likely.
      25   association between the exposure and the disease

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       1   that's being studied, correct?                        1        Q Meaning that it is compatible with no
       2           MR. TISI: Objection.                          2   difference between cases and controls. That's
       3           THE WITNESS: No, I don't agree with           3   what that means, correct?
       4   that.                                                 4        A I would not characterize it that way.
       5   BY MR. HEGARTY:                                       5        Q So you disagree with the way I
       6       Q So you would -- and you -- strike that.         6   characterize it; is that correct?
       7           And is it your testimony that in this         7        A Can you read back your question?
       8   instance, the 19 percent number that is -- that I     8        Q Sure. A confidence interval that
       9   referenced from the 2003 paper with the confidence    9   includes 1.0 is compatible with no difference
      10   interval that includes 1.0, shows a 19 percent       10   between cases and controls, correct?
      11   increased risk of ovarian cancer for talc-exposed    11           MR. TISI: Objection.
      12   patients?                                            12           THE WITNESS: I think that that is a
      13       A Absolutely. Textbook epidemiology.             13   likely value. It is within the range of likely
      14       Q Okay. Even though it's not                     14   values. Again, with the caveat that they are
      15   statistically significant.                           15   not -- all the -- all the values within a
      16       A Absolutely. Those are two entirely             16   confidence interval are not equally likely.
      17   different concepts.                                  17           But, yes, I mean it is compatible with
      18       Q Certainly to say it shows a 19 percent         18   no association as a likely value based on the
      19   increased risk without saying it's not               19   underlying data. But, again, an important caveat,
      20   statistically significant is misleading, isn't it?   20   just to be accurate, if, for example, in this case
      21       A Not necessarily, if you report the             21   when you have a confidence interval that goes
      22   confidence intervals.                                22   to .99, that's the limit of the confidence
      23       Q Did you report the confidence intervals?       23   interval, and that is actually the least likely
      24       A Yes.                                           24   value. So it's really important to understand
      25       Q And what did you report them as?               25   that not all values within a confidence interval


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       1   are equally likely.                                   1   value of 1.0, based on an alpha value of 0.05, you
       2   BY MR. HEGARTY:                                       2   can't reject the null hypothesis of that
       3        Q Nor is it proper to say that the point         3   difference, that's correct.
       4   estimate in a nonstatistically significant finding    4           THE WITNESS: Could I take a quick
       5   is the most likely value, as you say on page 41.      5   break?
       6   That's not right, is it?                              6           MR. HEGARTY: Sure.
       7        A That is correct actually. The point            7           THE WITNESS: Thank you.
       8   estimate is always the most likely estimate of the    8           MR. HEGARTY: Let's go off the record.
       9   true population parameter given the data.             9           THE VIDEOGRAPHER: The time is 2:01 p.m.
      10        Q Cite for me an authority that supports        10   We're going off the record.
      11   that statement.                                      11           (Recess.)
      12        A I -- I would refer you to epidemiology        12           THE VIDEOGRAPHER: The time is 2:05 p.m.
      13   biostatistics textbooks again.                       13   We're back on the record.
      14        Q Which textbook?                               14   BY MR. HEGARTY:
      15        A I don't know specifically. I've given         15       Q Doctor, we're on page 39 of your report.
      16   you Rothman. It may be in there.                     16       A Okay.
      17        Q Well, cite for me an authority that you       17       Q Are you there?
      18   are aware of that says that the point estimate in    18       A Yes.
      19   a nonstatistically significant finding is the most   19       Q If you look towards the bottom, the
      20   likely value.                                        20   paragraph beginning with the word "Further." Do
      21           MR. TISI: Objection.                         21   you see that?
      22           THE WITNESS: I think I answered your         22       A Yes.
      23   question.                                            23       Q About three lines down from the
      24   BY MR. HEGARTY:                                      24   beginning of that paragraph, over to the
      25        Q What is the authority?
                                                                25   right-hand column, you say: "Unfortunately, the


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       1       A I think I said -- again, I'm not citing         1   authors unevenly discuss the evidence base only
       2   a specific authority, but I've given you numerous     2   citing studies that support the case for a
       3   textbook authorities to support my expertise as an    3   noncausal relationship and utilizing the observed
       4   epidemiologist.                                       4   differences -- difference in risk estimates
       5       Q Cite for me anything besides the Rothman        5   between population and hospital-based case-control
       6   text.                                                 6   studies as evidence undermining the causal
       7       A I'm not sure. I'm sure I could find             7   association, et cetera."
       8   something for you if you're really interested.        8           Do you see where I'm reading?
       9       Q When you have a nonstatistically                9        A I do.
      10   significant finding, the null hypothesis has not     10        Q Is it your testimony or your opinion by
      11   been disproved, correct?                             11   that statement that in the response that they --
      12           MR. TISI: Objection.                         12   that the authors only cited to studies that
      13           THE WITNESS: I'm sorry, that's a             13   support the case for a noncausal relationship? Is
      14   convoluted question. Can you repeat, please?         14   that what you're saying there?
      15   BY MR. HEGARTY:                                      15        A No, I don't think that that accurately
      16       Q Sure. When you have a nonstatistically         16   characterizes what I'm saying there.
      17   (sic) finding between an exposure and a disease,     17        Q Well, tell me how my reading is not
      18   then the null hypothesis has not been disproved,     18   accurate.
      19   correct?                                             19        A Well, the section is specifically around
      20       A I'm not sure -- your wording is throwing       20   the selection bias issue and the issue related to
      21   me off. Do you want to reword that or --             21   hospital- versus -- versus population-based
      22       Q No. Can you not answer my question?            22   controls. So I think this gets to something we
      23       A Let me take a look. (Peruses monitor.)         23   discussed earlier, which is the lack of a fulsome
      24           Right, you cannot -- if -- if the 95         24   discussion around this issue, and reasons why you
      25   percent confidence interval includes the null        25   might observe the differences that were -- were in


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       1   observed the meta-analysis.                           1   appraisal of -- of these studies. And so
       2        Q So is it your testimony that the               2   particularly related to the dose-response data and
       3   sentence I read only concerns the issue of            3   the -- you know, uncontrolled confounding and
       4   selection bias as it relates to the hospital- and     4   other issues that are then proffered in the 2009
       5   population-based case-control studies? It's not       5   report as evidence against a causal association.
       6   an issue generally as to the causal relationship      6           So I think that, again, I'm trying to
       7   across the studies?                                   7   answer your question. I mean I think certainly
       8           MR. TISI: Objection.                          8   there is -- well, you know, I'm just -- I'm not
       9           THE WITNESS: Well, I think I -- I'm           9   even sure I can answer that question. Do you want
      10   citing it here in that section specifically. So,     10   to try rephrasing it? I'm -- it's confusing.
      11   yeah, here it is there to reference that             11        Q What part -- I'm not sure what part is
      12   particular issue in that -- that section.            12   confusing. Where in your paper do you put forth
      13   BY MR. HEGARTY:                                      13   any valid data or analysis from the two papers or
      14        Q So you're not saying that the authors of      14   the response? Do you do that anywhere?
      15   the 2009 response only cited studies that support    15        A Well, certainly there's citations in
      16   the case for a noncausal relationship between talc   16   here. If this is what you're asking -- again, I'm
      17   and ovarian cancer. That's not what you're           17   not -- I'm not sure what you're asking. If you're
      18   saying, correct?                                     18   asking if I'm citing to studies that have valid
      19           MR. TISI: Objection.                         19   data in them, sure.
      20           THE WITNESS: Let me read back your           20        Q No, I'm citing to what you said you were
      21   question. (Peruses monitor.)                         21   going to do. Where in your report do you identify
      22           That's -- that's not what I'm saying in      22   the valid data and analysis that the authors set
      23   this section. I mean I'm not really commenting on    23   out in the 2003 and 2007 studies and the 2009
      24   that in terms of the breadth of their causation      24   response?
      25   analysis, but this statement relates to the issue
                                                                25        A Again, as part of -- so let's back up to

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       1   of selection bias.                                    1   what the methodology is to -- I'm trying to answer
       2   BY MR. HEGARTY:                                       2   your question fully.
       3         Q At the beginning of the deposition we         3             It's an assessment of the internal
       4   talked about what you're -- you were doing in this    4   validity of these studies. So my analysis of
       5   paper, and there -- in this -- in your analysis,      5   these studies is that they have very low validity
       6   and on page 9, you -- you said that you were asked    6   overall, both of these studies. So that's the --
       7   to review and assess the validity of the data in      7   that's the focus of my report and that's what I'm
       8   claims put forward by Dr. Huncharek and               8   describing in my report is my analysis of the
       9   Dr. Muscat.                                           9   internal validity of these studies, which is very
      10           Where in your report do you discuss any      10   low.
      11   valid data that they included in their response or   11             If I was asked to do a causation
      12   their 2003 paper or their 2007 paper?                12   analysis or weight of evidence analysis or submit
      13           MR. TISI: Objection.                         13   something to FDA, I would give these studies very
      14           THE WITNESS: I'm sorry, can you repeat       14   little, if any, weight whatsoever, and would not
      15   the question?                                        15   trot them into FDA ever. So that's the focus
      16   BY MR. HEGARTY:                                      16   of -- that's the focus of my -- of my report.
      17         Q Where in your report do you identify any     17        Q You're not answering my question.
      18   valid data or assessment of the data that were put   18             My question was, point to me in your
      19   forth in the 2003 and 2007 articles and the 2009     19   report where you set out the valid analysis and
      20   response?                                            20   the valid data that the -- the articles reported
      21         A That's kind of a confusing question, but     21   and the response reported?
      22   I'll do my best to answer it.                        22             MR. TISI: Objection. Asked and
      23           So, again, you asked me initially back       23   answered.
      24   in the first session, you know, what my              24             THE WITNESS: Again, I feel like I
      25   methodology was, and I described it as a critical    25   answered your question. That was not my task. My


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       1   task was to assess the internal validity of these     1   BY MR. HEGARTY:
       2   studies. I did that, and I reported out on that       2        Q Correct?
       3   in my report.                                         3            MR. TISI: Objection.
       4   BY MR. HEGARTY:                                       4            THE WITNESS: Are you -- are you
       5        Q If you look over on page 40 of your            5   referring to the 2003 paper?
       6   report, you say in the middle of that page, the       6   BY MR. HEGARTY:
       7   paragraph beginning "On page 19" -- do you see        7        Q Yes.
       8   that?                                                 8        A I don't recall exactly if they laid it
       9        A "On page 19," yes.                             9   out that way, but I -- it is my understanding that
      10        Q You report what the Huncharek and Muscat      10   they did a causation analysis, yes.
      11   articles say, and then you say that statement is     11        Q And they concluded after that analysis
      12   incorrect, and the statement of fact by the          12   that the available observational data do not
      13   Epstein authors is correct.                          13   support the existence of a causal relationship
      14           Do you see where I'm reading?                14   between perineal talc exposure and an increased
      15        A Well, yeah, I'm just taking a look at         15   risk of epithelial ovarian cancer. That was their
      16   it. (Peruses document.)                              16   conclusion, correct?
      17        Q How is the statement by Huncharek and         17        A Well, I think in a way you're exactly
      18   Muscat -- by Huncharek -- first of all, let me
                                                                18   illustrating my point, which is sort of the point
      19   back up.
                                                                19   of this section, is the conflation of
      20           You say that Huncharek and Muscat make
                                                                20   epidemiologic concepts. Because a meta-analysis
      21   that statement. Muscat again was not an author of
                                                                21   is simply a statistical analysis. By itself, it
                                                                22   cannot prove or disprove causation. So to make
      22   that paper, did he -- was he?
                                                                23   the leap from a statistical finding to causation
      23           MR. TISI: Objection. Asked and
                                                                24   is -- is inappropriate.
      24   answered. About ten times.
                                                                25        Q Well, it's -- you can do that if you do
      25           THE WITNESS: Again, I believe we're

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       1   talking here about the PCPC report, which he is an    1   a Bradford Hill analysis, can't you?
       2   author on. But I've also addressed previously his     2        A But that's not what we're talking about.
       3   association with the data that shows up in the        3   Right now we're talking about the results of the
       4   2003 paper.                                           4   meta-analysis.
       5   BY MR. HEGARTY:                                       5        Q We're talking about what their analysis
       6       Q Okay. You note that what Epstein                6   was in their paper and their conclusions that they
       7   reports, he -- the -- the part of the report          7   drew from that paper, correct?
       8   they're referring to there is Epstein claiming        8        A Well, we started this line of
       9   that the Huncharek study supports an association      9   questioning with you pointing me to this
      10   between perineal talc dusting and ovarian cancer     10   statement, which says: "The petitioners
      11   risk. That's what you're saying there, right?        11   erroneously indicate that the meta-analysis
      12       A Let me -- let me -- let me tell you what       12   supports an association."
      13   I'm saying. Hopefully that will answer your          13            So I'm responding to that specific
      14   question.                                            14   comment and saying that is an inappropriate
      15           When a -- when the PCPC report says that     15   characterization of the results of meta-analysis.
      16   the petitioners erroneously indicate that the        16        Q All the response is doing is reporting
      17   meta-analysis supports an association, that's the    17   what the authors said from the 2003 paper.
      18   part that I'm objecting to. The meta-analysis as     18   Isn't -- aren't they?
      19   reported shows a 1.33 pooled risk estimate. So       19        A I -- I don't know what you're asking me.
      20   that is by definition a positive association.        20   I'm sorry.
      21       Q But you're aware, Doctor, that the             21        Q Well, they reported what the authors
      22   authors from the 2003 paper did more than just       22   said, which from their review of the data, it did
      23   report the odds ratios. They, in essence, did a      23   not support a causal relationship. That's what
      24   Bradford Hill analysis.                              24   the 2009 response says, correct?
      25           MR. TISI: Objection.                         25        A Are -- are we still here or are we


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       1   somewhere else now?                                  1           MS. PARFITT: Objection.
       2       Q We're still here.                              2           MR. HEGARTY: Can -- can we limit it to
       3       A So we're talking about the                     3   one person objecting?
       4   meta-analysis. We're talking about the statement     4           MS. PARFITT: Sure. But I get excited
       5   being incorrect.                                     5   every now and then. I just want to join in.
       6       Q The statement --                               6           MR. HEGARTY: I got it.
       7       A Are we talking about something                 7   BY MR. HEGARTY:
       8   different?                                           8       Q Okay. Can you answer my question?
       9       Q They didn't report an inaccurate               9       A Can you repeat it, please?
      10   statement from the 2003 meta-analysis, correct?     10       Q So it would be -- so in your opinion, it
      11       A Who is "they"?                                11   would be improper in any meta-analysis to draw a
      12       Q Drs. Muscat and Huncharek.                    12   causal conclusion from the results, correct?
      13       A Okay. Hopefully you understand why this       13           MR. TISI: I got it. Objection.
      14   is confusing. We're starting with a comment made    14           THE WITNESS: I think it's a very broad
      15   by Epstein. We have Huncharek and Muscat in the     15   question. I would have to -- I'd have to see the
      16   PCPC report responding to their comment, calling    16   context. I don't know if you're asking me if
      17   their comment inappropriate. And I'm responding     17   within the context of a meta-analysis you can do a
      18   to their comment, to Huncharek and Muscat's         18   causal assessment, but I'm sure that that could
      19   comment.                                            19   be -- that could be done.
      20       Q That's not my question. My question is        20           I think what I'm saying is that to infer
      21   simply, in the 2009 response, they accurately       21   that a single data point or a single study proves
      22   reported what the authors concluded from the 2003   22   or disproves causation is not -- is not
      23   study, correct?                                     23   appropriate.
      24       A I -- I can't just blanketly agree with        24   BY MR. HEGARTY:
      25   that. I'm not even sure what you're asking.         25       Q You just testified, and I rolled back to

                                               Page 392                                                   Page 394
       1       Q Well, they reported that the 2003 study        1   your -- your testimony, that you can't say that a
       2   did not support the existence of a causal            2   meta-analysis does not support causation. The
       3   relationship, and that's what the authors said,      3   reverse would be true as well: You can't say that
       4   correct?                                             4   a meta-analysis supports causation, correct?
       5       A Well, that's an incorrect statement.           5           MR. TISI: Objection.
       6   That's an incorrect -- that is not a                 6           THE WITNESS: Let me read -- let me read
       7   scientifically defensible assertion. You cannot      7   your question, please. (Peruses monitor.)
       8   make the leap from the results of a statistical      8           So maybe there's a misunderstanding.
       9   analysis to causation. You can't say that a          9   Let me -- let me try restating just to be clear.
      10   meta-analysis does not support causation. That's    10           You can't draw a causal conclusion from
      11   not appropriate.                                    11   a single data point from a statistical analysis.
      12       Q Okay. Cite for me authority that says         12   That's not to say that a meta-analysis can't
      13   that.                                               13   support a causal assessment. That can happen.
      14       A Any authority that talks about Bradford       14   BY MR. HEGARTY:
      15   Hill, that talks about causation -- I mean we all   15       Q But in the meta-analysis itself where
      16   know what a causation analysis is, hopefully, but   16   the authors draw from the data -- a single data
      17   we can go through that. I mean it's the             17   point, it would be improper, according to you, to
      18   evaluation of different lines of evidence to        18   draw the conclusion that it either supports or it
      19   address a question. One single data point cannot    19   doesn't support a causal relationship, correct?
      20   address causation. A single meta-analysis cannot    20           MR. TISI: Objection.
      21   address causation.                                  21           THE WITNESS: Again, with the caveat --
      22       Q So in your opinion, it would be improper      22   I would say, yes, with the caveat that it depends
      23   in any meta-analysis to draw a causal conclusion    23   on how that's said. It depends if you're saying
      24   from the results, correct?                          24   the meta-analysis is, you know, one line of
      25           MR. TISI: Objection.                        25   evidence in support of a causation or if you're


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       1   saying from this meta-analysis, we cannot infer       1   that's what I wouldn't do. That that's not
       2   causation. Those are actually two different           2   something that I would do.
       3   things.                                               3       Q What's not something that you would do?
       4   BY MR. HEGARTY:                                       4       A Jump from a nonstatistically significant
       5       Q And the latter would be improper,               5   finding to a causal assessment. Those are two
       6   according to you, correct?                            6   entirely different things.
       7           MR. TISI: Objection.                          7       Q But you're saying that an odds ratio as
       8           THE WITNESS: Again, yes, I would say --       8   reported here does show an association. That is,
       9   I just want to be clear because this has been like    9   a 0.99 to 1.4 with an odds ratio of 1.99 does show
      10   a very confusing line of questioning -- that it      10   an association.
      11   would be inappropriate in my opinion to draw a       11       A Absolutely correct, that's a positive
      12   causal assessment based on the results of a single   12   association.
      13   statistical analysis like a meta-analysis. That's    13       Q Is it your opinion that the -- that the
      14   not to say that it can't contribute. That's not      14   finding of 1.19 with a confidence interval of 0.99
      15   to say that a meta-analysis paper doesn't do a       15   to 1.4 shows an association between talc use and
      16   broader causal assessment. So there's -- there's     16   ovarian cancer in the hospital-based studies?
      17   a lot of context to that question.                   17       A Yes, I would interpret that odds ratio
      18   BY MR. HEGARTY:                                      18   as a 19 percent increased risk.
      19       Q If you'd turn over to page 41 of your          19       Q And is it your contention that such a
      20   report, please.                                      20   conclusion has been generally accepted in the
      21           You cite a portion of the PCPC report on     21   epidemiologic community?
      22   that page beginning with "Two meta-analyses" -- do   22       A Sure. Absolutely. I mean, I think
      23   you see that?                                        23   there's a lot of -- a lot that's been written
      24       A Yes.                                           24   about certainly the difference between the
      25       Q And you say that: "The report says that        25   magnitude of an estimate and statistical

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       1   both showed significant differences in summary        1   significance and hypothesis testing.
       2   odds ratios between population-based and              2           And, you know, even the American
       3   hospital-based case-control studies, with the         3   Statistical Association recently came out with a
       4   latter showing generally no results." You then go     4   whole diatribe on how, you know, we need to get
       5   and say: "That statement is false."                   5   away from the overreliance on -- on statistical
       6            What is false about that statement?          6   significance. So, I think absolutely. These are
       7        A I think again I'm -- if you will read          7   two entirely different concepts, and, by
       8   further down, I'm referring to the subgroup           8   definition, that's a positive association.
       9   analysis of the 1.19 odds ratio, and that that is     9       Q And you say that the textbook you cite
      10   not a null finding.                                  10   supports that statement.
      11        Q Okay, so I want to make it clear.             11       A Yes, it does.
      12            It's your testimony that the odds           12       Q At the top of page 43 of your report,
      13   ratio -- an odds ratio of 1.19 with a confidence     13   you say: "The authors assert that weak
      14   interval of 0.99 to 1.4 is not a null result?        14   associations are intrinsically susceptible to
      15        A That's correct. That is a positive            15   bias."
      16   association by textbook epidemiology.                16           That's a true statement, isn't it?
      17        Q Okay. Cite for me a textbook that says        17       A No, I don't -- I don't agree with that.
      18   that.                                                18   I mean, I think that you have to do an analysis of
      19        A I did. Moise Desvarieux.                      19   the study that produced that particular risk
      20        Q Cite for me where it's been generally         20   estimate. You can have a very modest association
      21   accepted that you can conclude with a                21   that's highly valid and highly reliable and very
      22   nonstatistically significant finding that there's    22   low risk of bias, and you can have a very elevated
      23   a causal association from the -- between the         23   risk estimate that's very -- very susceptible to
      24   exposure and the disease.                            24   bias or high risk of bias. So I don't think you
      25        A I think I just testified that -- that         25   can just make those kinds of blanket


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       1   characterizations.                                    1   association in a study, the greater there is
       2       Q Tell me if you agree with the following         2   for concern -- the greater the concern there is
       3   statement: "Although lower risks -- lower             3   that bias or confounding could be the reason for
       4   relative risks can reflect causality, the             4   the association?
       5   epidemiologists will scrutinize such associations     5           MR. TISI: Objection.
       6   more closely because there is a greater chance        6           THE WITNESS: Again, I would say -- I
       7   that they are the result of uncontrolled              7   think I've said that's contextually dependent. I
       8   confounding or biases."                               8   mean, I would need to look at the body of
       9           MR. TISI: Objection.                          9   literature and understand what the risks of bias
      10           THE WITNESS: I'm just going to read it       10   are.
      11   back, if that's okay. (Peruses monitor.)             11   BY MR. HEGARTY:
      12           You know, I -- I think that that's one       12        Q Well, bias can explain a finding of a
      13   of those quotes or -- or statements that I           13   relative risk or an odds ratio of 1.2, correct?
      14   think -- I think could be true. I personally take    14           MR. TISI: Objection.
      15   the position that I'm evaluing -- evaluating every   15           THE WITNESS: Bias can explain -- I
      16   study with the same methodology and the same         16   mean, depending upon the nature of the bias, you
      17   rigor, regardless of what the magnitude of the       17   can have all kinds of effects to -- on the point
      18   point estimate is.                                   18   estimate. So bias can explain a finding of 1.2,
      19           So I think that, you know, that              19   of 1.5, of 4.0. You know, it depends again on the
      20   undertaking of an analysis of internal validity      20   specific -- specific study and the specific risks
      21   and risk of bias should happen in -- irrespective    21   of bias that are -- are at play.
      22   of what the magnitude of the risk estimate is.       22   BY MR. HEGARTY:
      23   BY MR. HEGARTY:                                      23        Q If you turn over to the Conclusion
      24       Q Tell me if you agree with the following        24   section on page 45, in the second to last
      25   statement: "When considering bias and                25   statement -- or the second to the last sentence


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       1   confounders, the weaker the association, the          1   makes the statement that: "Any conclusion" --
       2   greater the concern that bias or confounding could    2   make sure I read this right.
       3   be the reason for the association."                   3           You say: "Any conclusion reached on
       4           MR. TISI: Objection.                          4   dose-response, uncontrolled confounding or
       5           THE WITNESS: I'm sure I've seen -- I've       5   selection bias that relied upon or were influenced
       6   seen that written, and I'm sure I can understand      6   by data analysis, opinions or conclusions
       7   why someone would write that. But, again, you         7   presented within these studies and report, are at
       8   know, it really depends upon the question being       8   a high risk of bias."
       9   asked.                                                9           Did I read that correctly?
      10           If we're looking at a body of literature     10       A You did.
      11   where we have really very little concern about       11       Q First identify any such conclusions that
      12   confounding, then I wouldn't be scrutinizing a low   12   relied on or were influenced by either the 2003 or
      13   or modest relative risk and having extra concern     13   2007 papers or the 2009 submission.
      14   about confounding. So it's very -- it's very         14       A Again, I think we went through this
      15   contextually dependent.                              15   before. We know that these data were presented to
      16           I think the intent there is to say that      16   FDA, advocated to FDA at different times, so we
      17   not knowing anything, you know, and just in a        17   know that FDA reviewed these data. So I think
      18   vacuum, if we don't know anything about a            18   that certainly we can say FDA considered these
      19   particular research question, and we have a more     19   data as part of their decision-making.
      20   modest relative risk, we want to be sure that we     20       Q That's not my question, Doctor.
      21   adequately address the risks of bias. But again,     21           My question is, identify any conclusions
      22   I take the position that we should be doing that     22   that relied on or were influenced by either the
      23   no matter what.                                      23   2003 or 2007 papers or the 2009 submission.
      24   BY MR. HEGARTY:                                      24       A Again, I would presume that FDA's
      25        Q So do you agree that the weaker the           25   conclusions relied upon this data because they --


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       1   they stated their intent to review it carefully,      1   regard to a safety issue with any product.
       2   they posted it to the docket. They obviously          2       A I definitely have. I -- you know, I'm
       3   considered this as part of their decision-making      3   not sure I can name names at the moment. But I --
       4   process.                                              4   I absolutely have.
       5        Q Who at FDA relied on either of these           5       Q Well, name a product.
       6   documents?                                            6       A I can't -- I'm not sure I can name a
       7        A Again, I think we went through this            7   product either based on confidentiality.
       8   before, that I, you know, certainly can't pinpoint    8       Q Can you name a product without
       9   who specifically did the review. You know, we can     9   confidentiality?
      10   talk about who was on the denial letter, but we      10       A Well, I can name product categories. I
      11   don't have a lot of detail about how FDA conducted   11   can talk about cardiac rhythm technologies. I can
      12   their review, who reviewed what, how much weight     12   talk about lung imaging technologies.
      13   they gave to things specifically. You know, we --    13       Q Doctor --
      14   we went through that before.                         14          MR. TISI: She's trying -- she's not
      15        Q What was the extension -- extent of           15   finished.
      16   their reliance?                                      16          THE WITNESS: I'm trying to answer your
      17        A Again, I -- I have no personal knowledge      17   question.
      18   of exactly how much weight they gave to any pieces   18          MR. HEGARTY: Well, she's not answering
      19   of evidence. But again, you know, my supposition     19   my question.
      20   based on -- it's my opinion that they did rely on    20          MR. TISI: Well, but you -- but you --
      21   these data in a meaningful way based on the          21   but she said -- Counsel --
      22   language in their -- the language in their denial    22   BY MR. HEGARTY:
      23   letter. The fact that we don't see a lot of other    23       Q If you're --
      24   citations -- I mean, again presumably, FDA would     24          MR. TISI: -- you asked her a question
      25   in making their decision-making publish and          25   about communications with the FDA under any

                                                Page 404                                                 Page 406
       1   produce other pieces of -- of evidence that they      1   circumstances and you asked her categories, and
       2   relied upon. So the prominence that this data has     2   she's answering. You got to let her answer.
       3   on the docket, you know, and any other documents      3   BY MR. HEGARTY:
       4   leads me to believe that they did rely upon it.       4        Q If you're communicating with FDA, that
       5        Q Well, why don't you cite for us your           5   communication is not confidential or protected.
       6   extensive experience in dealing with FDA when         6   Is that what you're -- is that the position you're
       7   they're considering a Citizen Petition.               7   taking?
       8        A Again, I think I've been very honest           8           MR. TISI: Actually, that's not true,
       9   about my opinion about this and my experience with    9   Counsel, and you know that. In many instances
      10   this. I don't have any direct experience. I'm        10   it's protected from -- from competitors.
      11   basing it on my review of -- of the docket, of the   11   Absolutely it is. Absolutely it is.
      12   denial letter. That's --                             12           MR. HEGARTY: I don't agree, and we're
      13        Q Cite for me all your experience in            13   not -- that's not --
      14   communicating with FDA about any product.            14           MR. TISI: Absolutely. Well --
      15        A Again, I am in the business of helping        15   BY MR. HEGARTY:
      16   clients submit data to FDA. So from that             16        Q I'm just asking if that's your opinion.
      17   perspective, I do have expertise. I understand       17        A My opinion is that any work that I do on
      18   the kinds of things that FDA looks for. I don't      18   behalf of my clients working with -- with
      19   have any specific communication with FDA over a      19   regulatory agencies or with regulatory consultants
      20   Citizen Petition, if that's what you're asking me.   20   or in any capacity is -- is confidential, yes.
      21        Q You have never had any direct                 21        Q You have never communicated with the FDA
      22   communication with anyone at FDA ever, have you?     22   about a Citizen Petition, correct?
      23        A That is not accurate.                         23        A I believe that is correct.
      24        Q Tell me when -- cite for me any instance      24        Q You have no personal knowledge of
      25   when you've had direct communication with FDA with   25   anything the FDA did with regard to evaluating the


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       1   2008 and 1994 Citizen Petition, do you?               1   support an opinion that FDA was influenced by the
       2       A I believe I have answered that                  2   2009 and -- response and the 2003 and 2007 papers?
       3   repeatedly, yes.                                      3       A Well, again, I think it supports -- it
       4       Q And what is your opinion based on that          4   supports that they reviewed that and considered
       5   you said -- where you said that they did rely on      5   that as part of their decision-making.
       6   the 2003 and 2007 papers and the 2009 submission?     6       Q Okay. Can you list for me everything
       7       A Again, I think I've already answered            7   they reviewed and considered?
       8   that repeatedly.                                      8       A Again, we went -- we went through this
       9       Q It's only -- it's only what's in the            9   before. But, no, because there's really a lack of
      10   2014 denial letter, correct?                         10   detail in the denial letter about what their
      11       A That's not correct. I believe I cited          11   process was and -- and what specifically they
      12   the meeting that the PCP -- PCPC and J&J had with    12   reviewed.
      13   FDA, and the docket as well.                         13           But, again, you know, in my opinion as
      14       Q And where do you cite those?                   14   an expert, I would have expected them to -- to
      15       A In here, in my report.                         15   provide detail on -- on the things that they
      16       Q Show me.                                       16   reviewed, and they don't provide a lot of -- a lot
      17       A Let's see. (Peruses document.)                 17   of other documents, but they do specifically refer
      18          So, in "Other documents considered,"          18   to -- refer to this, and this exists on the
      19   number 1 is the e-mail from John Bailey regarding    19   docket.
      20   the meeting with FDA.                                20       Q How many responses to citizen petitions
      21          And I believe the docket is -- is cited       21   have you read?
      22   in here as well.                                     22       A I'm not certain.
      23       Q Where is it cited?                             23       Q Can you cite for me any other response
      24       A You want me to look for it?                    24   to a Citizen Petition you've read by FDA?
      25       Q Yes.                                           25       A I believe I've read some around tobacco


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       1        A It's either in a footnote or it's cited.       1   products.
       2   I'm trying to think of where. (Peruses document.)     2       Q Okay. Cite for me one product.
       3        Q How much time do you need, Doctor?             3           MR. TISI: Objection.
       4        A I think it's -- I'm not certain, but           4           THE WITNESS: I -- I can't recall
       5   I -- I think it's footnote 3 on page 8.               5   specific products.
       6            MR. TISI: Correct.                           6   BY MR. HEGARTY:
       7            MR. HEGARTY: Are you saying "correct"        7       Q If you would turn to page 6 -- I'm
       8   for her?                                              8   sorry, return to Exhibit 6.
       9            MR. TISI: What? I'm sorry.                   9           MR. HEGARTY: Would you hand her
      10            MR. HEGARTY: Did you say "correct"?         10   Exhibits 6 and 7, please.
      11            MR. TISI: I -- I just answered the --       11           MR. TISI: I've got it here, 6. Here
      12   I'm sorry.                                           12   is 6. And I don't -- I don't see 7.
      13            MR. HEGARTY: And when I said, Did you       13   BY MR. HEGARTY:
      14   just say "correct," I was referring to counsel for   14       Q First, as to page 6 --
      15   the plaintiff.                                       15           MR. TISI: I don't -- I don't have 7.
      16            MR. TISI: No, she -- she said,              16   I'm sorry. Hold on. Do you need both --
      17   "Correct." She said, "Correct."                      17           MR. HEGARTY: Well, we'll start with
      18   BY MR. HEGARTY:                                      18   page -- we'll start with Exhibit 6.
      19        Q Where on page 3?                              19   BY MR. HEGARTY:
      20        A I'm sorry, I said page 8, footnote 3.         20       Q First is Exhibit 6.
      21        Q Your -- your contention is that's where       21           Can you cite for me any other occasion
      22   that cite is to?                                     22   when you've written to a journal who published an
      23        A I believe so.                                 23   article asking for the procedure for reporting on
      24        Q And how does being on -- being on the         24   concerns that you identified in that article?
      25   docketing statement in the letter from John Bailey   25       A I may have. I don't recall.


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       1        Q You have never written a Letter to the         1       Q Are there any plans to do it going
       2   Editor identifying concerns that you have             2   forward?
       3   identified with regard to any article, have you?      3       A There are plans to do it going forward.
       4        A Well, I'm recalling one, but I just want       4       Q When?
       5   to be accurate. I'm going to just flip to my CV       5       A I can't answer that.
       6   real fast. I want to make sure I accurately           6       Q Well, there's -- is there anything --
       7   characterize it. (Peruses document.)                  7   any timetable set up?
       8            So I'm just recalling the chondrolysis       8       A No, because I'm just doing it on my own
       9   article, and I -- I'm just not sure if it was a       9   time, so it has to be worked in.
      10   Letter to the Editor or not. So...                   10       Q Also, with regard to Exhibit No. 7,
      11        Q And what page are you looking at?             11   which is the one we can't find but I'll hand you
      12        A Page 58.                                      12   my copy, that's another correspondence that you
      13        Q Which reference?                              13   had with regard to either the 2003 or 2007 paper.
      14        A The Hasan paper, the chondrolysis paper.      14          Has there been any further
      15   It's at the very top, it's the first one.            15   correspondence with that journal since the last
      16        Q Do you think that's a Letter to the           16   dated e-mail there?
      17   Editor commenting on the -- on concerns you've had   17       A No. I would say same answers.
      18   with another article?                                18       Q You also mentioned earlier that when you
      19        A I don't recall. I'm just saying I don't       19   were asked if you were going to submit your report
      20   recall the format of that article. It may be.        20   to be peer reviewed, you said, "Not yet."
      21   It's been a while. I'm trying to -- to recollect.    21          Do you have any plans to do that?
      22        Q Other than that possible article, can         22       A Well, again, I think a lot of what's in
      23   you cite for me any other occasion you've written    23   my report could potentially fall within the
      24   a Letter to the Editor criticizing or commenting     24   purview of a Letter to the Editor, but I'm still
      25   on what another author or authors wrote in a         25   evaluating what format I'll -- I'll do that.

                                               Page 412                                                   Page 414
       1   paper?                                                1        Q Well, have you written your report in a
       2       A Not that I can recall.                          2   different format?
       3       Q The last communication with the                 3        A No, I haven't.
       4   publication listed in Exhibit No. 6 is dated          4        Q Have you -- do you have any timetable
       5   December 4, 2018.                                     5   for submitting your report in its current or a
       6           Has there been any further communication      6   different format?
       7   or activity with regard to this journal?              7        A Not yet.
       8       A I don't believe so.                             8        Q You reviewed for purposes of your report
       9       Q Have you drafted a response to the              9   three documents: The 2003, the 2007 articles, and
      10   article, the 2000 -- first of all, does this         10   the 2009 response. Correct?
      11   concern the 2003 or the 2007 article?                11        A Correct.
      12       A Well, it would concern both, but I'm not       12        Q In those documents there are references
      13   sure. This one looks like it's to the European       13   to multiple other articles including case-control
      14   Journal of Cancer Prevention.                        14   studies, correct?
      15       Q And that's the 2007 article?                   15        A I would presume that would be correct.
      16       A Right, but I think it's also the 2011          16        Q Did you review any of those other
      17   article, if I recall correctly.                      17   articles or any other articles with the same
      18       Q Have you written or has anybody at your        18   critical eye that you reviewed the 2003 and 2007
      19   office written a Letter to the Editor or other       19   articles or the 2009 response?
      20   proposed submission to either of these journals      20        A Again, that wasn't my -- that wasn't my
      21   with regard to the 2003 or 2007 papers?              21   task. That wasn't my charge to do, you know, a
      22       A I have not done anything yet. I've             22   broad evaluation of the entire evidence base.
      23   been -- been a little busy.                          23           So I think we talked about previously
      24       Q Has anybody in your office done that?          24   that, you know, my focus was really a critical
      25       A No.                                            25   appraisal of these studies that industry put


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       1   forward to FDA, to the medical and scientific         1   BY MR. HEGARTY:
       2   community, around the causal or lack -- their         2       Q Is that correct?
       3   position of the lack of causal association between    3           MR. TISI: Objection, Counsel. Improper
       4   talc and ovarian cancer. So that was my focus.        4   question.
       5   It was not a broader focus than that.                 5           MR. HEGARTY: No, it's not --
       6       Q Well, did any -- anything prevent you           6           MR. TISI: It is. She's --
       7   from looking at the Cramer 1999 study and doing       7           MR. HEGARTY: It's not improper.
       8   the same thing with that study as you did with the    8           MR. TISI: She's not here to -- to --
       9   2003 Huncharek study?                                 9   BY MR. HEGARTY:
      10       A Well, again, I mean certainly that could       10       Q No, I'm going to put on the record, I'm
      11   be done, but that was not -- that was not my task,   11   asking you to do the analys- -- same analysis you
      12   that was not my charge.                              12   did on the --
      13       Q Did you ask to be able to do that?             13           MR. TISI: And I'm going to object as an
      14           MR. TISI: Objection. Communications          14   improper question.
      15   with counsel.                                        15   BY MR. HEGARTY:
      16           THE WITNESS: No.                             16       Q Well, if you say to me that I have the
      17           MR. TISI: I'm sorry. Communications          17   ability to give it to you to do the analysis, I'm
      18   with counsel.                                        18   going to give those studies to you and expect the
      19   BY MR. HEGARTY:                                      19   analysis.
      20       Q Could you have done that?                      20           MR. TISI: Well, and then I'm going to
      21       A Well, certainly that could be done as          21   ask you to have your experts be available to me so
      22   part of a larger weight of evidence or a causation   22   that I can speak to them about an analysis that
      23   analysis or, you know, any paper could be -- could   23   they've done. Improper question.
      24   be critically reviewed, but this had a very          24           You don't have to --
      25   specific focus.
                                                                25           MR. HEGARTY: My expert --

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       1       Q And that very specific focus was what           1           MR. TISI: You don't have to answer that
       2   plaintiffs' counsel gave to you, correct?             2   question.
       3       A That's not how I characterized it.              3           MR. HEGARTY: My expert didn't offer to
       4   Again, I characterized it as the key literature       4   do the analysis.
       5   that industry put forward to FDA, which is very       5           MR. TISI: You don't have to answer that
       6   important to support very important points around     6   question because -- because you're not being
       7   a causal analysis related to this question.           7   retained by Mr. -- Mr. Hegarty's client to do the
       8       Q Well, you made reference in your report         8   analysis that -- that he's asking you to do on the
       9   to the Chang study. Did you go to the Chang study     9   spot here.
      10   and see if they did that study properly?             10           MR. HEGARTY: Let's go off the record.
      11       A Again, no. But had you put forward             11   I need to coordinate with transferring the -- the
      12   Chang, I would have done the same review.            12   witness for the remaining time. Off the record.
      13       Q How long would that have taken?                13           THE VIDEOGRAPHER: The time is 2:48
      14       A I don't know.                                  14   p.m., and we're going off the record.
      15       Q You referenced the Harlow study and said       15           (Recess.)
      16   they didn't talk about the Harlow study. Did you     16           THE VIDEOGRAPHER: The time is 2:55
      17   do an analysis of the Harlow study to see if it      17   p.m., and we're back on the record.
      18   was valid and reliable?                              18              DIRECT EXAMINATION
      19       A Again, same answer: Not my charge, not         19   BY MR. KLATT:
      20   my task. Had -- had industry put that forward as     20       Q Good afternoon, Doctor. My name is Mike
      21   their key evidence, I would have done the same       21   Klatt, and I represent Imerys Talc America in this
      22   review as I did here.                                22   matter.
      23       Q So if I ask you to do those reviews, you       23           By your own testimony back on
      24   will do it?                                          24   January 11th, 2019 -- which was the first session
      25           MR. TISI: Objection.                         25   of the deposition, right?


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       1        A Correct.                                       1   done for the Huncharek and Muscat articles and
       2        Q -- and today, you said you performed           2   submission, correct?
       3   what you described as a critical analysis of three    3        A Well, I'm not sure about your -- your
       4   Huncharek or Muscat articles and one submission by    4   terminology, but what I will agree to is that I
       5   them to the FDA; is that correct?                     5   wasn't tasked with doing that, and therefore,
       6        A Correct.                                       6   you're correct, I did not -- I did not do a
       7        Q Now, to date, as we sit here in February       7   critical appraisal of the broader evidence base on
       8   2019, you'd agree with me that there's been well      8   talc and ovarian cancer.
       9   over two dozen studies published, whether they're     9        Q Now, have you or any of your employees
      10   prospective studies, retrospective studies, cohort   10   at TTi or anyone else acting at your direction
      11   studies, case-control studies, meta-analyses, on     11   sent e-mails or otherwise communicated with the
      12   genital use of talc and ovarian cancer?              12   editors of any of the journals that have published
      13           MR. TISI: Objection.                         13   these over two dozen studies relating to talc and
      14           THE WITNESS: I would say that, first of      14   ovarian cancer?
      15   all, I wasn't tasked with a broader review of the    15        A I'm sorry. Are you asking specifically
      16   literature, so I -- I'm sure I can agree that        16   related to these studies?
      17   there's a broader literature out there, but I        17        Q Correct.
      18   can't speak to specifically what exists.             18        A Not to my knowledge.
      19   BY MR. KLATT:                                        19        Q In Exhibits 6 and 7, you communicated
      20        Q Well, Doctor, you cite over 24 of those       20   with two journals specifically requesting
      21   studies in your report, in your references or        21   corrections or retractions of Huncharek and Muscat
      22   materials considered, right?                         22   articles on talc and ovarian cancer, correct?
      23        A Again, I'm going to rely on you for the       23        A Well, again, I haven't looked at those
      24   number, but certainly, you know, to the extent       24   in a long time, so just to your language, I'm not
      25   that studies were cited within these articles,       25   sure that we were calling for the retraction as

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       1   yes, that's correct.                                  1   much as we were requesting the process, to
       2        Q I mean on page 46 through 50 of your           2   understand their process.
       3   report, I can just read them out. Purdie, 1995;       3        Q Doctor, I'm looking at Exhibit 6, and
       4   Chang, 1997; Cramer, 1995; Green, 1997; Wong,         4   the subject is "Re: Inquiry about European
       5   1999; Booth, 1989; Harlow, 1992; Cook, 1997;          5   Journal of Cancer Prevention Retraction."
       6   Cramer, 1982; Harlow, 1989; Ness, 2000;               6           And Exhibit 7, the e-mail is "Inquiry
       7   Rosenblatt, 1992; Whittemore, 1998; Chen, 1992;       7   About Retraction, Any Cancer Research Feedback
       8   Cramer, 1999; Gertig, 2000; Godard 1998; Tzonou,      8   Form." Correct?
       9   1993; Hartge 1983; Gates, 2010; Gates, 2008; Gross    9        A Sorry, I'm trying to put my hands on --
      10   and Berg, 1995; Langseth, 2004; Langseth, 2008;      10           MR. HEGARTY: We have 6. We don't have
      11   Mills, 2004; Terry, 2013.                            11   7.
      12           These are all studies regarding talc and     12           MR. TISI: I thought you gave her your
      13   ovarian cancer that you cited on pages 46 to 50 of   13   copy of 7.
      14   your report, correct?                                14           MR. HEGARTY: I gave that back to --
      15        A I -- I'm going to agree that, you know,       15   here is Exhibit 7. He just put Exhibit 6 to your
      16   without looking at it, that you read that            16   left.
      17   correctly. I mean certainly again any studies        17           THE WITNESS: Thank you.
      18   that relate to my analysis of these particular       18           Right. So I think you read the title of
      19   articles, sure, would absolutely be in my work       19   one of the e-mails, and then later in the e-mail,
      20   cited.                                               20   you know, the body of the e-mail it says, you
      21        Q And you said in response to                   21   know, what are -- what are the possible steps to
      22   Mr. Hegarty's questions a short time ago that        22   report these findings to the scientific community?
      23   you've not done the same sort of fly specking        23   You know, is there a way to request a retraction?
      24   critical analysis of any of these other papers or    24   Are there any other methods that you would
      25   studies of talc and ovarian cancer that you've       25   suggest?


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       1           So my characterization of the e-mails         1       A So just to make sure I understand your
       2   would be to inquire to the journals as to what        2   question, I assume you're asking that question
       3   their process is for handling these kinds of          3   specifically related to those studies.
       4   issues.                                               4       Q And the communications that you or those
       5   BY MR. KLATT:                                         5   acting at your direction have had with the editors
       6       Q And you've not attempted and no one             6   of the journals that have published the Huncharek
       7   acting on your behalf has attempted in any way to     7   and/or Muscat articles.
       8   insert themselves, to tamper, monkey, meddle with     8           MR. TISI: Objection.
       9   any of the other published literature on talc and     9           THE WITNESS: I'm sorry, I lost that --
      10   ovarian cancer other than these specific Huncharek   10   I lost that line.
      11   and Muscat articles, correct?                        11   BY MR. KLATT:
      12           MR. TISI: Objection to your -- to your       12       Q Let me start over.
      13   question.                                            13       A Thank you.
      14           THE WITNESS: Again, I'm not agreeing         14       Q You've communicated or people acting at
      15   with your characterization of -- of the work that    15   your behalf have communicated with the editors of
      16   I did.                                               16   journals that have published Huncharek and/or
      17           But, again, my task was very focused on      17   Muscat studies requesting the procedures to
      18   these specific studies, and so I did not do that     18   request corrections or retractions of those
      19   broader analysis, nor would I have the basis at      19   specific articles, correct?
      20   this point in time to do that. So the answer to      20       A Correct.
      21   your question is no. Again, not agreeing with        21       Q Neither you nor anyone else acting at
      22   your characterization.                               22   your direction has had any communication with the
      23   BY MR. KLATT:                                        23   over two dozen other prospective cohort studies,
      24       Q You've had no other communication and no       24   retrospective case-control studies or other
      25   one acting on your behalf has had any other          25   meta-analyses dealing with talc and ovarian cancer

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       1   communication with any of the editors of the          1   to request any sort of corrections or retractions
       2   journals publishing the articles on talc and          2   of those articles, right?
       3   ovarian cancer, whether prospective studies,          3       A That's correct. We -- we -- it feels
       4   retrospective case-control studies or                 4   like the same question as before, but, yes, that's
       5   meta-analyses, requesting any sort of retraction      5   correct.
       6   or correction of any of those articles, right?        6           MR. KLATT: Thank you.
       7           MR. TISI: Objection, other than these         7           MR. LOCKE: Let me -- oh, I was just
       8   two.                                                  8   going to try to shoot between the two of you. But
       9   BY MR. KLATT:                                         9   thanks. Thanks.
      10       Q Other than the two Huncharek and Muscat        10              DIRECT EXAMINATION
      11   articles that you have --                            11   BY MR. LOCKE:
      12           MR. TISI: Well, there's actually four        12       Q Doctor, my name is Tom Locke. I
      13   Muscat and Huncharek articles.                       13   represent the Personal Care Products Council. I
      14   BY MR. KLATT:                                        14   have relatively few questions for you.
      15       Q Other than the Huncharek and Muscat --         15       A Okay.
      16           THE VIDEOGRAPHER: Counsel, your              16       Q Epidemiology is a field that takes years
      17   microphone fell off.                                 17   of academic training to learn; is that correct?
      18   BY MR. KLATT:                                        18       A I would say that's true, yes.
      19       Q Other than the three Huncharek and             19       Q How long did it take you to earn your
      20   Muscat articles and the submission, you and no one   20   doctorate in epidemiology?
      21   acting on your behalf has attempted to contact any   21       A Four years.
      22   of the editors of any of the journals that have      22       Q And you had a master's degree that was
      23   published the prospective cohort studies, the        23   related prior to that; is that correct?
      24   retrospective case-control studies or the other      24       A That's correct.
      25   meta-analyses of talc and ovarian cancer, correct?   25       Q And you conducted postdoctoral


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       1   epidemiology training after you obtained your         1   larger -- the concepts that you're talking about,
       2   doctorate?                                            2   I think those are more epi -- epidemiological,
       3       A That's correct. I had a post-doc at             3   methodological -- sorry, it's been a long day --
       4   Johns Hopkins.                                        4   concepts.
       5       Q Only a person with epidemiological              5   BY MR. LOCKE:
       6   training would be able to determine an error -- an    6        Q So it takes someone with epidemiological
       7   epidemiologic error in an epidemiologic study; is     7   training to analyze a report or study like what
       8   that correct?                                         8   Drs. Huncharek and Muscat did in 2009 and identify
       9           MR. TISI: Objection. Calls for                9   if there are problems with that study.
      10   speculation.                                         10            MR. TISI: Objection.
      11           THE WITNESS: I don't know that I would       11            THE WITNESS: Again, I'm going to kind
      12   necessarily agree with that. I mean, I think         12   of -- it's kind of an amorphous question, right?
      13   people have different levels of training and         13   I mean there's people with a lot of epidemiologic
      14   different levels of experience working in the        14   training. There's people who practice
      15   field. So I think that's probably not exactly        15   epidemiology who are clinicians who have learned
      16   true.                                                16   on the job. So your specific question was about
      17   BY MR. LOCKE:                                        17   training, and I would say there's probably some
      18       Q Well, when you say "working in the             18   exceptions to that.
      19   field," let me just ask you -- well, let's break     19   BY MR. LOCKE:
      20   it down.                                             20        Q Well, people are going to have to
      21           Could an ordinary high school graduate       21   understand epidemiology pretty well in order to
      22   read a study or paper like Dr. Huncharek and         22   identify the errors that you've identified; is
      23   Dr. Muscat's 2009 submission to the FDA and          23   that correct?
      24   identify the errors that you claim to have found?    24        A I would say that's certainly true of
      25           MR. TISI: Objection.
                                                                25   some of the errors, yes.


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       1           THE WITNESS: Well, I would say some of        1       Q Well, referring specifically to the
       2   them, probably yes. I would think probably just       2   epidemiologic errors, is that true with respect to
       3   about anyone could do like a crosscheck between       3   the epidemiologic errors? I'm not talking about
       4   the data reported in the study and the data           4   typos or misspellings or those kinds of things.
       5   reported in the original studies. So I think          5       A I'm sorry, can you repeat your question
       6   certain errors, it's possible.                        6   or rephrase?
       7   BY MR. LOCKE:                                         7       Q Sure.
       8       Q Are you talking about typographic               8           I'm asking you, you know, it's not a --
       9   errors?                                               9   you're going to have to have epidemiological
      10       A No, I was talking about the number of          10   experience or training in order to identify the
      11   errors, the abstraction errors.                      11   types of epidemiologic errors that you contend are
      12       Q So in your opinion, it does not take an        12   contained in the 2009 submission drafted by
      13   expert in epidemiology to be able to look at         13   Drs. Huncharek and Muscat?
      14   relative risks, ORs, all the other types of          14       A So I would agree with -- I -- I will
      15   terminology and -- to identify the errors that       15   sort of agree with your statement because, again,
      16   exist -- that you contend exist in Dr. Huncharek     16   I'm thinking of the exceptions. You know, I have
      17   and Dr. Muscat's report?                             17   people who work for me who have bachelor's
      18           MR. TISI: Objection.                         18   degrees, and they wouldn't necessarily have
      19           THE WITNESS: Well, no, I don't think         19   specific training in epidemiology, but I sure am
      20   that's exactly what I was saying. I think you        20   impressed with what they're able to pick out from
      21   asked me could someone with a high school            21   these studies.
      22   education pick out any of the errors, and I was      22           So I'm just saying, you know, I might
      23   simply pointing out that I think there's some of     23   generally agree with you, but I don't think that
      24   the errors that they could probably identify.        24   holds true all of the time.
      25           But, you know, with regard to the            25       Q And the people that work for you,


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       1   they're working for a post -- a person with           1   would say, no, because to me that gets to intent,
       2   postdoctorate training in epidemiology. That's        2   but I think that taking the facts of the
       3   their job is to work in and on epidemiologic          3   studies -- I'm definitely speaking to the facts as
       4   matters, correct?                                     4   they exist with regard to scientific standards.
       5       A That is true, correct.                          5   BY MR. LOCKE:
       6       Q Do you know whether PCPC in 2009                6       Q Are you a medical ethicist?
       7   employed persons with epidemiological training        7       A No.
       8   like yourself?                                        8       Q Are you a scientific ethicist?
       9       A No, I couldn't say.                             9       A No, I wouldn't characterize myself that
      10       Q Earlier today you stated that                  10   way.
      11   Drs. Huncharek -- or that Dr. Huncharek and          11       Q Are you a legal ethicist?
      12   Dr. Muscat's material was misleading. Let me just    12       A No.
      13   stop there.                                          13       Q You're not offering an opinion regarding
      14           Is that an accurate characterization of      14   whether a person or entity may submit materials to
      15   what you had said about their work?                  15   the FDA; is that correct?
      16       A Yes, I think that there are aspects of         16           MR. TISI: Objection.
      17   their -- of their reports that are misleading,       17           THE WITNESS: I'm not sure I understand
      18   that's correct.                                      18   the question.
      19       Q Let me ask you -- but you also testified       19   BY MR. LOCKE:
      20   that you had no idea what their intent was; is       20       Q Well, are you offering an opinion
      21   that correct?                                        21   regarding whether it's appropriate for a person or
      22       A That's correct. I mean, I can't know,          22   entity to submit materials to the FDA?
      23   you know, did they intend to mislead or was there    23       A No, I'm not.
      24   just, you know, not good quality control, massive    24       Q When did you first work on talc and
      25   errors. I mean, I can't know what their intent       25   ovarian cancer epidemiology issues in any

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       1   was. I can simply state what I'm able to discern      1   capacity?
       2   as -- as an expert reviewing -- reviewing these       2        A I think I previously stated that I can't
       3   papers.                                               3   be certain that I never read any of these papers
       4        Q So would it be better to use the word --       4   before, just having worked in the area of cancer
       5   or strike that.                                       5   for a good bit of my career. So I really can't
       6           Rather than using the word "misleading,"      6   pinpoint that time. If you're asking me a more
       7   would it be more appropriate to state that            7   specific question around my engagement, I'll try
       8   Dr. Huncharek and Dr. Muscat in your view made        8   to answer that to the best of my ability.
       9   errors?                                               9        Q Well, let me ask you a more specific
      10           MR. TISI: Objection.                         10   question.
      11           THE WITNESS: Not -- not necessarily. I       11           When did you first begin analyzing
      12   think they did make errors. I think that's           12   Dr. Huncharek and Dr. Muscat's materials on talc/
      13   obvious. I think that their data is misleading.      13   ovarian cancer epidemiology?
      14   I think that, you know, there are decisions that     14        A Hmm. I -- I don't recall specifically.
      15   are made, again for whatever reason, to              15        Q Well, was it before or after you were
      16   characterize a particular study in a particular      16   contacted by any of plaintiffs' counsel in this
      17   way that is misleading or inaccurate. So I think     17   litigation?
      18   those are both true. I would -- I would stick        18        A In any capacity?
      19   with both of those.                                  19        Q In any capacity.
      20   BY MR. LOCKE:                                        20        A I would say it was after.
      21        Q Are you offering an opinion that              21           MR. TISI: I think we're done.
      22   Dr. Huncharek and Dr. Muscat acted in an unethical   22           THE WITNESS: Again, to the best of my
      23   manner?                                              23   recollection.
      24           MR. TISI: Objection.                         24           MR. LOCKE: No, I don't think we're
      25           THE WITNESS: I think again I'm -- I          25   done. I don't think we've hit our time.


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       1           MR. TISI: I think you have.                   1   answer that.
       2           How much time is left?                        2           MR. TISI: Yeah, you may be infringing
       3           THE VIDEOGRAPHER: 18 minutes and 52           3   on -- to the extent that she's been consulting
       4   seconds.                                              4   with us. So it's a different -- it may be a
       5           MR. TISI: So you're a minute over, but        5   different question.
       6   if you have a last question, I will --                6           MR. LOCKE: Well, no, what I'm trying to
       7           MR. LOCKE: Sure.                              7   find out was, was there a period of time when she
       8   BY MR. LOCKE:                                         8   was a consulting expert and then became a
       9        Q When was the first time you began              9   testifying expert.
      10   working as a testifying expert on talc and ovarian   10           MR. TISI: You can ask her that
      11   cancer issues?                                       11   question.
      12        A I don't recall. I would rely on a             12   BY MR. LOCKE:
      13   letter agreement or invoices to -- to verify that    13       Q Was there a period of time when you were
      14   because I'm just not sure.                           14   a consulting expert before you became a testifying
      15        Q Well, I want to get this cleared up.          15   expert?
      16           MR. TISI: No, we're done.                    16       A Yes.
      17           MR. LOCKE: No, I --                          17           MR. TISI: No more questions. We're
      18           MR. TISI: No, we're done.                    18   done. I do have like two questions.
      19           MR. LOCKE: Well, put it on the record        19           THE VIDEOGRAPHER: Counsel, your
      20   because I want to be crystal clear that you're       20   microphone.
      21   cutting me off and I can't follow up with this       21           MR. TISI: Okay.
      22   last question.                                       22           Let's go off the record. I just want
      23           MR. TISI: You're a couple of minutes --      23   to --
      24   couple of minutes over. I've given you some          24           THE VIDEOGRAPHER: The time is
      25   latitude here, Tom.                                  25   3:15 p.m., and we are going off the record.

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       1           MR. LOCKE: Okay.                              1           (Recess.)
       2           MR. TISI: It's your job to divide --          2           THE VIDEOGRAPHER: The time is
       3   divide it up amongst yourselves --                    3   3:19 p.m., and we are back on the record.
       4           MR. LOCKE: Okay.                              4               CROSS-EXAMINATION
       5           MR. TISI: -- and if you find yourself         5   BY MR. TISI:
       6   without time, it's not my problem.                    6        Q Doctor, I just want to ask you just a
       7           MR. LOCKE: Well, it actually is, but I        7   very brief couple of questions.
       8   might -- we might go to the judge about it. Let's     8           First of all, you were asked in the
       9   just --                                               9   first part of your deposition whether or not there
      10           MR. TISI: If you -- if you -- how            10   was information that you wanted and that you
      11   much -- how many more questions do you think you     11   requested that you did not have.
      12   have on this area?                                   12           Do you remember that question?
      13           MR. LOCKE: Well, it kind of depends on       13        A Correct. Yes, I do.
      14   the answer, but basically what I'm trying to find    14        Q Okay. Would you turn to your report,
      15   out is was there --                                  15   footnote 4 on page 9.
      16           MR. TISI: Tom, I am going to --              16        A Okay.
      17           MR. LOCKE: One more question.                17        Q I'm going to read it into the record.
      18           MR. TISI: One more question. Then --         18   It says: "I requested additional documents
      19   then have at it.                                     19   relating to the 2003 and 2007 studies by Huncharek
      20   BY MR. LOCKE:                                        20   and Muscat that might have been in the possession
      21       Q Was there a period of time between when        21   of Dr. Huncharek, who I understood did the primary
      22   you became a testifying expert and when you --       22   analysis. I was informed that Dr. Huncharek has
      23   before which you were working on Dr. Huncharek and   23   not been made available for deposition, and that
      24   Muscat's -- or analyzing their materials?            24   he claims the documents relating to his work on
      25       A Am I -- I'm not sure I'm allowed to            25   talc were destroyed by a fire."


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       1           Do you -- do you see that?                    1       Q Do you see that?
       2       A Yes.                                            2       A Yes.
       3       Q Okay. Why would it have been helpful to         3       Q Would you read the first sentence into
       4   you to see the background documents, including        4   the record, please.
       5   drafts and communications and analyses, that would    5       A Sure. "The results of this study appear
       6   have been in the possession on the 2003, 2007, and    6   to support the contention that talc exposure
       7   for that matter, the 2009 and 2011 report and --      7   increases risk of ovarian carcinoma."
       8   and study?                                            8       Q Did Dr. Huncharek and Muscat, did they
       9           MR. HEGARTY: Objection. Form.                 9   communicate that to the FDA, if you can recall?
      10           THE WITNESS: Sure. I think I testified       10           MR. HEGARTY: Objection. Form.
      11   earlier today to the fact that there's a paucity     11           THE WITNESS: Not that I recall.
      12   in the methods, a lack of transparency, a lack of    12           MR. TISI: No further questions.
      13   clarity in terms of what was done, and certainly,    13           MR. HEGARTY: Can we go off the record
      14   you know, any data that might have shed some --      14   for a second.
      15   some light on that would have been very helpful in   15           THE VIDEOGRAPHER: The time is 3:23 p.m.
      16   trying to evaluate the studies.                      16   We're going off the record.
      17   BY MR. TISI:                                         17           (Pause in the proceedings.)
      18       Q And have you been made aware that the          18           THE VIDEOGRAPHER: The time is 3:25 p.m.
      19   plaintiffs' steering committee has attempted to      19   We're back on the record.
      20   subpoena Dr. -- Dr. Huncharek, and that the court    20           (Exhibit No. 24 was marked for
      21   actually ordered his deposition to -- to occur       21           identification.)
      22   and -- or his documents to be produced, and that     22              REDIRECT EXAMINATION
      23   he has not made himself available?                   23   BY MR. HEGARTY:
      24           MR. HEGARTY: Objection. Form.                24       Q Doctor, for purposes of the record, I've
      25           THE WITNESS: Yes, I've been made aware       25   marked as Exhibit 24 the binder you brought of


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       1   of that.                                              1   studies with you today; is that correct?
       2   BY MR. TISI:                                          2        A Correct.
       3        Q The second question, you were referred         3        Q In talking about the 2009 response to
       4   to -- by Mr. Hegarty to Exhibit No. 22, the Chang     4   the Citizen Petition, you have testified in the
       5   article. Would you pull that up, please.              5   past that it is always appropriate to challenge
       6        A Sure.                                          6   the opinions of others, and this is the foundation
       7        Q And I'm specifically going to turn your        7   of science. Correct?
       8   attention to page 2400.                               8        A Well, I'm not certain about the
       9        A I'm sorry. Chang. Okay.                        9   testimony. Certainly I don't recall all of my
      10        Q And this is a case-control study, 1997,       10   testimony, so I guess my answer would be I don't
      11   correct?                                             11   recall.
      12        A That's correct.                               12        Q Well, do you agree that it's always
      13        Q And this would have been -- this is one       13   appropriate to challenge the opinions of others,
      14   of the studies that Dr. Huncharek and Muscat told    14   and this is a foundation of science?
      15   the FDA was part of the dataset that did not         15        A I think that I could agree that
      16   support a causal inference?                          16   scientific debate is part of science and the
      17            MR. HEGARTY: Objection. Form.               17   scientific process.
      18            THE WITNESS: I believe that's correct.      18        Q You were asked questions about being
      19   BY MR. TISI:                                         19   informed with regard to Dr. Huncharek's status.
      20        Q Okay. Could you turn to the page 2400,        20   Who informed you of his status?
      21   the last paragraph, the concluding paragraph, and    21        A Plaintiff lawyers.
      22   read the first sentence into the record, please.     22        Q And what additional documents did you
      23        A Is it the one that starts "Differences"?      23   request? You said, "I requested additional
      24        Q No, it says "The results of this study."      24   documents." What additional documents did you
      25        A Oh, sorry. Okay.                              25   request?


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       1        A Any, you know, analyses, protocols, any        1           MR. TISI: Objection.
       2   supporting documentation related to the studies.      2           THE WITNESS: Again, not recalling their
       3        Q Did you report to FDA any problems that        3   specific language, they state the current body of
       4   you have had -- that you -- strike that.              4   experimental and epidemiologic evidence, so
       5            Did you report to FDA the problems you       5   they're talking about a broader evidence base.
       6   noted with regard to the 2009 response to the         6   That's my interpretation of that particular
       7   Citizen Petition?                                     7   comment, but then having not read the paper
       8        A No, I have not.                                8   recently and having the full context.
       9            MR. HEGARTY: I'm going to mark as            9   BY MR. HEGARTY:
      10   Exhibit 25 the Langseth study.                       10        Q When you read the Langseth paper, did
      11            (Exhibit No. 25 was marked for              11   you take issue with anything in it?
      12            identification.)                            12        A Again, I wasn't charged with doing a
      13   BY MR. HEGARTY:                                      13   critical review of this paper, so it wasn't --
      14        Q You did review that study, did you not?       14   wasn't the same task.
      15        A Yes, I believe so at some point.              15           MR. HEGARTY: And that's probably -- is
      16        Q Can you turn over to the -- turn to the       16   that my time?
      17   last -- turn to page -- second page under the        17           MR. TISI: He's done, although I have a
      18   "Proposal to Research Community." Do you see         18   follow-up question to that, so I might as well
      19   that?                                                19   ask.
      20        A Yes.                                          20           MR. HEGARTY: Okay. Was that my three
      21        Q First of all, this is a meta-analysis,        21   and a half, whatever?
      22   correct?                                             22           THE VIDEOGRAPHER: 3 minutes and 29
      23        A That's correct.                               23   seconds.
      24        Q And it includes the forest plot that you      24           MR. HEGARTY: Okay. All right. Thank
      25   thought you would expect from the Huncharek study?   25   you.

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       1        A That's correct.                                1              RECROSS-EXAMINATION
       2        Q And under the Proposal to Research             2   BY MR. TISI:
       3   Community, the authors say: "The current body of      3       Q Doctor, I'd like to ask you two things
       4   experimental and epidemiologic evidence is            4   since counsel brought up the Langseth paper.
       5   insufficient to establish a causal association        5           Could you please go to the "What this
       6   between perineal use of talc and ovarian cancer       6   study adds" section, the gray box in the very end,
       7   risk."                                                7   and read the two bullet points, please.
       8           Did I read that correctly?                    8           First of all, you've seen these kinds of
       9        A You did read that correctly.                   9   boxes before --
      10        Q How is that a different conclusion than       10       A Yes.
      11   what Drs. Huncharek and his other authors reached    11       Q -- in these studies?
      12   in the 2003 meta-analysis?                           12           Why do they put them there?
      13           MR. TISI: Objection.                         13           MR. HEGARTY: Objection. Form.
      14           THE WITNESS: Well, I think that's what       14           THE WITNESS: They're emphasis just to
      15   I was trying to describe earlier. This sounds        15   help people translate and distill the information
      16   like they're making an assessment of the body of     16   in the article.
      17   literature at large. I haven't reread this paper.    17   BY MR. TISI:
      18   My point earlier was it's inappropriate to infer     18       Q Okay. Could you please identify -- read
      19   causation solely from the meta-analysis.             19   the two bullet points into the record, please.
      20   BY MR. HEGARTY:                                      20       A Sure. "Epidemiological evidence
      21        Q How is this conclusion different than         21   suggests that use of cosmetic talc in the perineal
      22   what the 2009 response to FDA says -- I'm sorry,     22   area may be associated with ovarian cancer risk.
      23   the -- how is this different than the 2009           23   The IARC has classified this use of talc as
      24   response that Drs. Huncharek and Muscat provided     24   possibly carcinogenic to human beings," in
      25   to the FDA?                                          25   parentheses, "Group 2B."


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       1           "The mechanism of carcinogenicity may be     1   3:33 p.m., and we're back on the record.
       2   related to inflammation. This paper focused on       2             RECROSS-EXAMINATION
       3   the high degree of consistently in the studies       3   BY MR. KLATT:
       4   accomplished so far and what should be the focus     4       Q Doctor, I'm asking you about the
       5   in future studies."                                  5   Langseth article that Mr. Tisi just asked you
       6       Q And this was -- what was the date of           6   about.
       7   this article?                                        7           Do you see on the first page the four
       8       A It looks like 2007.                            8   authors' names: H. Langseth, S. Hankinson,
       9       Q Okay. And this was one of the articles         9   J. Siemiatycki, and E. Weiderpass?
      10   that was put forth by Dr. Huncharek and Muscat?     10       A Yes, I do.
      11       A That's correct, they do -- they do            11       Q If you turn to the last page of the
      12   discuss this paper.                                 12   article down under "Acknowledgments," do you see
      13       Q Did they -- did they tell the FDA that        13   the acknowledgements say: "The work reported in
      14   the study suggested the use of cosmetic talc in     14   this paper was initiated while SH," Sue Hankinson,
      15   the perineal area may be associated with ovarian    15   "JS," Jack Siemiatycki, "and EW," Elaine
      16   cancer risk?                                        16   Weiderpass, "were part of an IARC monographs
      17           MR. HEGARTY: Objection. Form.               17   working group of the International Agency for
      18           THE WITNESS: No. In fact, this is an        18   Research on Cancer"?
      19   example of one of the data points they              19           Were you aware of that?
      20   mischaracterized and misrepresent.                  20       A I don't recall that specifically.
      21   BY MR. TISI:                                        21       Q So in 2008, in this meta-analysis, they
      22       Q One more question.                            22   said: "The epidemiologic evidence suggests the
      23           MR. HEGARTY: Objection. Form.               23   use of cosmetic talc in the perineal area may be
      24   BY MR. TISI:                                        24   associated with ovarian cancer risk."
      25       Q Go to the abstract in the very front of       25           Correct?

                                               Page 448                                                 Page 450
       1   the paper, and do you see the -- could you please    1       A Correct, that's what it says.
       2   read the second to last -- excuse me, the last       2       Q They don't say "causes," correct?
       3   sentence of the abstract, please.                    3       A In that statement -- in that sentence,
       4        A Beginning "Some"?                             4   that's correct, they don't say "cause."
       5        Q Yes, please.                                  5       Q And in contrast, instead of saying
       6        A "Some environmental exposures, notably        6   "suggests" or "may be," back over on the second
       7   talc and asbestos, have been suspected as ovarian    7   page of the article, "These IARC epidemiologists
       8   carcinogens."                                        8   say the current body of experimental and
       9        Q Having read Dr. Muscat and Huncharek's        9   epidemiologic evidence is insufficient to
      10   statement to the FDA, what, if anything, did they   10   establish a causal association." Correct?
      11   tell the FDA about the presence of asbestos in      11       A You did read that correctly.
      12   talc?                                               12       Q And that's in 2008, correct?
      13           MR. HEGARTY: Objection. Form.               13       A I think it's 2007.
      14           THE WITNESS: My recollection is that        14       Q 2007.
      15   they repeatedly assert that talc has been free of   15           And the FDA's perfectly capable of
      16   asbestos for a very long time.                      16   reading this paper from start to finish
      17           MR. TISI: Thank you very much.              17   themselves, correct?
      18           MR. HEGARTY: Off the record for a           18           MR. TISI: Objection.
      19   second.                                             19           THE WITNESS: I would hope so.
      20           MR. TISI: Do you want to ask a              20           MR. KLATT: Thank you.
      21   follow-up with our two minutes?                     21           MR. TISI: We're done.
      22           THE VIDEOGRAPHER: The time is 3:31 p.m.     22           THE VIDEOGRAPHER: The time is 3:35
      23   We're going off the record.                         23   p.m., February 7, 2019.
      24           (A discussion was held off the record.)     24           Going off the record, concluding the
      25           THE VIDEOGRAPHER: The time is               25   videotaped deposition.


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                                               April Zambelli-Weiner, Ph.D.
                                                              Page 451                                              Page 453
       1                 (Whereupon, the deposition                       1             INSTRUCTIONS TO WITNESS
       2                 of APRIL ZAMBELLI-WEINER, Ph.D.                  2        Please read your deposition over carefully and
       3                 was concluded at 3:35 p.m.)                      3    make any necessary corrections. You should state
       4                                                                  4    the reason in the appropriate space on the errata
       5                                                                  5    sheet for any corrections that are made.
       6                                                                  6    After doing so, please sign the errata sheet
       7                                                                  7    and date it.
       8                                                                  8        You are signing same subject to the changes
       9                                                                  9    you have noted on the errata sheet, which will be
      10                                                                 10    attached to your deposition. It is imperative
      11                                                                 11    that you return the original errata sheet to the
      12                                                                 12    deposing attorney within thirty (30) days of
      13                                                                 13    receipt of the deposition transcript by you. If
      14                                                                 14    you fail to do so, the deposition transcript may
      15                                                                 15    be deemed to be accurate and may be used in court.
      16                                                                 16
      17                                                                 17
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                                                              Page 452                                              Page 454
       1     CERTIFICATE OF CERTIFIED SHORTHAND REPORTER                  1             ------
       2      The undersigned Certified Shorthand Reporter                2             ERRATA
       3   does hereby certify:                                           3             ------
       4      That the foregoing proceeding was taken before              4   PAGE LINE CHANGE
       5   me at the time and place therein set forth, at                 5   ____ ____ ________________________________________
       6   which time the witness was duly sworn; That the                6   REASON: ________________________________________
       7   testimony of the witness and all objections made               7   ____ ____ ________________________________________
       8   at the time of the examination were recorded                   8   REASON: ________________________________________
       9   stenographically by me and were thereafter                     9   ____ ____ ________________________________________
      10   transcribed, said transcript being a true and                 10   REASON: ________________________________________
      11   correct copy of my shorthand notes thereof; That              11   ____ ____ ________________________________________
      12   the dismantling of the original transcript will               12   REASON: ________________________________________
      13   void the reporter's certificate.                              13   ____ ____ ________________________________________
      14      In witness thereof, I have subscribed my name              14   REASON: ________________________________________
      15   this date: February 10, 2019.                                 15   ____ ____ ________________________________________
      16                                                                 16   REASON: ________________________________________
      17                ________________________                         17   ____ ____ ________________________________________
      18                LESLIE A. TODD, CSR, RPR                         18   REASON: ________________________________________
      19                Certificate No. 5129                             19   ____ ____ ________________________________________
      20                                                                 20   REASON: ________________________________________
      21   (The foregoing certification of                               21   ____ ____ ________________________________________
      22   this transcript does not apply to any                         22   REASON: ________________________________________
      23   reproduction of the same by any means,                        23   ____ ____ ________________________________________
      24   unless under the direct control and/or                        24   REASON: ________________________________________
      25   supervision of the certifying reporter.)                      25


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                                            April Zambelli-Weiner, Ph.D.
                                                               Page 455
       1           ACKNOWLEDGMENT OF DEPONENT
       2      I,___________________________, do hereby
       3   certify that I have read the foregoing pages, and
       4   that the same is a correct transcription of the
       5   answers given by me to the questions therein
       6   propounded, except for the corrections or changes
       7   in form or substance, if any, noted in the
       8   attached Errata Sheet.
       9
      10   __________________________________________________
      11   APRIL ZAMBELLI-WEINER, Ph.D.                      DATE
      12
      13
      14   Subscribed and sworn to
      15   before me this
      16   ______day of_______________,20___.
      17   My commission expires:_______________
      18   _____________________________________
      19   Notary Public
      20
      21
      22
      23
      24
      25




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